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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ————————————————————————X
                                                :
 ROHAN BOLT,                                    :
                                                :                   FIRST AMENDED
                                  Plaintiff,    :                   COMPLAINT
                                                :
                                                :                   22 CV 3318 (DG)(PK)
                      -against-                 :
                                                :                  (Jury Trial Demanded)
 THE CITY OF NEW YORK; NANCY CARDAMONE, :
 Voluntary Administrator for the Estate of      :
 Police Officer Andrew Cardamone; POLICE        :
 OFFICER DENNIS BROOKS; POLICE OFFICER          :
 LOUIS PIA; POLICE OFFICER RICHARD SICA;        :
 POLICE OFFICER PAUL HEIDER; POLICE OFFICER :
 FRANK BOVINO; POLICE OFFICER MARYANN           :
 BUBELNIK; POLICE OFFICER WILLIAM NEVINS;       :
 DETECTIVE MICHAEL FALCIANO; and POLICE         :
 OFFICER JOSEPH FEZZA ,                         :
                                                :
                                    Defendants. :
                                                :
 ————————————————————————X

           ROHAN BOLT, by his attorney THOMAS HOFFMAN, ESQ., complaining of the

 defendants, respectfully alleges, upon personal knowledge and information and belief, as

 follows:

                                     NATURE OF ACTION

           1.    This civil rights action under 42 U.S.C. §§ 1983 and 1988, and New York law,

 arises from the wrongful arrest, prosecution, and conviction of Rohan, one of three innocent men

 whose lives were destroyed by police and prosecutors who railroaded them for a high-profile

 Queens murder they did not commit, and caused each of them to lose 24 years of their lives in

 prison.




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         2.      Bolt and his codefendants Gary Johnson and George Bell were convicted of the

 December 21, 1996, murder of Charles Davis, an off-duty police officer, and Ira “Mike” Epstein

 in the failed holdup of Epstein’s Astoria Boulevard check cashing store when it opened just after

 7:00 a.m. on December 21, 1996.1

         3.      Twenty-four years after Bolt and his codefendants were falsely convicted, the

 Queens District Attorney’s Office admitted that the prosecutors handling the three men’s cases

 had suppressed a mountain of exculpatory and impeaching material from their attorney’s, and

 agreed to vacate the three men’s conviction and to dismiss their indictments. The withheld

 evidence consisted of a mountain of third-party culpability evidence exculpating Bolt and his

 codefendants and pointing to the murderous “Speedstick” gang as the true perpetrators of the

 crime, and evidence that a key witness —Mark Bigweh— that sparked the police investigation of

 Bolt’s codefendants, leading to Bolt being implicated, entered into a secret cooperation

 agreement with prosecutors, committed perjury, and suffered from hallucinations.

         4.      The State court, in vacating the convictions and ordering the three men’s

 immediate release from prison, castigated law enforcement and found that their handling of the

 case, which left “the distinct impression that the suppression of the information [exonerating

 him] was not an isolated instance of misconduct, but partof a larger pattern of behavior that was

 calculated to deprive the defendants of fair trials[.]” People v. Bolt, 71 Misc.3d 646, 665 (Sup.

 Ct. Queens Co. 2021) (Zayas, J.). The court found that “[t]he extensive record before the Court .

 . . makes clear that . . . the District Attorney’s Office . . . deliberately withheld from the defense




 1
  Two other men, Mark Bigweh and Jason Ligon, were initially charged with the crime as well. Bigweh
 ended up becoming a witness for the prosecution, and the State dropped the charges against Ligon after
 Bolt was convicted.


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 credible information of third-party guilt that was in its possession and that had in fact been

 investigated.” Id

        5.      Three months after Bolt’s conviction was vacated, the Queens District Attorney’s

 Office (“QDAO”) announced it had conducted an “extensive and exhaustive investigation” of the

 murders at issue, and found no evidence linking Bolt to the crime. The QDAO then finally

 dismissed all charges against Bolt, and his two codefendants, Bell and Johnson. But by then, all

 three men had lost nearly a quarter of a century of their lives in prison for a crime they did not

 commit.

        6.      This lawsuit seeks to hold those responsible for this catastrophic injustice

 accountable. It also names several police officers and the City of New York as defendants, as

 the City’s employees’ misconduct, and the subsequent 24-year cover-up of it, was substantially

 caused by the City’s policies and customs, deliberate indifference to the likelihood that

 constitutional violations would occur, and the City’s failure to supervise and discipline police

 and prosecutors who committed such misconduct, even though such misconduct was rampant

 throughout the Police Department and QDAO at the time Bolt was arrested, prosecuted, and

 convicted.

                     JURISDICTION, VENUE & CONDITIONS PRECEDENT

        7.      This action arises under 42 U.S.C. §§ 1983 and 1988, and under the common law

 of the State of New York.

        8.      Jurisdiction is conferred on this Court by 28 U.S.C. §§ 1331 and 1343, and by

 principles of pendent jurisdiction.

        9.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391.




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           10.   On or about June 3, 2021, Bolt filed with Defendant City of New York a timely

 Notice of Claim under General Municipal Law § 50-e. Bolt’s General Municipal Law§ 50-h

 hearing was held on October 13, 2021.

           11.   More than 90 days have elapsed since Bolt’s submission of his notice of claim

 and 50-h hearing. Bolt has complied with all conditions precedent to commencement of this

 action.

                                           THE PARTIES

           12.   Plaintiff Rohan Bolt (“Bolt”) is a citizen and resident of the State ofNew York.

           13.   Defendant, City of New York (the “City”), of which the County of Queens is a

 subdivision, is a municipal corporation of the State of New York and a resident of the Eastern

 District of New York.

           14.   Nancy Cardamone is the Voluntary Administrator for the Estate of Police Officer

 Andrew Cardamone. PO Officer Cardamone died on March 5, 2005. Nancy Cardamone was

 appointed voluntary administrator of PO Cardamone on March 11, 2005 and is sued herein only

 in her capacity as administrator of the Estate of Andrew Cardamone. Andrew Cardamone at all

 times relevant to this complaint, was a duly appointed police officer of the NYPD, acting under

 color of law pursuant to the statutes, ordinances, regulations, policies, customs, and usage of the

 State of New York and the CITY, and acted within the scope of his employment. He is sued in

 his individual and official capacities.

           15.   Defendant Dennis Brooks at all times relevant to this complaint, was a duly

 appointed police officer of the NYPD, acting under color of law pursuant to the statutes,

 ordinances, regulations, policies, customs, and usage of the State of New York and the CITY,




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 and acted within the scope of his employment. He is sued in his individual and official

 capacities.

         16.     Defendant Louis Pia, at all times relevant to this complaint, was a duly appointed

 police officer of the NYPD, acting under color of law pursuant to the statutes, ordinances,

 regulations, policies, customs, and usage of the State of New York and the CITY, and acted

 within the scope of his employment. He is sued in his individual and official capacities.

         17.     Defendant Richard Sica, at all times relevant to this complaint, was a duly

 appointed police officer of the NYPD, acting under color of law pursuant to the statutes,

 ordinances, regulations, policies, customs, and usage of the State of New York and the CITY,

 and acted within or outside of the scope of his employment. He is sued in his individual and

 official capacities.

         18.     Defendant Paul Heider, at all times relevant to this complaint, was a duly

 appointed police officer of the NYPD, acting under color of law pursuant to the statutes,

 ordinances, regulations, policies, customs, and usage of the State of New York and the CITY,

 and acted within the scope of his employment. He is sued in his individual and official

 capacities.

         19.     Defendant Frank Bovino, at all times relevant to this complaint, was a duly

 appointed police officer of the NYPD, acting under color of law pursuant to the statutes,

 ordinances, regulations, policies, customs, and usage of the State of New York and the CITY,

 and acted within the scope of his employment. He is sued in his individual and official

 capacities.

         20.     Defendant Maryann Bubelnik at all times relevant to this complaint, was a duly

 appointed police officer of the NYPD, acting under color of law pursuant to the statutes,



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 ordinances, regulations, policies, customs, and usage of the State of New York and the CITY,

 and acted within the scope of his employment. She is sued in her individual and official

 capacities.

        21.     Defendant William Nevins at all times relevant to this complaint, was a duly

 appointed police officer of the NYPD, acting under color of law pursuant to the statutes,

 ordinances, regulations, policies, customs, and usage of the State of New York and the CITY,

 and acted within the scope of his employment. He is sued in his individual and official

 capacities.

        22.     Defendant Michael Falciano, at all times relevant to this complaint, was a duly

 appointed police officer of the NYPD, acting under color of law pursuant to the statutes,

 ordinances, regulations, policies, customs, and usage of the State of New York and the CITY,

 and acted within the scope of his employment. He is sued in his individual and official

 capacities.

        23.     Defendant Joseph Fezza, at all times relevant to this complaint, was a duly

 appointed police officer of the NYPD, acting under color of law pursuant to the statutes,

 ordinances, regulations, policies, customs, and usage of the State of New York and the CITY,

 and acted within the scope of his employment. He is sued in his individual and official

 capacities.

                ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

 A.     The Crime: An Off-Duty Police Officer And A Check-Cashing
        Store Owner Are Murdered In Queens

        24.     In the early morning hours of December 21, 1996, Ira “Mike” Epstein, the owner

 of a local check cashing store on Astoria Boulevard in East Elmhurst, Queens, and NYPD

 Officer Charles A. Davis, who was working off-duty as Epstein’s security guard, were shot and


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 killed in the failed armed robbery of Epstein’s store (the “Astoria Boulevard Murders” or the

 “Murders”).

        25.     A manhunt for the killers began immediately. The New York Times described an

 “intensive sweep throughout northwestern Queens” that ensued in an attempt to identify and

 arrest the perpetrators — with “thousands of cars” stopped, “thousands of summonses” issued,

 and “hundreds of suspects” questioned. Randy Kennedy, 3 Charged in Killings of Officer and

 Businessman in Queens, N.Y. Times, Dec. 26, 1996.

        26.     Then-Mayor Giuliani and top NYPD officials immediately declared that they

 “would not rest” until the crime was solved and began exerting intense pressure on the Police

 Department to solve this “Christmas Tragedy” before the holiday a few days away.

        27.     The initial investigation of the crime immediately pointed to a murderous local

 gang (later revealed to be known as “Speedstick” that had committed multiple similar armed

 robberies around the neighborhood.

        28.     The day after the murder, the Daily News reported that a “gang” had “ambushed”

 Epstein and Davis and that “[i]nvestigators believe the killers may be the same robbers who hit

 two other check-cashing businesses in Queens last week, the latest one on Friday [December 19,

 1996] in Queens Village.”

        29.     Consistent with this belief that a local gang that had robbed two other check-

 cashing businesses in the neighborhood had also committed this crime, the NYPD covered the

 neighborhood with wanted posters stating that the suspects “were involved in a past robbery at a

 check cashing business in the 105 Pct. [in Queens].” These wanted posters described the suspects

 as three black men ranging from 5’11” and 6’3” in height and weighing 180, 185 and 190

 pounds, respectively.



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        30.     Rohan Bolt did not fit any of these descriptions.

        31.     The NYPD also put out an “all points bulletin” which pointed to this stickup gang

 as the lead suspects. The bulletin described three suspects in a robbery of another check cashing

 store nearby and stated that “two of the above individuals may be connected to the murder of the

 police officer on 12/21/96 in 115PCT.

 B.     A Mentally Unstable Drug Dealer Implicates Bolt’s Codefendants Bell And Johnson

        32.     On December 23, 1996, police arrested 20-year-old John Mark Bigweh for selling

 marijuana.

        33.     Bigweh was on probation for robbery and assault charges and faced significant

 criminal and immigration consequences if he did not cooperate with the police.

        34.     Police saw an opportunity and they used this leverage and their desperation to

 solve the murder before Christmas (as Mayor Giuliani had directed police brass to do) to

 somehow turn Bigweh from a low-level drug dealer to an accomplice to murder.

        35.     Over the course of three unrecorded interrogations over two days, Bigweh told an

 evolving story that eventually ended with Bigweh confessing to participating in the crime and

 falsely claiming that George Bell was the shooter.

        36.     Bigweh’s evolving description of the crime made clear from the start that he was

 not a reliable witness.

        37.     When Bigweh was first interrogated about the murder (after being arrested for

 marijuana possession), he stated that he was not a participant in the crime. He claimed he had

 been out partying with Bell and Johnson on December 20th and 21st, and they later approached

 him on the street about going with them to commit a robbery, which Bigweh refused to do.

 Bigweh also named an unknown accomplice named “Zebedia” as a participant in the robbery.



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        38.     Bigweh was then driven around in a van for six hours with Detective Michael

 Falciano, known as “the Falcon.”

        39.     After six hours with the Falciano Bigweh as a result of coercion by Falciano

 implicated himself in the crime. In his second statement, Bigweh admitted that he had

 participated in the crime along with Bell, Johnson, someone named “Roti,” and a getaway driver

 named “Jason.” Zebedia had now disappeared from the story. Bigweh also oddly claimed that the

 five men had driven to Bigweh’s home so he could change from a green jacket to a navy blue

 one.

        40.     To this day, there is no independent evidence (i.e. evidence other than Bigweh’s

 own statement) tying Bigweh to this crime.

        41.     Nonetheless, based on Bigweh’s statement alone, police turned their attention

 away from a local robbery gang with an MO of sticking up check cashing stores, and towards

 Johnson and Bell.

 C.     Police Arrest Johnson And Bell And Coerce Them
        Into Adopting A Statement They Manufactured

        42.     Defendants obtained false “confessions” from Bolt’s codefendants Gary Johnson

 and George Bell.

        43.     Specifically, Defendants Cardamone, Bovino, and Brooks interviewed Johnson

 and did not record anything that occurred, or discarded their notes, during the twelve hours that

 they interrogated him.

        44.     Johnson’s confession was facially unbelievable in numerous ways.

        45.     Johnson stated that after an evening of hard partying the night before, he passed

 out, and that he “was still drunk” the next morning and “[didn’t] know what time it was when I

 woke up.”


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        46.      Johnson stated that he had driven to the check cashing store with someone named

 “Jason” and “two of Jason’s friends that I didn’t know.” He added that he didn’t really know

 Jason either.

        47.      Johnson also claimed (contrary to Bigweh and Bell) that Bell was already at the

 check cashing store when they arrived and the he and Bell did not speak that morning. In other

 words, Johnson claimed that he committed this crime with three people he did not know and

 Bell—who he hadn’t spoken to prior to arriving. When pressed on this striking claim, Johnson

 stated that he did not even remember the crime but had “seen it on the news” but he “didn’t think

 [he] was involved in it because [he ] woke up and it was just another day for [him].

        48.      Johnson also could not decide if he had spoken to Bell after the murders, first

 claiming that when he “woke up in the morning [he] called [Bell]. We were talking and I was

 asking him what are you gonna do today. He said he was sick or something.” Johnson then

 changed his mind and said he had only spoken to Bell’s sister and he “never really got a chance

 to talk to Bell” in the four days since they had apparently committed a double homicide together.

        49.      Johnson screamed as he was being interrogated. Johnson’s confession was also

 obtained through police coercion.

        50.      Defendants Cardamone and Brooks knew this unbelievable confession was false.

        51.      Defendants Cardamone and Brooks provided this false confession, to prosecutors.

        52.      Defendants Cardamone and Brooks never informed prosecutors that Johnson’s

 confession was false.

        53.      Defendants Cardamone and Brooks never informed prosecutors that this

 confession was obtained through coercion.




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        54.     Detectives Pia and Sica coerced and manufactured a statement from Bell that

 implicated Bolt. See Complaint in Bell v. City of New York, 22 CV 3251 (DG)(PK) (E.D.N.Y.),

 Doc # ¶¶ 64-139, which we incorporate here, and in all following paragraphs.

        55.     Specifically, Detectives Pia and Sica beat Bell, threatened him, and caused him to

 adopt a manufactured statement that implicated a “Roti” who police would later inform

 prosecutors was Rohan Bolt. Id. Defendants Pia, and Sica knew this unbelievable confession

 was false. Defendants Pia and Sica provided this false confession that implicated Bolt to

 prosecutors.

        56.     In addition to coercing Johnson and Bell’s “confession,” police secretly

 manufactured and coerced the confessions of Jason Ligon (who would later be charged with the

 murder but have the charges dismissed before trial).

        57.     Bigweh had identified someone named “Jason” as the getaway driver, a detail that

 Bell and Johnson both repeated (having been fed the statement by the police).

        58.     On May 30, 1997, the police arrested a man named Jason Ligon. After five hours

 in police custody, Defendants Bubelnik and Bovino secured Ligon’s confession to his purported

 involvement in the Murders.

        59.     Defendants Bubelnik and Bovino worked in close collaboration with Detectives

 Sica and Pia, and fed the same facts to Jason Ligon that Pia and Sica fed to Bell.

 Defendants Bubelnik and Bovino were intimately familiar with both the true facts and coerced

 falsehoods about the Astoria Boulevard Murders. Defendant Bubelnik was one of the officers

 present at Bigweh’s confession.




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        60.       Like Bell, Ligon confessed that he (Ligon) was the driver, that Bell was the

 shooter, and that Bolt (his name now having evolved from “Roti” to “Rohan”) put the robbery

 plan together.

        61.       In fact, Ligon went into even more extensive detail than Bell about the plan for

 the robbery, what was discussed among the men committing the crime, and how the plan was

 executed.

        62.       Though Ligon’s video and written confession mirrored Bell’s (except it was more

 detailed), Ligon was not even in New York at the time of the murders.

        63.       Ligon’s counsel hired a private investigator who determined that Ligon was

 in Washington, D.C. at the time of the Murders. See Bolt, 71 Misc.3d at 650. Ligon’s private

 investigator provided this alibi to District Attorney Investigators Teddy Wess and Stanley

 Carpenter, who confirmed its accuracy on their own trip to D.C. Months before Bolt’s trial,

 Wess and Carpenter determined that the evidence established that Ligon was not involved in the

 Astoria Boulevard Murders.

        64.       Ligon had no motive to falsely implicate himself in a crime he did not commit,

 and Ligon’s (false) confession was obtained through police coercion.

        65.       Ligon has since told investigators that police officers provided him with alcohol

 during the interrogation. Wess and Carpenter stated to Ligon’s private investigator that,

 notwithstanding Ligon’s innocence, the charges against him would not be dismissed until Bolt,

 Johnson, and Bell were tried.

        66.       Wess and Carpenter further told Ligon’s private investigator that they were aware

 that Ligon was facing felony drug charges in a separate case, and that the time he spent

 incarcerated as a result of his arrest in connection with the Astoria Boulevard Murders (crimes



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 the QDAO knew he did not commit) would be credited against the time he would ultimately

 serve on the drug charges.

          67.   The QDAO contemporaneously acknowledged that (1) they knew Ligon was

 innocent and had given a false confession; but (2) would nonetheless not dismiss the case against

 Ligon until after Bell, Bolt, and Johnson were tried.

          68.   Wess and Carpenter, in conjunction with Defendants Bubelnik and Bovino, did

 not want to admit that Ligon was innocent and the police had coerced a false confession.

          69.   Even though Defendants Bubelnik and Bovino and the DA investigators knew of

 Ligon’s’ alibi months before Bolt’s trial, charges against Ligon were not dropped until Bell,

 Johnson, and Bolt had all been convicted.

          70.   Bolt’s counsel was never informed by the QDAO that Ligon’s confession was

 false.

          71.   Defendants Bubelnik and Bovino knew Ligon’s confession was false, but

 nonetheless provided it to prosecutors.

          72.   Bolt’s defense counsel was never informed that Ligon was innocent, that his

 confession was false, or that police officers coerced his confession.

          73.   This proof of Mr. Ligon’s innocence was Brady material that was not produced to

 Bolt’s counsel.

          74.   On information and belief Defendants Bubelnik and Bovino never informed

 prosecutors that Ligon’s confession was obtained through coercion. Alternately, if prosecutors

 knew that Ligon’s confession was obtained through coercion, they wrongfully withheld this

 Brady material from Bolt’s defense team.




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         75.     Moreover, as the QDAO acknowledged in June 2021, “Det. Bubelnik also had a

 pending lawsuit against her at the time of trial which stemmed from a previous case in which she

 was accused of coercing a false confession from the defendant in that case.”

         76.     Defendant Bovino was also a defendant in that “pending lawsuit,” and was also

 accused of participating in extracting a false confession.

         77.     That lawsuit was ultimately settled.

         78.     That Defendants Bubelnik and Bovino were accused of coercing false confession

 from a criminal defendant was Brady material.

         79.     Prosecutors never disclosed to Bolt’s defense team that Defendants Bubelnik and

 Bovino were accused of coercing false confession from a criminal defendant.

         80.     Defendants Bubelnik and Bovino did not inform the QDAO about this prior

 lawsuit. Alternately, if prosecutors knew about this prior lawsuit, they wrongfully withheld this

 information from Bolt’s defense team.

         81.     Because these Defendants concealed their coercion of Bell, George, and Ligon,

 Bolt never learned of this Brady material.2

         82.     Because these Defendants concealed Ligon’s false confession, the jury never

 learned that Bell’s “admission” in his coerced confession that Jason was the driver was

 indisputably false.

 D.      Police Arrest Bolt, A 35-Year-Old Father And Owner Of A Caribbean Restaurant

         83.     The day after Bell and Johnson’s arrest, Detective Joseph Fezza claimed a crack

 user witness identified Bolt, the 35-year-old owner of a local Caribbean restaurant, as a

 participant in the double homicide.
 2
  See e.g. Kyles v. Whitley, 514 U.S. 419, 446 (1995) (evidence undermining the State’s investigation is
 favorable material for Brady purposes).


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        84.     Bolt’s wife was a registered nurse at a hospital in the Bronx, and Bolt had no

 record except for two minor marijuana offenses from 20 years earlier.

        85.     Detective Joseph Fezza claimed in a police report that he along with two other

 detectives picked up a female crack user. who “spotted a male Black who she identified as

 Roadie driving a red van,” and the detectives then followed the van to a parking lot. Detective

 Fezza claimed that Bolt then admitted that his name was Roti.

        86.     Detective Fezza’s claim was false. Bolt was a 35-year-old father and business

 owner, who did not know or have any connection with 21-year-old Bell and Johnson, and Bolt

 actually responded “that’s not my name” when asked if he was “Roti.” Bolt and his mother

 confirm that he has never “been called Roti.” Moreover, upon information and belief, the

 purported crack user witness never identified Bolt as a participant in the crime.

        87.     Gregory Turnbull, who was taken into police custody the day of the murders and

 questioned for 14 hours, eventually winding up at One Police Plaza, where detectives asked him

 to provide a description to a sketch artist. Turnbull later testified that he

 declined to provide a description to the artist because he thought the sketch he would provide

 “could have been anybody” and he “didn’t want the wrong person to be picked up.”

        88.     Turnbull stated that while he was standing at a telephone booth, at 7:05 a.m., he

 saw two males standing at the corner of 95th Street and Astoria Boulevard, and observed that

 “these two males soon after began walking down Astoria Boulevard ... until they got to the front

 of the check cashing location, when [Turnbull] looked away.” From that location, Turnbull

 would have been 230 feet away from the individuals he observed.




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         89.      Although he did not mention it on December 21, when re-questioned five days

 later, on December 26, Turnbull claimed he saw the same three men as they fled the check

 cashing store, which was no less than 170 feet from Turnbull’s claimed

 vantage point.

         90.      When Turnbull viewed Bolt in a lineup he failed to identify Bolt. However,

 following that failed lineup, upon information and belief, Bovino pressured Turnbull into

 claiming he actually had identified Bolt in the lineup but was scared to say so. Turnbull would

 later relay this false account at Bolt’s trial to explain his failed lineup identification.

 E.      A Media Frenzy Follows Bolt’s Arrest

         91.      Bolt was convicted in the press before he ever entered a courtroom.

         92.      Mayor Giuliani appeared at a press conference on Christmas Day with high-level

 police brass to praise the detectives who led the investigation for cracking the case.

         93.      Mayor Giuliani kissed Detective Falciano at the press conference as he thanked

 him for cracking the case by eliciting Bigweh’s confession.

         94.      The Daily News ran a front-page story with a picture of Bolt’s codefendant Bell in

 tears and labeled him the “CRYBABY COP KILLER”—crybaby because he was brought to

 tears by the terror of being falsely accused of a double murder. Another article, “Rap sheets of 4

 held in slays,” prominently displayed a picture of Bolt upon his arrest for the murders.

         95.      The Daily News would later run a full-page editorial advocating that Bolt’s

 codefendant, Bell, be put to death.

         96.      The police orchestrated a “perp walk” of Bell and the New York Post ran a front-

 page story with a picture zoomed in all the way on Bell’s face during the perp walk with the




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 headline “THE FACE OF EVIL.” The article stated that Bolt committed the murders along with

 Bell.

 F.      The Pre trial Proceedings And The Grand Jury

         97.    Upon information and belief, Cardamone, Brooks, Pia, Sica, Heider, Bovino,

 Bubelnik, Nevins, Falciano, Fezza, independently or collectively forwarded or caused to be

 forwarded their misleading police reports to the Queens County District Attorney’s Office to

 convince that office to formally charge Bolt with the murders.

         98.    Cardamone, Brooks, Pia, Sica, Heider, Bovino, Bubelnik, Nevins, Falciano,

 Fezza, also met with prosecutors prior to the grand jury presentation and either confirmed the

 information contained in the reports .

         99.    At no time did Cardamone, Brooks, Pia, Sica, Heider, Bovino, Bubelnik, Nevins,

 Falciano, Fezza, disclose their fabrication of evidence, including the Bigweh, Bell, Johnson, and

 Ligon statements, and Turnbull’s “identification” of Bolt.

         100.   On December 26, 1996, Bovino prepared a blatantly false felony complaint report

 alleging Bolt, along with Bell, Johnson, and Bigweh, committed the murders, and that Bolt

 displayed a handgun and demanded money from one of the victims (Ira Epstein).

         110,   The felony complaint further alleged, falsely, that Bolt had been identified by

 Turnbull in front of the check-cashing store.

         111.   In January 1997 the Queens County District Attorney’s Office presented Bolt’s

 case to a grand jury through a false, misleading, and incomplete grand jury presentation.

         112.   The prosecutor presenting Bolt’s case did not inform the grand jury of

                a.     A December 24, 1996, NYPD all-points bulletin issued the day before
                       Bolt’s arrest, describing Speedstick gang members involved in a different
                       robbery in a manner substantially identical to the wanted poster issued in
                       connection with the Astoria Boulevard double murder;


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                b.      Evidence that on December 24, 1996, before Bolt was arrested, witness Al
                        Pratt told police that days before the robbery he saw three black males
                        (who looked nothing like Bell, Bolt, or Johnson) casing out the check
                        cashing place, and that one the males had a horseshoe scar on the left side
                        of his face, which could not have been Bell, Bolt, or Johnson, (and was
                        likely Jamal Clark, who had such a scar and who would later admit to
                        committing the robbery);

                c.      The police coercion of Bell, Johnson, Bigweh, and Ligon’s statements;

                d.      Within a month after falsely implicating Bolt, Bigweh attempted to kill
                        himself, and suffered from auditory hallucinations of his dead mother
                        telling him to “go home”; auditory hallucinations].

                e.      Bovino’s fabrication of Turnbull’s identification of Bolt; and

                f.      Bolt’s alibi witnesses, who informed police in substance that Bolt could
                        not have committed the crime.

        113.    The grand jury, unaware of the above exculpatory and impeaching evidence,

 returned an indictment charging Bolt with the murder and robbery.

 G.     Bolt’s Trial: The Prosecutor Suppresses Brady Material
        And Uses False Or Misleading Evidence And Argument

        114.    Bolt was incarcerated at the Brooklyn House of Detention, a violent pretrial

 detention jail, for almost three years while awaiting trial on the murder charges.

        115.    Bolt’s case was tried from April 6 to April 13, 2000.

        116.    ADA Brad Leventhal —who along with ADA Charles Testagrosa had previously

 tried codefendant George Bell’s case— tried Bolt’s case.

        117.    The principal items of evidence against Bolt was the testimony of Bigweh and

 Gregory Turnbull. The witness who was using crack who first identified Bolt did not testify.

 Bigweh claimed that he was the lookout to the crime, that he stationed himself at a pay phone

 just outside the Deerhead Diner, and that he watched the entire crime unfold from that location.

 He claimed on direct that Bolt was holding a specific gun: a “black Barretta.” On cross-



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 examination, Bigweh testified that this identification of the type of gun was a “wild guess,”

 adding implausibly that he could identify the gun as an automatic from its appearance a block

 away.

         118.    Bigweh also claimed that he identified Bolt when he was being driven around by

 an unnamed detective. But that testimony was not corroborated by Det. Fezza, the officer who

 drove the unnamed “crack lady” around and who arrested Bolt on her identification.

         119.    ADA Leventhal, elicited perjury from Bigweh. Bigweh gave perjured testimony

 about his cooperation agreement with the QDAO in response to questioning by ADA Leventhal.

 Bigweh testified on redirect in response to questioning by Leventhal that “the first time [he was]

 offered any leniency for cooperating with the District Attorney’s Office in the prosecution of this

 case[]” was “October 28, 1999.” Bolt’s trial counsel then asked Bigweh on recross if he had

 “talked about leniency [from the District Attorney’s Office] prior to signing the [October 28,

 1999] cooperation agreement,” to which Bigweh responded “No.”

         120.    Unbeknownst to Bolt, his attorney, or the court and jury, just over a month after

 Bolt’s arrest, Bigweh had actually entered into a secret written cooperation agreement with the

 QDAO on January 30, 1997 (the “secret cooperation agreement”), prior to entering into the

 October 28, 1999, cooperation agreement revealed at trial. That secret cooperation agreement

 was far more beneficial to Bigweh and gave him an even greater incentive to fabricate evidence

 against Bolt.

         121.    The secret cooperation agreement provided that in exchange for Bigweh’s

 cooperation, “the Office will make a recommendation on the disposition of the pending cases

 that depends on the nature and extent of the cooperation.” This agreement — which created a

 direct incentive for Bigweh to help the Queens DA obtain a conviction — was not disclosed to



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 Bolt or his codefendants’ lawyers. (The secret cooperation agreement would not be revealed

 until 24 years later, when the CRU reinvestigated Bolt’s case.)

        122.      Also undisclosed was the fact that Bigweh entered into the secret cooperation

 agreement only after Bigweh attempted suicide attempt, was found by prison staff to have

 suffered from hallucinations.

        123.      Further, ADA Leventhal suppressed from Bolt and his attorney that Bigweh’s

 secret cooperation agreement was repudiated on the eve of Bell’s trial when Bigweh refused to

 cooperate because he did not want to lie.

        124.      All of this impeached the false impression created by Bigweh’s perjury that he

 cooperated in the case merely because he felt that it was wrong, not because he expected

 leniency.

        125.      Leventhal also presented Turnbull’s false testimony that when Turnbull viewed

 the lineup he recognized Bolt and was getting ready to point him out, but did not do so because

 he was scared.

        126.      Bolt and his mother both testified that Bolt was at home getting ready for work

 “five or six minutes after 7:00 [a.m.],” and that “20 or 25 minutes later,” Bolt was with his

 mother at the restaurant he owned opening up for another day’s work.

        127.      During summation, ADA Leventhal argued that Bigweh was a credible witness.

        128.      ADA Leventhal then gave blatantly false summation arguing Bigweh did not

 enter into a cooperation agreement until 1999 when, in truth, he had entered into an

 extraordinarily favorable cooperation agreement just over a month after cooperating with the

 police and QDAO:

                  A benefit that he’s going to receive? Absolutely. If he completes
                  and abides by the terms of his agreement, he will receive the


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                benefit that he has been offered in the terms of his cooperation
                agreement, a cooperation agreement which was signed on October
                28, 1999, three years after he provided the information and the
                identity of his accomplices to the police. Three years later
                he enters an agreement where he is given a promise of leniency,
                given a promise of cooperation, of a reduced sentence. Three
                years earlier he had none of that and he still named his
                accomplices Tr. 797-798 (emphasis added).

        129.    ADA Leventhal also cited Bigweh’s identification of codefendants Bell and

 Johnson as an additional reason for the jury to credit Bigweh’s testimony.

        130.    Despite this testimony and the lack of any physical evidence, Bolt was found

 guilty on all counts. On May 9, 2000, Bolt was sentenced to 50 years to life in prison.

        131.    Because the Individual Defendants concealed that they coerced Johnson, Bell,

 Ligon, and Bigweh, neither the prosecutors, Bolt, his attorney, or the jury ever learned of that

 conduct.

        132.    Nor did ADA Leventhal disclose the mountain of Brady material implicating the

 Speedstick gang as the real perpetrators. See ¶¶ 150-157 below.

        133.    Bolt was convicted of two counts of depraved indifference murder, one count of

 felony murder, and related charges. On February 22, 2000, he was sentenced to 50 years to life

 in prison. The QDAO then successfully opposed Bolt’s direct appeal by relying on the false

 evidence and trial narrative ADA Leventhal used during Bolt’s trial.

 H.     Twenty-Four Years After Bolt Is Falsely Convicted, A New District
        Attorney’s Conviction Integrity Unit Reinvestigates His Case And Reveals
        A Mountain Of Brady Material Suppressed By Police And Prosecutors

        134.    In the years following Bolt’s conviction, significant Brady material has emerged

 that was never turned over to the defense.




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        135.    The most significant of these revelations is DD5 288. This DD5 documents that

 by May 1997 at the latest, police were aware that a member of the Speedstick gang had

 confessed to the Astoria Boulevard Murders for which George was convicted.

        136.    DD5 288, dated May 16, 1997, and prepared by Defendant Heider (one of the

 very witnesses Bell had attempted to call at trial to explore the connection between the May 1997

 robbery and the murder with which he was charged), memorializes an interview of “Witness #1”

 who provides a detailed account of the activities “of a Robbery Ring that was run by the Twins

 Aaron and Ammon Boone.”

        137.    By way of background, DD5 288 provides a detailed description of the robbery

 gang’s operations and provides summaries of at least seven armed robberies carried out by the

 group in 1996 and 1997.

        138.    Witness #1 identified Jamal Clark as a member of the robbery gang and stated

 that he had personally participated in several of the robberies with Clark and one or both of the

 Boone Twins.

        139.    Several of these robberies carried out by Speedstick involved victims being shot,

 stabbed, or sliced.

        140.    DD5 288 then goes on to directly implicate this robbery gang in the murder for

 which George Bell was convicted. The DD5 provides:

                [Witness #1] stated that he was told by Jamal Clark that the group robbed a
                check cashing store on Astoria Blvd. This job was set up by the [Boone] Twins
                and that Jamal Clark was outside and that something went bad. They did not
                get any money. Witness #1 stated that this was a phone call and that Jamal Clark
                was down south at the club with the Twins after this robbery. Jamal told him that
                he was upset because he was doing a lot of jobs also in NY and down south and
                that he was not getting a fair share of the money. He was concerned that if he left
                that the Twins may kill him because they felt that he knew to[o] much and could
                tell the police. Jamal told him he was leaving and he did.



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                Witness #1 stated that Jamal Clark had a code name for all the robberies that he
                participated in with the group. The name is JASON.

                (emphasis added).

        141.    DD5 288 also reports that Clark’s fear of being murdered was well-founded.

        142.    Witness #1 stated that another gang member, Kevin McKinney, told him that

 Ammon Boone, a Speedstick member, later shot Clark who knew of Speedstick’s crime wave,

 in the back of the head.

        143.    Subsequent events make clear that the QDAO viewed Witness #1 to be a credible

 witness.

        144.    In January 1999, months before Bolt’s trial, the QDAO indicted Aaron Boone for

 Clark’s murder—consistent with the information supplied by Witness #1 in DD5 288.

        145.    Additional wrongfully withheld DD5s further corroborate DD5 288.

        146.    In DD5 291, Witness #1 provides additional details regarding members of the

 Speedstick robbery gang, including their nicknames, addresses, appearance, and more—further

 bolstering his credibility and specifically identifying the likely murderers.

        147.    In DD5 548, another member of the robbery ring identified as “Witness #2” told

 detectives in an interview that took place at the Queens DA’s Office that Jamal Clark had told

 him “I’[]m tired of this shit.” When Witness #2 asked Clark what he was tired of, Clark

 responded “that shit in Corona”—an apparent reference to the Astoria Boulevard Murders for

 which Bolt was convicted.

        148.    It is clear that Jamal Clark and the Boone twins—not Bolt—murdered Epstein and

 Davis and that police and QDAO knew it in 1997, but chose to withhold this information from

 Bolt’s defense team despite multiple specific requests.




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          149.   As Justice Zayas unequivocally found: “Under no circumstances could the

 prosecutors in these cases have reasonably believed that this information—which suggested that

 another group of perpetrators, with a history of armed robberies targeting large amounts of cash,

 was responsible for the Murders of Epstein and Davis and thus contradicted the People’s theory

 of the case—was not favorable to Bell, Bolt, and Johnson and did not have to be disclosed.” Bell,

 71 Misc. 3d at 662.

          150.   Trial counsel for Robert Majors (one of the alleged Speedstick members charged

 with another neighborhood robbery along with Aaron Boone) was only provided with a redacted,

 two-page copy of DD5 288 and a redacted copy of DD5 291 in the year 2000, when Bolt was

 tried.

          151.   The copies that Majors’s counsel received had all of the information that would

 have exonerated Bolt either redacted or, in the case of DD5 288, with the third page containing

 information exculpating Bolt missing in its entirety.

          152.   In other words, the QDAO was well aware of Speedstick’s involvement in the

 Astoria Boulevard Murders by 1997 (per ADA Testagrossa’s notes) and was in possession of

 these specific DD5s by at least 2000, and chose to suppress this clear evidence that Bolt was

 innocent.3

          153.   The information withheld from Bolt’s defense team was far from limited to these

 DD5s. Following the revelations of DD5 288, Bolt’s and Johnson’s post-conviction attorney,



 3
  It is worth noting DD5 288 was uncovered only through the most fortuitous of circumstances. Robert
 Majors has maintained his innocence and, in connection with his challenges to his convictions, these
 DD5s were produced to his lawyer, the undersigned. Majors’s lawyer happened to have been familiar
 with Johnson's case, recognized the significance of these productions, and contacted Bolt’s counsel. But
 for that event, Bolt and his codefendants would still be serving a life sentence for a crime they did not
 commit.


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 along with attorneys at Wachtell Lipton Rosen & Katz, for Bell, approached the QDAO’s newly-

 formed Conviction Integrity Unit (“CIU”).

        154.    CIU did a thorough re-investigation of Bolt’s conviction, which identified other

 exculpatory information that was in the possession of law enforcement, but had never been

 disclosed to Bolt.

        155.    All of this newly-discovered information either points to Speedstick gang as the

 culprits or evidences that Bell’s and Johnson’s confession were unreliable.

        156.    The below documents were never produced to Bolt before the CIU

 reinvestigation:

                a.       DD5 548 (discussed above).

                b.       The NYPD “all points bulletin” from before Bolt’s arrest which stated
                         that the robbery ring were the lead suspects in the Murders.

                c.       Additional police reports reflecting similar modus operandi between the
                         suspects in the Astoria Boulevard Murders and other recent robberies in
                         Queens, including (1) the time of day the crime occurred; (2) the number
                         of perpetrators; and (3) the manner in which the perpetrators forced entry
                         into the business.

                    d.   A DD5 reflecting that just days before the murder, three or four
                         men appeared to be casing Epstein’s check cashing store and that
                         one of them had a scar on the left side of his face near his lip in a
                         horseshoe shape and a thin mustache. A photo of Jamal Clark
                         from the time of the Murders reveals a scar and mustache
                         matching this description.

                e.       A DD5, authored by Defendant Brooks, memorializing an interview with
                         Jamal Clark’s girlfriend at the time of the Astoria Boulevard Murders that
                         further corroborates Witness #1’s claim that Clark was closely associated
                         with the Boone twins and that he went to the Boones’ club in South
                         Carolina with them shortly after the murder. Upon information and belief,
                         Defendant Brooks did not provide this information to the QDAO or, in the
                         alternative, this information was not provided by prosecutors to
                         the defense.




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             f.    Additional evidence corroborating that Boone murdered Jamal Clark,
                   adding more credence to the statements of Witness # 1 regarding Clark
                   and Boone’s involvement in the Murders for which Bolt was
                   convicted.

             g.    A DD5 memorializing the interview with a victim of the May 9,
                   1997 robbery of a Flushing, Queens business stating that “Green Van
                   which was occupied by a M/B wearing a Green Army Jacket and sitting in
                   drivers side of Van.” This description matches the description from a
                   witness to the Murders who testified at Bolt’s trial that the shooter was
                   wearing a “green army jacket.”

             h.    A DD5 reflecting that Bigweh told Witness #2 that he actually was not
                   involved in the robbery and Murders (when his supposed involvement was
                   the only thing leading the police to Bell and Johnson in the first place).

             i.    Records reflecting that Bigweh had attempted suicide in custody and then
                   needed mental health evaluations.5 The QDAO had “obtained medical
                   records related to the suicide attempt, which included information that
                   Bigweh had a history of experiencing ‘AH [auditory hallucinations]’ of his
                   dead mother at stressful times like his birthday or hers or the anniversary
                   of her death. The voice tells him to ‘go home.’” Bolt, 71 Misc.3d at 650.
                   “None of these records, which were in the District Attorney’s file related
                   to this case, were disclosed to the attorneys representing Bell, Bolt, and
                   Johnson, despite specific requests for information of this sort having been
                   made.” Id. These records included handwritten notes with the name “Greg
                   Lasak” at the top of the page recording that Bigweh had been sent for a
                   psychiatric evaluation.

             j.    Bigweh’s cooperation agreement that was terminated shortly before Bolt’s
                   trial, even though Bolt’s defense team had specifically requested
                   any such cooperation agreements.

             k.    A DD5 describing an interview with witness Altagralia Durna, who
                   described the getaway car as a light blue Aerostar van with white stripes
                   and who identified the stolen blue Ford Aerostar van recovered near the
                   crime scene as the likely getaway vehicle. Incredibly, the QDAO did not
                   disclose to Bolt’s defense team that this witness existed until two-and-
                   a-half months after his trial began and the day after the witness had left the
                   country, and even when disclosing her still did not disclose the DD5
                   reflecting the interview in which she identified the blue van recovered by
                   the police as the getaway vehicle. Bell stated that the van was
                   burgundy in his false confession.




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                l.     During the same undisclosed interview, Ms. Duran also described the
                       assailant as “light skinned male black or Hispanic.” Neither Bell,
                       Johnson, or Bolt meet that description;.

                m.     Interviews with an additional five eyewitnesses identifying the color of the
                       van as either blue or green. Two of the witnesses also identified the van as
                       having either North Carolina or South Carolina plates—further tying the
                       crime to the Boone twins, who owned a night club in South Carolina.

                n.     The DD5 from an interview with a man named Dennis Knight days before
                       Bolt was arrested in which Knight stated that he had “no specific
                       information” of the crime but had a hunch that someone that he knew
                       named Devon might have been involved in the Murders and that Devon
                       “usually drives a red or burgundy Plymouth Voyager van” (i.e., the source
                       of the “burgundy” van information—corroborated by none of the eight
                       eyewitnesses who gave statements to the police—fed to Bell by the
                       police).

        157.    The CIU investigation also uncovered a DD5 63, dated March 28, 1997, reflecting

 that just three weeks after Jamal Clark’s murder, Queens Homicide Detectives supplied

 information regarding Clark’s murder to Defendants Pia and Sica. This coordination between

 the detectives investigating Clark’s murder and Defendants Pia and Sica—who were

 investigating the murder with which Bolt was charged—further demonstrate that these cases

 were always related and the investigating detectives were well-aware of the alternative suspects.

        158.    The information in this DD5 and its clear implication that the police knew about

 the relationship between Speedstick and the murder for which Bolt was convicted was also

 confirmed during CIU’s reinvestigation.

        159.    One of the lead detectives in the Speedstick investigation, Detective Stacey

 Calantjis, confirmed he and the other Speedstick investigators shared everything they uncovered

 about Speedstick with Defendants Pia and Sica.




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         160.   Calantjis also confirmed that he provided all of the information he had to

 Defendant Pia and Sica’s boss, Defendant Nevins, but that Nevins did not pursue any of the leads

 regarding Speedstick’s involvement.

         161.   Defendants Nevins, Pia, and Sica did not provide this information to the QDAO

 or, in the alternative, prosecutors wrongfully withheld this information from Bolt’s defense

 team.

         162.   The CIU reinvestigation also revealed that Defendant Bubelnik fabricated

 evidence against codefendant Bell.

         163.   In May 1997, Detective Bubelnik drafted a DD5 575 regarding an interview with

 Rodney Boone (no relation to the Boone twins). Detective Bubelnik stated that Mr. Boone (1)

 informed her that she “had the right people”; (2) told her that the “word on the street” was that

 Rohan Bolt supplied the guns and got them in Brooklyn; and (3) identified Jason Ligon as a

 participant in the crime.

         164.   Rodney Boone was interviewed as part of the CIU investigation and vigorously

 denied making any of these statements. Mr. Boone told investigators that he never told the police

 they had the right people, never told police anything about Bolt who Boone only knew of

 because he owned a local restaurant, and never identified Ligon, who he had no basis to believe

 had any involvement in the crime.

         165.   Instead, Rodney Boone told investigators that Defendant Bubelnik said to him

 “we have the right people,” a statement which Mr. Boone did not confirm or deny since he had

 no knowledge of who committed in the crime.

         166.   Defendant Bubelnik fabricated this DD5 claiming that Mr. Boone told her that

 they “have the right people.”



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        167.    In addition to the voluminous documents discussed above reflecting Bolt’s

 innocence, the CIU also produced the handwritten notes of ADA Charles Testagrossa.

        168.    These notes taken before Bolt’s trial in a folder labeled “Speedstick” reveal that

 as early as 1997 Testagrossa “[b]elieve[d] Jamal was driver in Davis homicide”; “Jason was

 Jamal”; and knew of “Speed Stick Bosses: Twin Boones. Bernard Johnson. Jamal Clark ‘Jason.’”

        169.    As Justice Zayas put it, “[i]t is . . . mindboggling that Testagrossa asserted in open

 court that there was no link between the Boone-led Speedstick gang and this case.” Bolt, 71

 Misc.3d at 662.

        170.    Even if Testagrossa had forgotten about his conversations with Defendant Heider

 by the time Bolt went to trial in 1999, they were readily available to him throughout the trial.

 Rather than consult his own notes of the relationship between the cases when Bolt’s defense

 team sought to call Heider to testify, Testagrossa, in consultation with Defendant Heider, made

 blanket assertions that there was no connection between the cases and impugned the defendants’

 counsel for implying otherwise.

        171.    Moreover, additional documents only recently disclosed reflect that police were

 investigating Clark as early as March 1997, when Defendants Bovino and Bubelnik did a

 “complete workup” of Jamal Clark and obtained numerous photographs of Clark. Defendant Sica

 then placed a picture of Clark in a photo array with pictures of Bell, Bolt, Johnson, and Bigweh

 to at least one witness.

        172.    Even though Defendants Pia, Sica, Bubelnik, and Bovino had had been actively

 investigating Jamal Clark, upon information and belief, once law enforcement learned Jason

 Ligon was in Washington, D.C. at the time of the murder, the NYPD made no further attempt to

 locate “Jason”—the supposed fifth participant in the murder of an off-duty police officer—



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 because they knew that the real “Jason,” i.e., Jamal Clark, was deceased. This underscores that

 the police knew that the person they had previously identified as “Jason” was Jamal Clark, who

 was deceased.

        173.     In other words, Defendants Pia, Sica, Bubelnik, and Bovino, in addition to

 Defendant Heider, not only knew and withheld that Jason Ligon was innocent, but also withheld

 from Bolt their apparent knowledge that they had identified Jamal Clark, a deceased member of

 the Speedstick gang, as a participant in the murder. Clark’s inclusion would have unquestionably

 warranted further investigation into Speedstick’s involvement in the crime.

        174.     Upon information and belief, when Defendant Heider was called to testify at Mr.

 Bell’s trial in 1999, ADA Testagrossa consulted with Defendant Heider as to the relationship

 between Mr. Bell’s case and Speedstick. Upon information and belief, Defendant Heider falsely

 told ADAs Testagrossa and Leventhal that there was no connection between the cases In the

 alternative, upon information and belief, Defendant Heider truthfully told

 Testagrossa and/or Leventhal that there was a connection between the cases.

        175.     Yet, notwithstanding Defendant Heider’s revelation about the connection between

 Mr. Bell’s case and Speedstick, Testagrossa and Leventhal lied to the Court. In other words,

 upon information and belief, either Defendant Heider lied to ADAs Testagrossa and Leventhal or

 the ADAs lied to the Court.

        176.     These facts create the inescapable inference that Defendants Pia, Sica, Bubelnik,

 Bovino, and Heider stopped their own investigation into Clark once he was deceased in order to

 avoid implicating Speedstick and establishing that Messrs. Bell, Bolt, and Johnson who had been

 arrested for the murders were in fact innocent.



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 I.      The State Court Vacates Bolt’s Conviction, Dismisses His Indictment, And
         Excoriates The QDAO For The Prosecutorial Misconduct That Caused His
         Wrongful Conviction

         177.    Armed with this trove of newly discovered evidence, the QDAO, through its

 Conviction Integrity Unit, together with Bolt and his co-defendants jointly moved to vacate the

 convictions in March 2021.

         178.    Justice Zayas granted the motion on March 5, 2021 (amended March 8, 2021) and

 excoriated the law enforcement officials involved in the process.

         179.    Justice Zayas found that the QDAO’s handling of the case “leaves the distinct

 impression that the suppression of the Speedstick information was not an isolated instance of

 misconduct, but part of a larger pattern of behavior that was calculated to deprive the defendants

 of fair trials.” Bolt, 71 Misc.3d at 664-65 (emphasis added).

         180.    Justice Zayas elaborated that law enforcement’s conduct in this case was

 particularly “egregious given that the death penalty was being sought against 19-year-old George

 Bell[,]” and the QDAO nonetheless “completely abdicated its truth-seeking role.” Bolt, 71

 Misc.3d at 659.

         181.    In addition to his finding of clear prosecutorial misconduct, Justice Zayas noted

 that the QDAO conceded that the circumstances surrounding Bell’s and Johnson’s confession

 “raise legitimate concerns about [its] reliability” Id. at 663.

         182.    On June 4, 2021, Bolt’s indictment was dismissed with prejudice upon motion by

 the QDAO on newly discovered evidence grounds and all charges were dropped.

         183.    In announcing the decision to seek to dismiss the indictment, the QDAO

 explained that between March and June of 2021, it had “conducted an extensive and exhaustive

 investigation” in which it: (1) reviewed all relevant documentary evidence, including both



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 documents related to Bolt’s case and the files of numerous other NYPD investigations of the

 alternate suspects in this case; (2) interviewed over 60 fact witnesses; (3) reviewed “hundreds

 and hundreds” of hours electronic evidence; and (4) reviewed “hundreds of hours” of forensic

 testing involving DNA evidence, ballistics evidence and the re-testing of fingerprint evidence.

        184.    This thorough investigation did not turn up a shred of evidence implicating Bolt.

 J.     Bolt’s Damages And Injuries

        185.    Bolt’s injuries and damages include, but are not limited to:

        (a)     His false and malicious arrest, prosecution and conviction for murder and
                robbery, and sentence to life in prison;

        (b)     The wrongful denial or delay of his challenges to his conviction filed in State and
                Federal Court;

        (c)     His 24-year loss of his liberty, his belief that he would die in prison, and the
                additional time he spent in jeopardy of being subjected to a retrial;

        (d)     Injuries he suffered witnessing assaults by other inmates, including the mental and
                emotional effects of such assaults;

        (e)     Past and future physical illnesses and economic injuries as a result of his
                wrongful conviction and experiences in prison;

        (f)     Past and future mental and emotional injuries and suffering;

        (g)     Substantial lost income from his restaurant business;

        (h)     The loss of the services, society, companionship, and consortium of his wife and
                fiancée, mother, brothers and sister, four children, and other family members and
                friends;

        (i)     Legal fees and expenses for which he is responsible exceeding $200,000 based
                upon attorney time necessitated by exhaustive investigation and litigation
                required to uncover the QDAO’s misconduct.




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                                   FIRST CAUSE OF ACTION
                (Malicious Prosecution and Deprivation of Liberty Under the Fourth,
           Fifth, Sixth, and Fourteenth Amendments; 42 U.S. C. § 1983; All Defendants)

        186.    Bolt realleges the allegations in the above paragraphs of this Complaint, and

 incorporates them here and in all following paragraphs.

        187.    Defendants Cardamone, Brooks, Pia, Sica, Heider, Bovino, Bubelnik, Nevins,

 Falciano, and Fezza, individually, collectively (referred to as the “Individual Defendants”),

 acting in concert and aiding abetting one another, intentionally, knowingly and willfully

 manufactured, or caused the manufacturing of, false statements and identifications by Bigweh,

 Johnson, Bell, and Ligon, which they improperly compelled or induced those individuals to

 adopt, accusing Bolt of the double murders and attempted robbery, and causing the QDAO to

 commence or continue criminal charges against Bolt.

        188.    The Individual Defendants knew that the statements and identifications would be

 relied on by the QDA and the court as a basis to authorize Bolt’s arrest, actually arrest him, and

 to formally initiate his prosecution, continue his prosecution, and that the statements and

 identifications would be introduced into evidence at Bolt’s trial. Those statements and

 identifications were forwarded to the QDAO, which in turn did in fact introduce some of them

 during Bolt’s pretrial hearings and trial.

        189.    By virtue of the foregoing, the individual defendants, with actual malice, initiated,

 continued, or caused the initiation and continuation of, criminal proceedings against Bolt that

 they knew, or should have known, there was no probable cause for, and for which in fact there

 was no probable cause, and thereby caused Bolt to be deprived of his liberty.

        190.    Those proceedings were ultimately terminated in Bolt’s favor, in a manner

 affirmatively indicating his innocence.



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        191.     As a direct and proximate result of these acts and omissions, Bolt suffered the

 damages set forth in ¶ 185, above.

                                 SECOND CAUSE OF ACTION
               (Evidence Manufacturing; Denial of A Fair Trial Under The Fifth, Sixth,
                  and Fourteenth Amendments; 42 U.S. C. § 1983; All Defendants)

        190.     Plaintiff realleges the allegations in the above paragraphs of this Complaint, and

 incorporates them here and in all following paragraphs.

        191.     Cardamone, Brooks, Pia, Sica, Heider, Bovino, Bubelnik, Nevins, Falciano, and

 Fezza, acting individually and in concert, fabricated evidence and concealed material

 exculpatory and impeachment evidence thereby depriving Bolt of his Fifth, Sixth, and Fourteenth

 Amendment rights.

        192.     The Individual Defendants fabricated statements and identifications from Bigweh,

 George, Bell, and Ligon, false videotaped statements from Bell, Johnson, and Ligon, upon

 information and belief, Turnbull’s identification of Bolt at the lineup, and along with the other

 unarmed coconspirators, created a host of other false police report as detailed above and in Bell’s

 42 U.S.C. § 1983 complaint, regarding Bolt’s involvement in and commission of the crime.

        193.     The Individual Defendants, including Pia, Sica, Heider, Bovino, Bubelnik,

 Nevins, Falciano, and Fezza, and Does 1-4, did not intervene when each other created false

 evidence.

        194.     Fezza and the Individual Defendants, falsely represented to prosecutors, in the

 course of charging and indicting Bolt, and at trial, that all of that false evidence was accurate,

 and all of the evidence factored into the QDAO’s decision to charge Bolt with the crime and

 continue his prosecution.




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        195.    Bigweh’s statement and Turnbull’s identification were introduced against Bolt at

 trial and was a basis for the jury’s verdict against him.

        196.    The Individual Defendants, deliberately and recklessly coerced and/or fabricated,

 and created the above evidence. These fabricated evidence was all provided to the QDAO,

 convinced them of Bolt’s guilt, and would have been likely to influence a jury’s decision were

 the evidence to be presented a trial.

        197.    Upon information and belief, the Individual Defendants affirmatively misled

 ADAs Testagrossa and Leventhal at trial by representing that the Speedstick investigation had no

 relation to the Astoria Boulevard Murders.

        198.    Upon information and belief, the Individual Defendants knowingly and

 deliberately chose not to document and/or disclose to the prosecutors information that was

 favorable and material to Bolt’s defense. The suppressed evidence included but is not limited to:

                a.      That Defendants Pia, Sica, Heider, Bubelnik and Bovino were
                        investigating Speedstick in connection with the Astoria Boulevard
                        Murders, including investigating Jamal Clark;

                b.      That Ligon’s confession was coerced;

                c.      That Johnson’s confession was coerced;

                d.      That Bell’s confession was coerced

                e.      That Defendants Bubelnik and Bovino had been sued on allegations that
                        they had previously coerced a false confession; and

                f.      That Defendant Bubelnik falsified a DD5 claiming that a third-party had
                        told her she “had the right people” (Defendants Bubelnik and Bovino
                        only).

        199.    Moreover, Defendants Pia, Sica, Heider, Bubelnik, and Bovino worked in concert

 deliberately to stop developing evidence that Jamal Clark was “Jason” and had participated in the




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 Astoria Boulevard Murders in order to hide Speedstick’s involvement and not undermine the

 prosecution of Bolt.

        200.    If these fabrications and exculpatory and material impeachment evidence were

 known to Bolt’s defense team and had been documented and/or disclosed, such evidence would

 have tended to prove that Speedstick, not Bolt, committed the Astoria Boulevard Murders and

 cast doubt on the entire police investigation and prosecution.

        201.    The aforesaid conduct, which Defendants committed, operated to deprive Bolt of

 his rights under the Constitution and the laws of the United States to timely disclosure of all

 material evidence favorable to the defense pursuant to the Due Process and Fair Trial Clauses of

 the Fifth, Sixth, and Fourteenth Amendments to the United States Constitution.

        202.    As a direct and proximate result of these acts and omissions, Bolt suffered the

 damages set forth in ¶ 185, above.

                                 THIRD CAUSE OF ACTION
             (Suppression of Brady v. Maryland, 373 U.S. 83 (1963) and Denial Of A
            Fair Trial Under The Fifth, Sixth, Fourteenth Amendments; All Defendants)

        203.    Bolt realleges the allegations in the above paragraphs of this Complaint, and

 incorporates them here and in all following paragraphs.

        204.    Defendants Cardamone, Brooks, Pia, Sica, Heider, Bovino, Bubelnik, Nevins,

 Falciano, and Fezza, individually, collectively, acting in concert, aiding and abetting, and

 conspiring with each other, intentionally, recklessly, and with deliberate indifference to Bolt’s

 constitutional rights, suppressed from the QDAO and Bolt (a) the exculpatory and impeaching

 information detailed in above, (b) their creation of false police reports, (c) their false

 representations to the QDAO to convince that office to criminally charge Bolt, and (d) their own

 and each other’s misconduct.



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        205.    As a result of those defendants’ suppression, prosecutors were unable to disclose

 to Bolt and his attorney the exculpatory information detailed in the preceding paragraphs, and to

 correct the false testimony and argument that flowed from the suppression of that evidence.

        206.    The suppressed evidence was material, likely to influence a jury’s decision,

 and there is a reasonable probability that had the evidence been disclosed to the defense, the

 result of Bolt’s trial would have been different.

        207.    These actions deprived Bolt of his right:

                (a)     Not to be arrested, indicted, prosecuted, detained, convicted, or
                        imprisoned based on false, fabricated, manufactured, misleading, or
                        inherently unreliable “evidence,” including the statements and testimony
                        of witnesses who have been improperly influenced, coerced, or
                        manipulated to provide such statements and testimony, in violation of the
                        Due Process and Fair Trial Clauses of the Fifth, Sixth and Fourteenth
                        Amendments to the United States Constitution;

                (b)     Not to be deprived of his liberty absent probable cause to believe he has
                        committed a crime, in violation of his rights under the Fourth and
                        Fourteenth Amendments to the United States Constitution; and

                (c)     To timely disclosure of all material evidence favorable to the defense
                        pursuant to Brady v. Maryland, 373 U.S. 83 (1963), Giglio v. United
                        States, 405 U.S. 150 (1972), and their progeny, and the Due Process and
                        Fair Trial Clauses of the Fifth, Sixth, and Fourteenth Amendments to the
                        United States Constitution.

        208.    The foregoing violations of Bolt’s federal constitutional rights by the Individual

 Defendants and their co-conspirators and accomplices, known and unknown, directly,

 substantially, proximately, and foreseeably caused the initiation and continuation of Bolt’s

 criminal prosecution, loss of liberty, detention without bail, wrongful conviction, subsequent

 imprisonment, and other injuries and damages.




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         209.    The foregoing violations of Bolt’s rights amount to constitutional torts and were

 affected by actions taken under color of State law, and within or without the scope of their

 employment and authority.

         210.    The Individual Defendants committed the foregoing violations of Bolt’s rights

 knowingly, intentionally, willfully, recklessly, and/or with deliberate indifference to Bolt’s

 constitutional rights or to the effect of such misconduct on those rights.

         211.    As a direct and proximate result of these acts and omissions, Bolt suffered the

 damages set forth in ¶ 185, above.

         212.    The CITY is liable for these wrongs by virtue of DA Brown’s and the NYPD’s

 policies, customs, and deliberate indifference to, and failure to supervise, discipline, and rectify

 their employees conduct regarding such matters, despite the likelihood that the failure to do so

 would result in the injuries pled here.

                                 FOURTH CAUSE OF ACTION
             (Monell/42 U.S.C. § 1983: Claim Against the CITY based on the QDAO’s
              unconstitutional policies, customs, and practices, and failure to supervise,
                    discipline, and rectify amounting to deliberate indifference)

         213.    Bolt realleges the allegations in the above paragraphs of this Complaint, and

 incorporates them here and in all following paragraphs.

         214.    During Bolt’s criminal trial prosecutors suppressed a mountain of Brady material

 from Bolt and his defense attorney.

         215.    The misconduct of the QDAO in Bolt’s case was not the result of one bad actor

 but of office-wide policies and practices that encouraged Brady violations as a means of securing

 convictions.4


 4
  A “plaintiff is allowed to plead in the alternative.” Breton v. City of New York, 404 F.Supp.3d 799, 814
 (S.D.N.Y. 2019) (Koeltl, J), citing Federal Rule of Civil Procedure 8(d).


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         216.    These practices routinely deprived criminal defendants of their fair trial rights.

         217.    These practices were employed in Bolt’s case and cost him over twenty-four

 years of his life.

         218.    There are two unlawful practices of the QDAO office that significantly

 contributed to Bolt’s conviction.

         219.     First, the QDAO had no effective mechanism for prosecutors to obtain Brady

 information known to other QDAO prosecutors in their office. This practice made it easy for

 prosecutors disinterested in satisfying their Brady obligations to have “plausible deniability” that

 they were not aware of exculpatory materials.

         220.    Under governing Supreme Court precedent, a prosecutor “has a duty to learn of

 any favorable evidence known to others in the prosecutor’s office, as well as others acting on the

 government’s behalf, including the police.” Kyles v. Whitley, 514 U.S. 419, 437 (1995).

         221.    Yet, the QDAO had no effective mechanism for prosecutors to access information

 known to others in the prosecutor’s office. As a result, an ADA attempting to locate materials

 related to a particular topic or investigation could not easily do so.

         222.    QDAO provided no training to prosecutors on how to locate Brady material

 known to other prosecutors in the office.

         223.    QDAO policies and procedures inhibited prosecutors from learning of “favorable

 evidence known to others in the prosecutor’s office.”

         224.    This case presents a stark example of how this grossly deficient and

 constitutionally infirm method of information storage would lead to the violation of criminal

 defendants’ Constitutional rights.




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        225.    Based on the information he developed while reinvestigating Bolt’s case, CIU

 Director Bryce Benjet stated that “significant” Brady material connecting Speedstick to the

 murders was “not contained in the files of these defendants [Bell, Bolt and Johnson].”

        226.    This finding was confirmed by ADA Testagrossa.

        227.    ADA Testagrossa has stated that all of the Speedstick material in question,

 including his handwritten notes reflecting that “Jason” was Jamal Clark, were in a separate

 Speedstick file with a separate ADA in a separate bureau.

        228.    The Speedstick files were in the Major Crimes and Career Criminal Bureau where

 the Speedstick case was being investigated.

        229.    The Johnson files were in the Homicide Bureau.

        230.    As a result, ADA Leventhal could falsely claim that the QDAO did not have

 exculpatory files documenting Speedstick’s involvement in the crime.

        231.




        232.    Indeed, ADA Testagrossa stated that the failure to produce these exculpatory files

 in co-defendant Bell’s case was a “law office failure” that occurred as a result of “silo procedures

 engaged in by the Queens District Attorney’s Office during the late 1990s.”

        233.    ADA Testagrossa stated that “as a result of this procedure, there was minimal

 sharing of information among the various bureaus and divisions, i.e. the Homicide Investigations

 and Homicide Trial Bureaus of the Major Crimes Division were siloed from the Career

  Criminal/Major Crimes Bureau of the Trial Division.”



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        234.    ADA Testagrossa explained that these various bureaus were located in different

  buildings and thus were “not physically available to prosecutors outside of those bureaus and

  their contents were not shared.”

        235.    The relevant exculpatory files were located in files related to various prosecutions

  against Speedstick members.

        236.    ADA Testagrossa stated that these exculpatory Speedstick files “were not only in

  a separate bureau, but also in a separate division apart from the division and bureau which

  handled the Bell[,]”as well as Bolt and Johnson prosecutions.

        237.    ADA Leventhal, like ADA Testagrossa, called the failure to produce Brady

  material a “law office failure” in which “material, known to be gathered by others was

  not made available to [the ADAs trying the case].”

        238.    ADA Leventhal similarly described the QDAO’s practice of isolating information

  within bureaus.

        239.    ADA Leventhal admitted that “information silos developed that on occasion

  failed to ensure that necessary information sharing [sic] resulting in rare failures to meet all

  discovery obligations.”

        240.    ADA Leventhal stated the failure to turn over exculpatory material “was the

  result of the organization’s [referring to QDAO’s] architecture during the last millennium,

  which created an environment in which significant possibilities for the

  failure to share critical information existed.”

        241.    ADA Leventhal acknowledged that these processes were sufficiently inadequate at

  the time of the prosecutions of Bell, Bolt, and Johnson, that the office had to later develop

  procedures to “ensure that those [prosecutors] assigned to matters were adequately advised of


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  information necessary to meet all statutory and constitutional discovery, Brady and Giglio

  obligations.”

        242       The QDAO could have developed such procedures at the time of the prosecutions

  of Bell, Bolt, and Johnson, but did not. ADA Leventhal stated that the “blame” for failing to

  produce the exculpatory Speedstick materials should not be placed on “the last prosecutors in

  the long line of those who were tasked with assignments in this matter, but, rather . . . [on] the

  organization as an entity.”

        243.      That is, ADA Leventhal says, in effect, “don’t blame me, blame the practices of

  the QDAO.”

        244.      Other corroborate that QDAO policy failures resulted in the unconstitutional

  failure to produce exculpatory material to Bell’s defense counsel.

                    1.




                    2. ADA Dorfman stated that because “ADA Testagrossa apparently held the
                       exculpatory material regarding the Speedstick Gang in another bureau
                       and never made it part of the files for the Davis/Epstein homicide
                       investigation” he would “have had no means of accessing this
                       information” at the time he submitted his false affidavit in co-defendant
                       Bell’s case claiming that there was no Brady material available.

                    3.




                    4. ADA Lasak stated repeatedly that, despite his role as lead trial attorney
                       in co-defendant Bell’s case for nearly all of pre-trial discovery, he
                       would not have had any reason to check the files of the Major Crimes
                       and Career Criminal Bureau (where the Speedstick case was being


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                       investigated) for Brady material and, rather, that it was “incumbent on
                       [the attorneys in that Bureau” to “alert [him] to the existence of these
                       [exculpatory] reports.” In other words, he acknowledges there was no
                       expectation he would search for material in other bureaus absent a
                       member of another Bureau explicitly seeking him out.

         245.    The QDAO also failed to train its prosecutors on their Brady obligations,

 further encouraging them to undertake the “look only within your bureau” approach.

         246.    ADA Dorfman stated that the QDAO “fail[ed] to adequately train junior

 ADA’s” like himself and that he has no recollection of ever being trained on his Brady

 obligations at all.

         247.    In short, the QDAO both deliberately siloed information within each bureau

 and then did not train its prosecutors on their obligations to seek out Brady material that was

 not readily accessible.

         248.    As a result, prosecutors could falsely claim that the QDAO did not have

 exculpatory files documenting Speedstick’s involvement in the crime at the time that they

 responded to Bolt’s requests for Brady material.

         249.    Because this Brady information known to other prosecutors was not properly

 stored and/or not sufficiently accessible, Mr. Benjet concluded that the trial prosecutors’ denials

 of the existence of such Brady materials were made “in good faith.”

         250.    In short, the ADAs responding to Bolt’s discovery requests did not have ready

 access to those files and there was no policy, practice, or training for how these attorneys would

 obtain and review other prosecutors’ files.

         251.    This policy failure does not excuse the prosecutors’ misconduct. Bolt, as well as

 his codefendants counsel, cited to specific newspaper reports indicating that Speedstick members




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 were suspects and prosecutors should have sought out materials, wherever located relating to

 that subject matter.

           252.   Moreover, Testagrossa was personally aware of Jamal Clark’s involvement in the

 murder two years earlier and, given the notoriety of Bolt’s alleged crime, it is inconceivable that

 he did not check his prior notes, or review any files related to Jamal Clark at all, before issuing

 false denials of the relationship between the cases in open court during codefendants Bell’s case.

           253.   This lack of any mechanism (or training) for prosecutors to access other

 prosecutors’ files enabled an “ostrich” approach to Brady obligations, where prosecutors could

 claim not to have seen exculpatory materials. This is exactly such a case. It is not plausible that

 the revelation that Speedstick was involved in the Astoria Boulevard Murders in 1997 would

 have just been glossed over. This case was notorious. It involved the murder of a police officer,

 was the only death penalty case in the office, and defense counsel (and the press) specifically

 probed the relationship between Speedstick, the Astoria Boulevard Murders, and the Flushing

 attack.

           254.   Nevertheless, because this information was not stored in the case files, the ADAs

 running discovery in Bolt’s case could simply avoid this information.

           255.   The QDAO’s policy, practice, and procedure of failing to have an effective

 mechanism for prosecutors to access information known to others in the prosecutor’s office

 made it foreseeable to the City that prosecutors would not locate Brady material and thus would

 withhold Brady material from criminal defendants.

           256.   This unlawful policy, practice, or custom of the City was a substantial factor in

 bringing about the violations of Bolt’s rights under the Constitution and laws of the United States

 and in causing his wrongful conviction, imprisonment and related damages.



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        257.    Second, the DA Richard Brown, as a municipal policymaker for the City, had a

 custom and practice not to internally investigate, reprimand, sanction or discipline prosecutors

 for trial and pre trial misconduct, including Brady violations, summation misconduct and/or

 failure to correct false testimony and the use of false or improper evidence and argument.

        258.    D.A. Richard Brown served as a justice of the Appellate Division, Second

 Department, from March 1981 until 1991, when he became D.A.

        259.    There were numerous decisions by the Appellate Division during the period

 preceding his initial term as D.A., when Brown was a justice of the same court, excoriating

 ADAs for violating the aforementioned fair trial rights of criminal defendants.

        260.    Thirty-three of these decisions, from the period 1985 through 1990, are listed in

 Exhibit A, which is incorporated herein by reference.

        261.    These decisions were so numerous and so strongly worded that they suggested the

 existence of an anything-goes culture and practice aimed at obtaining convictions no matter the

 cost to criminal defendants’ constitutional rights.

        262.    Nevertheless, upon becoming D.A. himself in 1991, Brown, through his deliberate

 indiﬀerence, permitted this culture to continue.

        263.    He did so by failing to conduct internal disciplinary investigations or to discipline

 the prosecutors who were known to commit such violations, failing to refer such individuals for

 possible discipline by the Appellate Division’s Disciplinary or Grievance Committees, and

 failing to ensure they were properly trained and supervised.

        264.    Instead of disciplining prosecutors who were found to have violated the

 constitutional right of criminal defendants to a fair trial, the D.A.’s policy, custom, or practice

 was to give these prosecutors raises, promotions, and commendations, based in part on their



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 record of winning at trial and extracting guilty pleas, even in weak cases, while ignoring or

 discounting judicial ﬁndings of misconduct by these prosecutors.

        265.    Among the acts of serious misconduct found by courts and known to D.A. Brown

 during his tenure were 84 court decisions listed and summarized in Exhibit A (numbers 34-117).

        266.     These decisions found that Queens prosecutors, as in Bolt’s case, had wrongfully

 withheld favorable information from the defense, used or failed to correct improper, false, or

 misleading evidence or argument in the grand jury, at pretrial hearings, or at trial, or engaged in

 misconduct, often pervasive, during summations.

        267.    None of the prosecutors responsible for the wrongdoing that occurred in these

 cases were meaningfully disciplined, if they were disciplined at all, by the D.A. or his designees.

        268.

 responsible for these and other constitutional violations incentivized them and their colleagues to

 continue to violate the constitutional rights of criminal defendants.

        269.    As established by the deposition testimony of Queens DA executives in Su v. City

 of New York, 06 Civ. 687 (E.D.N.Y.) (RJD)(CLP), another § 1983 case involving the wrongful

 conviction of a young man due to Queens prosecutors’ knowing use of false evidence and

 argument and Brady violations, the District Attorney himself read every appellate decision

 concerning the Office and made the decision in each instance where misconduct was alleged or

 found whether to initiate an investigation of the ADA involved or to impose discipline.

        270.    By 1996, the year Bolt was arrested, at least 65 Appellate Court decisions that

 alerted the final policy maker that defendants were deprived of their constitutional rights because

 of prosecution misconduct involving failure to disclose Brady material, failure to correct false

 testimony and improper summations.



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        271.     Of the more than 130 instances, occurring after 1985 and continuing to date, of

 prosecutorial misconduct in summations, no trial prosecutor has been disciplined or sanctioned

 for actions which an appellate court found to be improper or to constitute prosecutorial

 misconduct. No prosecutor was disciplined for any Brady violation prior to Plaintiff’s trial

 notwithstanding that serious Brady violations, including withholding of impeachment material,

 had occurred.

        272.     Prosecutors knew they were likely to be rewarded for winning but would suﬀer no

 negative personal consequence in the unlikely event their misconduct was exposed.

        273.     Further encouraging prosecutors to win at any cost, including violating the

 constitutional rights of the accused, was their knowledge that the D.A., due to his indiﬀerence,

 had not promulgated or published any employee handbook or other oﬃce- wide publication

 setting forth either rules of behavior for prosecutors in handling criminal investigations or

 prosecutions, or procedures for disciplining prosecutors who violated established rules of

 behavior.

        274.                                                                              was further

 communicated to line prosecutors by the QCDAO’s establishment of its self- styled “Internal

 Wall ” policy, which ﬂagrantly violated constitutional requirements.

        275.     Under the United States and New York State Constitutions, it was clearly

 established that the D.A.’s Oﬃce as an entity had the obligation to disclose evidence favorable to

 the defense, without regard to the individual knowledge or intent of any individual prosecutor.

        276.     Nevertheless, under the “Internal Wall” policy, prosecutors assigned to try

 criminal cases were kept in the dark, and encouraged not to inquire, about promises or beneﬁts




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 that their cooperating witnesses received from other prosecutorial personnel to induce them to

 testify favorably for the D.A.’s Oﬃce.

        277.      The predictable result of this policy was that the defense and the jury wouldn’t

 learn about circumstances known to the D.A.’s Oﬃce that potentially aﬀected such witnesses’

 truthfulness and that false testimony by such witnesses denying receipt of promises and beneﬁts

 would go uncorrected.

        278.      Prosecutors were trained in this policy, and D.A. Brown permitted it to continue

 long after a trial judge, the New York Appellate Division, and then the New York Court of

 Appeals each condemned it as a ﬂagrant violation of the constitutional rights of the accused.

        279.      At the joint trial of co-defendants Gary Steadman and Raymond Blair in 1990, a

 key prosecution witness, Tony Malloy, testiﬁed to certain beneﬁts he had

  received from the D.A.’s Oﬃce but denied that prosecutors had promised him leniency

  with respect to several pending felonies that could result in a lengthy period of imprisonment.

        280.      Later in the trial, the defense learned that his testimony was false; in fact, a senior

  prosecutor in the D.A.’s Oﬃce had promised Malloy’s attorney that, in exchange for favorable

  testimony, Malloy could avoid prison altogether.

        281.      Steadman and Blair were convicted of manslaughter and related oﬀenses.

        282.      Ruling on the defense’s motion for a mistrial or dismissal based on this late

  revelation of Brady material, the trial court found that the deal was “deliberately not

  communicated from the executive level of the Queens District Attorney’s Oﬃce to the trial

  attorneys.” The court denounced the “ Internal Wall” policy and directed that it be

  discontinued:




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                 [T]his court cannot adequately express in words its disgust that the trial
                 was impacted by a shabbily structured cooperation charade. . . .

                        Any reasonable interpretation of what happened here must
                 conclude that ........ the executive level of the of the Queens District
                 Attorney’s Oﬃce improperly attempted to shield a witness from
                 “Brady” evidence disclosure . . . . It is hoped that this .............. will
                 never again be attempted…[emphasis added]

        283.    The trial court nevertheless denied the defense motion since the jury had

 eventually learned of the promises to Malloy.

        284.    The Appellate Division “share[d] the trial court’s condemnation of the tactics

 employed” by the D.A.’s Oﬃce but aﬃrmed the conviction for the same reason. People v. Blair,

 186 A.D.2d 665, 668 (2d Dep’t 1992), rev’d sub nom. People v. Steadman, 82 N.Y.2d 1 (1993).

        285.    The Court of Appeals, however, ordered a new trial, ruling that “the scheme

 employed by the District Attorney’s oﬃce,” which revealed “a determined eﬀort . . . to avoid”

 its Brady obligations, “undermine[d] the purposes of the Brady and [related state] rules” and

 “cannot be condoned.” Steadman, 82 N.Y.2d at 6-7.

        286.    Two years after the trial court in the Blair and Steadman case excoriated the

 D.A.’s Oﬃce for the “ Internal Wall” policy and expressed its expectation that the practice

 would be halted, the same policy was still in eﬀect.

        287.    At the attempted murder trial of Shih Wei Su in 1992, a crucial prosecution

 witness falsely denied, under questioning by the prosecutor, that he had received any leniency in

 exchange for his testimony, the prosecutor failed to correct this false testimony, and the

 prosecutor falsely vouched for the truthfulness of this testimony in her summation.

        288.    The trial prosecutor, as she later testified under oath, had been trained in the “

 Internal Wall” policy.




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        289.    Years later, a judge, over the D.A.’s vigorous opposition, directed the disclosure

 of a sealed plea transcript which, as it turned out, showed that the witness had received an

 explicit deal for leniency in a robbery case in exchange for his cooperation in testifying against

 Su.

        290.    For years, the D.A.’s Oﬃce resisted Su’s eﬀorts to overturn his fraudulently-

 obtained conviction.

        291.    Finally, after Su had served 12 years in prison, the United States Court of

  Appeals for the Second Circuit ordered a rare grant of a federal writ of habeas corpus,

  overturning Su’s conviction and directing his retrial or release.

        292.    The court condemned Su’s prosecutor for having “knowingly elicited false

  testimony from a crucial witness,” Su v. Filion, 335 F.3d 119, 121 (2d Cir. 2003), whose

  “credibility could not help but be central to the deliberations of any reasonable jury,” id. at

  129, and then “bolster[ing that witness’s] credibility” in a false summation, id. at 125.

        293.    Subsequently, the D.A.’s Oﬃce, knowing it lacked any witness to testify

  against Su, threatened him with a retrial and the potential of many more years in prison if he

  did not plead guilty to a reduced charge.

        294.    When Su insisted on his right to a new trial, the prosecutor suddenly

  dismissed the case on the scheduled trial date.

        295.    Policymakers at the Queens D.A.’s Oﬃce were not the least bit disturbed by

  the prosecutor’s behavior or the Second Circuit’s condemnation of it.




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        296.       After learning of the Second Circuit’s opinion, Su’s prosecutor, Linda

  Rosero, spoke with D.A. Brown’s second-in-command, ADA John Ryan, to complain that

  no one had warned her of the decision.

        297.       ADA Ryan told her, “you are just going to have a bad day, that’s all.”

        298.       Another high-level prosecutor in the oﬃce told her, “Don’t worry, you’re a

  good attorney. Everything will work out.” (The discovery obtained in that lawsuit is

  summarized in Joel B. Rudin, The Supreme Court Assumes Errant Prosecutors Will Be

  Disciplined by Their Offices or the Bar: Three Case Studies That Prove That Assumption

  Wrong, 80 Fordham L. Rev. 537, 559-566 (2011), a copy of which is attached as Exhibit B

  and is incorporated herein by reference.)

        299.       Petros Bedi was convicted of murder in 2000 after a key alleged eyewitness

  identified him as the shooter while denying the D.A.’s Oﬃce had paid him any financial

  benefits in exchange for this testimony.

        300.       It took 12 years before Bedi finally succeeded in compelling the D.A.’s

  oﬃce, through a FOIL lawsuit, and over its resistance, to reveal its witness relocation file for

  this witness.

        301.       Contrary to the witness’s false testimony, he had received approximately

  $23,000 in relocation benefits, including numerous cash payments totaling thousands of dollars,

  even though his identity hadn’t been revealed and there couldn’t possibly have been any threat

  to his safety.

        302.       The records showed that, after his identity was revealed at trial and, for the first

  time, he had a theoretical reason to fear for his safety, the payments stopped—he had literally

  been secretly bribed.

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        303.    When Bedi then brought a motion, in August 2012, to vacate his conviction, the

  D.A.’s Oﬃce resisted.

        304.    It defended the prosecutor, Debra Lynn Pomodore, on the basis that, under the

  “Internal Wall ” policy, she did not have actual possession or knowledge of the documents or

  the payments.

        305.    The court, pointing out that this was no defense to Pomodore’s violation of the

  D.A.’s Oﬃce’s disclosure obligations, vacated the conviction.

        306.    Upon information and belief, the D.A.’s Oﬃce unlawfully obtained

 numerous additional convictions through exploitation of its “ Internal Wall ” policy and

 through other Brady violations.

        307.    Further leading to the manufacturing and use of coerced or unreliable

 evidence was the D.A.’s Oﬃce’s practice, as in Plaintiﬀ’s case, of improperly influencing

 lineup identifications and knowingly using unlawfully obtained lineup “evidence” in

 criminal proceedings.

        308.    During the 1994 lineup involving a murder suspect, Kareem Bellamy, an

  eyewitness failed to positively identify Bellamy.

        309.    A Queens ADA, Stephen Antignani, was present at the lineup to supervise it

 and, in theory, to ensure it was conducted fairly.

        310.    Knowing that, without a positive identification, there would be an insuﬃcient

 basis to obtain an indictment, Antignani permitted a detective to take the witness into a private

 room, where the two talked privately.




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        311.    After the witness and the detective emerged from the room, the witness

 suddenly claimed to be able to positively identify Bellamy.

        312.    ADA Antignani used this manufactured “identification” in the grand jury to

 obtain an indictment.

        313.    He did so, as the prosecutor also did in Plaintiﬀ’s case, by misleading the grand

 jury into believing the eyewitness had made a positive identification while not revealing the

 witness’s initial uncertainty and the process by which an uncertain identification had been

 transformed into a positive one.

        314.    Bellamy was convicted, and spent 14 years in prison, before his conviction was

 overturned based upon newly-discovered evidence of innocence.

        315.    Similarly, in the Ricardo Benitez case, in 2009, a prosecutor attending a lineup

 to ensure its fairness, Tina Grillo, knew the lineup was grossly suggestive but allowed it to go

 forward.

        316.    While the suspect was in his 50s and appeared gaunt, sickly, and disheveled,

 the fillers were all clean-cut, lighter-skinned policemen who were 15 to 20 years younger.

        317.    Even though records of the D.A.’s Oﬃce described the lineup as “terrible,” a

 prosecutor still used it to obtain an indictment.

        318.    The grand jury was informed only of the identification, not of the

 extraordinarily suggestive and unlawful circumstances by which it was obtained.

        319.    Thereafter prosecutor misled a hearing judge into allowing an in-court

 identification at trial by introducing untrue testimony from the witness that her initial




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 observation of the suspect had lasted five minutes, when a surveillance video showed it had

 really lasted a matter of seconds.

        320.     Benitez was convicted and spent almost six years in prison before his conviction

 was reversed and he was acquitted at a retrial.

        321.     Upon information and belief, employees of the D.A.’s Oﬃce caused numerous

 additional false arrests, prosecutions, and convictions by improperly influencing lineup

 identifications and knowingly using unlawfully obtained lineup “evidence” in criminal

 proceedings.

        322.     Further contributing to the anything-goes atmosphere was the knowledge

 among prosecutors that the D.A.’s Oﬃce, rather than discipline ADAs who were found by a

 court to have engaged in misconduct, instead would personally attack judges who made

 unfavorable decisions, try to get the judges transferred out of criminal court, or try to block the

 judges’ reappointment.

        323.     The leadership of the QDAO knew that even a single instance of prosecutorial

 misconduct, if it led to no discipline, could poison the atmosphere of the entire office, as Acting

 District Attorney John Ryan acknowledged during a sworn videotaped deposition in Kareem

 Bellamy v. City of New York, 12 CV 1025 (AMD) (PK) (E.D.N.Y.). Mr. Ryan also

 acknowledged the dire consequences inflicted on those who were wrongfully convicted and

 agreed that “such dire consequences to others justify dire consequences to prosecutors who act

 unethically.”

        324.     In early 1996, the executive leadership of the QDAO compiled a Prosecutorial

 Misconduct Survey (the “Survey”).




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        325.    As the City confirmed in a Fed. R. Civ. P. 30(b)(6) deposition on December 1,

 2020 in another matter, the Survey found that, in at least 39 cases, either an appellate court held

 that the QDAO committed misconduct (22 cases), or the QDAO admitted misconduct absent

 such a finding (17 cases).

        326.    The QDAO’s prosecutorial misconduct in the Survey included all of the above

 types of prosecutorial misconduct resulting in constitutional violations, including Brady and

 related discovery violations, summation misconduct, improper reliance on false evidence, and

 prejudicial degradation of criminal defendants.

        327.    The instances of misconduct covered by the Survey constituted just a fraction of

 the total instances of misconduct the QDAO had committed between 1988 and 1995 and also did

 not include numerous additional incidences between 1985 and 1988, when DA Brown was an

 appellate division justice and became aware of the pervasiveness of prosecutorial misconduct in

 the QDAO.

        328.    All, or substantially all, of the QDAO prosecutorial misconduct cited in the

 Survey occurred in the few years preceding Bolt’s arrest, trial, and conviction.

        329.    By way of example, the Survey cited the following cases, which represent a small

 sample of the misconduct found in the Survey:

                a.      People v. Figueroa, 181 A.D.2d 690 (2d Dep’t 1992), ordering a new trial
                        where the QDAO prosecutor’s summation “went well beyond the bounds
                        of fair advocacy,” including suggesting that defendant’s alibi was
                        concocted after the witness met with defense counsel.

                b.      People v. Steadman/Blair, 82 N.Y.2d 1 (1993), reversing a defendant’s
                        manslaughter conviction where the QDAO made a “determined effort” to
                        avoid its obligations to disclose exculpatory evidence and to correct false
                        testimony, by employing a “scheme” under which a QDAO supervisor
                        would make a cooperation agreement with a witness’s attorney, but not
                        reveal the agreement to the prosecutors handling the defendant’s case at



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                     trial, and not correct the witness’s false testimony denying such an
                     agreement.

              c.     People v. Fearnot, 200 A.D.2d 583 (2d Dep’t 1994), reversing a
                     conviction where the QDAO withheld potential impeachment material,
                     suggested without evidence that the defendant was a prostitute, and tried
                     to inflame the jury by citing the AIDS epidemic, comments that “went
                     beyond the permissible bounds of broad rhetorical comment and should
                     not be repeated at a new trial.”

              d.     People v. Montesa, 211 A.D.2d 648 (2d Dep’t 1995), reversing a
                     conviction in part because the QDAO prosecutor elicited hearsay
                     testimony from a witness and committed summation misconduct.

              e.     People v. Giersz, 212 A.D.2d 805 (2d Dep’t 1995), reversing a conviction
                     where a QDAO prosecutor’s summation “exceeded the broad bounds of
                     rhetorical comment permissible in closing arguments.”

              f.     People v. Scott, 217 A.D.2d 564 (2d Dep’t 1995), ordering a new trial
                     where the QDAO’s misconduct was “so flagrant and so pervasive that it
                     was impossible for the defendant to receive a fair trial,” including
                     repeatedly referring to defendant as a convicted felon to convict him based
                     on criminal propensity, and attempting to shift the burden of proof.

              g.     People v. Moss, 215 A.D.2d 594 (2d Dep’t 1995), reversing a conviction
                     in part based on the QDAO prosecutor’s disregard of the court’s ruling
                     limiting unfairly prejudicial evidence, cross–examination questions
                     comparing defendant to Hannibal Lecter in Silence of the Lambs, and
                     waving of a knife in front of the jury during summation.

              h.     People v. Leuthner, 216 A.D.2d 327 (2d Dep’t 1995), reversing a
                     conviction due to serial misconduct by the QDAO prosecutor.

              i.     People v. James, 218 A.D.2d 709 (2d Dep’t 1995), noting “unacceptable
                     practices engaged in by the [QDAO] prosecutor.”

              j.     People v. Elder, 207 A.D.2d 498 (2d Dep’t 1994), reversing a conviction
                     in part based on QDAO summation misconduct and reliance on unduly
                     prejudicial evidence.

       330.   Despite the serial misconduct that the Survey revealed, the City has admitted that

 the QDAO:

              a.     Failed to change any QDAO policy;



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              b.     Failed to change any QDAO practice;

              c.     Failed to change any QDAO procedure;

              d.     Failed to discipline any QDAO prosecutor;

              e.     Failed to change its disciplinary process for QDAO prosecutors (in fact,
                     there was no process);

              f.     Failed to identify which prosecutors committed the misconduct in the
                     Survey;

              g.     Failed to incorporate prosecutorial misconduct, including but not limited
                     to court findings of prosecutorial misconduct, into employment
                     evaluations of QDAO prosecutors;

              h.     Failed to make any changes to the way prosecutors were evaluated;

              i.     Failed to make any changes to the way prosecutors were supervised;

              j.     Failed to create additional oversight by upper-level executives in the
                     office;

              k.     Failed to change any hiring practices for QDAO prosecutors;

              l.     Failed even to inform trial QDAO prosecutors about the results of the
                     Survey;

              m.     Failed to inform appellate QDAO prosecutors about the results of the
                     Survey;

              n.     Failed to have any office-wide meeting to discuss the Survey or response
                     to the Survey;

              o.     Failed to track QDAO prosecutorial misconduct post-Survey;

              p.     Failed to analyze QDAO prosecutorial misconduct, by type, by
                     prosecutor, or by any other method; and

              q.     Failed to do any follow-up prosecutorial misconduct survey.

       331.   For his part, DA Brown took no action at all in response to the Survey.




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        332.    Chief Assistant District Attorney Barry Schwartz was Brown’s number two in the

 QDAO, and was delegated responsibility, inter alia, for discipline, promotions, and other

 supervision and personnel matters.

        333.    Schwartz has no memory of the Survey or of almost any case cited in the Survey.

        334.    Schwartz has stated in sworn deposition testimony that he has no memory of the

 QDAO “taking any kind of action in response” to the Survey.

        335.    The QDAO’s leadership in 1996 included Brown, Schwartz, and Chief of Appeals

 Steven Chananie. John Ryan replaced Schwartz as Chief Assistant in 1997 and remained in that

 role through Bell’s conviction in 2002.

        336.    All of them failed to take any of the above steps in response to the Survey.

        337.    Nothing in the Survey surprised or could have surprised the QDAO’s leadership.

        338.    From the beginning of his tenure in 1991, Brown routinely read appellate

 decisions in QDAO cases. Barry Schwartz also routinely read those cases, as did Chananie.

 Schwartz also read QDAO reversal memos that summarized the disposition and reasoning of

 those cases. Those cases formed the basis for the results of the Survey.

        339.    Throughout his tenure, from 1991 through the Bell trial and after, District

 Attorney Brown knew about prosecutorial misconduct by QDAO prosecutors.

        340.    Brown and Schwartz purportedly “expressed concern” to each other “about

 reversals that characterized the trial assistant engaging in what the courts like to call

 ‘prosecutorial misconduct.’”

        341.    Yet neither took any systemic action to address, prevent, or punish prosecutorial

 misconduct in the QDAO.




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          342.   As damning as the Survey was, it contained a woefully incomplete summary of

 QDAO prosecutorial misconduct in the early 1990s.

          343.   A number of prosecutors apparently failed to respond to the Survey, and the

 Survey missed recent misconduct of a number of prosecutors who had recently left the QDAO.

          344.   As a result, at least 19 decisions (almost all appellate cases) not reflected in the

 survey found additional prosecutorial misconduct by the QDAO between 1991 and 1995

 (“Additional Misconduct”).

          345.   The QDAO, including Brown and Schwartz, read and knew about these decisions,

 all of which were filed and available to the general public.

          346.   The Additional Misconduct cited in these decisions was wide ranging, including

 Brady and Rosario violations, improper cross-examination, violation of court orders, summation

 misconduct, improperly eliciting evidence at trial, and improperly coaching a People’s witness at

 trial.

          347.   Decisions reflecting Additional Misconduct include, but are not limited to:

                 a.     People v. Stevens, 174 A.D.2d 640 (2d Dep’t 1991), reversing a conviction
                        in part based on the QDAO prosecutor’s statement in summation that “if
                        this defendant wasn’t charged with sodomy . . . he should have been,” in a
                        case where the defendant had not been indicted for sodomy and the
                        complainant had not testified that sodomy had occurred.

                 b.     People v. Gunther, 175 A.D.2d 262 (2d Dep’t 1991), reversing a
                        conviction where the QDAO prosecutor improperly attempted to show
                        defendant’s propensity to commit the charged crime of dealing cocaine by
                        extensively cross-examining him on past convictions for dealing
                        marijuana, in “a deliberate and calculated strategy to convict on the basis
                        of improper and prejudicial hyperbole.”

                 c.     People v. Gaskins, 171 A.D.2d 272 (2d Dep’t 1991), reversing a
                        conviction where the QDAO prosecutor failed to disclose the videotape of
                        an interview of the alleged child victim.

                 d.     People v. Parker, 178 A.D.2d 665 (2d Dep’t 1991), ordering a new trial
                        in part based on the QDAO prosecutor’s summation misconduct.

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             e.    People v. Curry, 153 Misc.2d 61 (Sup. Ct. Queens Cty. Jan. 16, 1992),
                   dismissing the indictment because the QDAO prosecutor failed to inform
                   the grand jury that the complainant had recanted his identification and
                   report of defendant’s involvement in the crime.

             f.    People v. Baba-Ali, 179 A.D.2d 725 (2d Dep’t 1992), reversing a rape
                   conviction where, despite a court order, the QDAO prosecutor failed until
                   the eve of trial to disclose medical records finding no signs of sexual
                   abuse.

             g.    People v. Nieves, 186 A.D.2d 276 (2d Dep’t 1992), reversing a conviction
                   where the QDAO prosecutor engaged in improper cross-examination and
                   summation.

             h.    People v. James, 184 A.D.2d 582 (2d Dep’t 1992), reversing a conviction
                   where the QDAO prosecutor represented that the People would not
                   introduce unfairly prejudicial evidence of defendant’s prior possession of
                   drugs, but then cross-examined a police officer extensively on that
                   evidence and emphasized it in summation.

             i.    People v. Andre, 185 A.D.2d 276 (2d Dep’t 1992), reversing a conviction
                   in part because of the QDAO prosecutor’s summation misconduct.

             j.    People v. Odle, 187 A.D.2d 536 (2d Dep’t 1992), ordering a new trial
                   where the QDAO prosecutor repeatedly and improperly elicited evidence
                   of uncharged crimes to show criminal propensity and bad character, and
                   committed summation misconduct.

             k.    People v. Banch, 80 N.Y.2d 610 (1992), reversing a conviction where the
                   QDAO prosecutor failed to disclose several pieces of potential
                   impeachment material, and noting “the People’s seeming lack of care in
                   discharging their discovery obligation.”

             l.    People v. Jenkins, Ind. No. 2213/1992, declaring a mistrial “based on
                   [QDAO] ADA Landa’s ‘prosecutorial misconduct’ in ‘hold[ing] back
                   exculpatory information as long as possible’ from defense counsel.”

             m.    People v. Robinson, 190 A.D.2d 697 (2d Dep’t 1993), setting aside the
                   verdict because the QDAO “prosecutor’s misconduct deprived
                   [defendant] of a fair trial,” including “prepp[ing]” an officer during a
                   recess to “rehabilitate him on his cross-examination,” and committing
                   summation misconduct.

             n.    People v. Robinson, 191 A.D.2d 595 (2d Dep’t 1993), ordering a new trial
                   where the QDAO prosecutor “engaged in a series of improper remarks
                   and tactics,” including eliciting testimony about defendant’s post-arrest

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                        silence, committing summation misconduct, eliciting improper expert
                        testimony, and “derisive[ly]” commenting on the presumption of
                        innocence.

                o.      People v. Kirchner, 200 A.D.2d 766 (2d Dep’t 1994), reversing a
                        conviction where the QDAO failed to disclose potential impeachment
                        evidence.

                p.      People v. Shim, 218 A.D.2d 757 (2d Dep’t 1995), faulting the QDAO for
                        failing to disclose potential impeachment evidence.

        348.    The QDAO’s failure to include any of the Additional Misconduct in the Survey is

 further evidence of deliberate indifference to prosecutorial misconduct in the office.

        349.    In response to the Additional Misconduct, the QDAO:

                a.      Failed to change any QDAO policy;

                b.      Failed to change any QDAO practice;

                c.      Failed to change any QDAO procedure;

                d.      Failed to discipline any QDAO prosecutor; and

                e.      Failed to implement any new training.

        350.    After yet another reversal due to a finding of prosecutorial misconduct DA Brown

 himself wrote a note to his Chief Assistant, Jack Ryan, stating: “Jack – Let’s discuss how to

 handle – I think we’ve been getting away with this kind of stuff for a long time.”

        351.    Notwithstanding rampant, wide-ranging prosecutorial misconduct in the QDAO,

 from at least June 1991 through January 1997 (Barry Schwartz’s tenure as Chief Assistant), and

 continuing the following five years through January 2002 (under his successor, John Ryan), and

 DA Brown’s acknowledgement that the office had been “getting away with this kind of stuff for

 a long time,” the QDAO still:

                a.      Failed to discipline a single QDAO prosecutor for prosecutorial
                        misconduct;



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                b.     Failed to create a handbook or manual setting forth rules and
                       procedures for prosecutors, including how to comply with their
                       constitutional obligations;

                c.     Per Schwartz’ sworn testimony, had “no procedure in place” for
                       “investigating prosecutorial misconduct of any type”;

                d.     Failed to note prosecutorial misconduct in an employment evaluation;

                e.     Failed to have any practice or procedure to note prosecutorial
                       misconduct in a personnel file;

                f.     Had no policy, practice, or procedure to use reversal memos as
                       part of employment evaluations;

                g.     Failed to create any practice, policy or procedure to ensure that
                       supervisors were aware of findings of prosecutorial impropriety;

                h.     Failed to create any practice, policy or procedure to make Schwartz,
                       Brown, or Ryan aware of misconduct by prosecutors before promoting
                       them or increasing their compensation;

                i.     Failed to include reversal memos, appellate decisions, or any document
                       that might reflect prosecutorial misconduct in the packets compiled before
                       Schwartz or Ryan recommended a promotion;

                j.     Failed to keep records of findings of misconduct by individual
                       prosecutor, by bureau, or by the Office as a whole;

                k.     Failed to conduct any review of QDAO prosecutorial misconduct
                       before June 1999; and

                l.     Failed to do any trend analysis of prosecutorial misconduct over time.

        352.    In addition to the approximately 58 cases of prosecutorial misconduct set forth

 above, in opinions dated 1996, 1997, and after, courts repeatedly assailed the QDAO for yet

 more prosecutorial misconduct that occurred before Bolt’s conviction, yet there was no adverse

 consequence to the prosecutors who were responsible and no change in office policy, practice or

 procedure to prevent still more such occurrences in the future.




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        353.    This misconduct included Rosario violations, Brady violations, suborning false

 testimony, and improper opening statements.

        354.     Instead of disciplining such prosecutors, the District Attorney’s policy, custom or

 practice was to give them raises, promotions, positive evaluations, and commendations, based in

 part on their record of winning at trial and their productivity in trying a lot of cases and

 extracting guilty pleas even in weak cases.

        355.    The Office used evaluation forms, approved by the District Attorney or his Chief

 Assistant, with which bureau chiefs and other supervisors rated prosecutors in numerous

 categories of performance, but which nowhere asked for comment on their respect for or

 compliance with the due process or fair trial rights of criminal defendants.

        356.     Every one of these evaluation forms were reviewed by John Ryan, the chief

 assistant to District Attorney Brown, and usually by Division chiefs, for purposes of determining

 raises, bonuses, and promotions.

        357.    The district attorney delegated to Ryan and division chiefs the task of reviewing

 evaluations and recommending raises, bonuses, and promotions and almost always approved

 their recommendations.

        358.    The evaluations were shown to the prosecutors who were evaluated in part for the

 purpose of communicating to them how successful they were being in implementing the goals of

 the Office and the types of behavior the Office approved of and wished to encourage.

        359.    The completed evaluation forms would not reference court findings of misconduct

 or complaints by criminal defendants or their attorneys, no matter how egregious the misconduct.




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        360.     Thus, the message to the prosecutors was that the Office only cared about how

 aggressive and successful they were in processing and winning cases, not whether, in doing so,

 they violated the constitutional rights of the individuals they were prosecuting.

        361.    The Office kept no records of negative court decisions or of complaints against

 individual prosecutors so that it could identify prosecutors who repeatedly were the subject of

 such decisions or complaints and who required greater training, supervision or discipline.

        362.    Thus, when a court found that a prosecutor had committed misconduct, it had no

 database or records from which to determine whether the same prosecutor had a history of

 engaging in similar or other misconduct.

        363.    The Office kept no record of, and did not investigate, the failure of bureau chiefs

 and other supervisors to properly supervise staff attorneys to ensure that they complied with the

 due process and fair trial rights of criminal defendants.

        364.    Although supervisors were supposed to monitor members of their bureau closely

 enough to ensure that constitutional violations did not occur, executives in the office would not

 follow up with supervisors to find out why Brady violations, summation, or other misconduct

 found by a court had been allowed or able to occur.

        365.    Prosecutors were incentivized to violate the constitutional rights of criminal

 defendants, since they knew they were likely to be rewarded for winning but would suffer no

 negative consequence in the unlikely event their misconduct was exposed.

        366.    Some examples illustrate how the QDAO created an office culture where

 prosecutorial misconduct was ignored, condoned, and rewarded.




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 Prosecutor A5

            367.    In 1990, QDAO prosecutor A. prosecuted Robin Tellier. A. (i) failed to disclose

 Rosario material; (ii) failed to disclose Giglio material; (iii) misrepresented to defense counsel

 that all Brady and Rosario material had been disclosed; (iv) misrepresented to the court whether

 federal prosecutors who had debriefed a People’s witness were observing the trial; and (v)

 allowed a People’s witness to claim a loss of memory concerning prior crimes, when information

 concerning those crimes was contained in the debriefing notes A. had failed to disclose.

            368.    The Grievance Committee for the Ninth Judicial District later admonished A. for

 concealing the notes, for a “misrepresentation” to the court, and for engaging in “conduct

 involving dishonesty, fraud, deceit or misrepresentation.”

            369.    On October 1, 1991, the QDAO nevertheless gave A. an “Excellent” evaluation,

 noting: “This Assistant likes to win and fights towards that end.”

            370.    On May 1, 1992, the QDAO gave A. a “Very Good” evaluation, stating that A. “is

 a true warrior in that he never backs down or is intimidated.”

            371.    Neither evaluation mentioned the Tellier case, or A.’s unethical and illegal

 conduct in that case.

            372.    On March 29, 1993, the Second Department found in People v. Kane that A.

 improperly in opening and closing arguments “impl[ied] the defendant’s guilt of an unrelated

 burglary.”

            373.    On September 1, 1993, the QDAO’s Dan Saunders gave A. an “Outstanding”

 evaluation, noting that A. “acquitted himself well with every assignment he’s undertaken” and

 that “[h]is judgment, temperament and advocacy skills are all outstanding.” (Emphasis added.)

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     Prosecutors here are identified by the first initial of their last name.


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 Saunders was then the Chief of Homicide Trials at the QDAO.

        374.    Saunders’ 1993 evaluation failed to mention the Tellier or the Kane cases, or A.’s

 improper conduct in both.

        375.    On February 2, 1995, the Queens Supreme Court granted a motion to vacate a

 conviction in People v. Moustakis, a decision later affirmed by the Second Department. A.

 prosecuted that case. The courts found that A. “fail[ed] to turn over 16 pages of notes of detailed

 admissions by a prosecution witness concerning his prior criminal history,” details of which the

 witness “forgot” on the stand.

        376.    On August 28, 1995, a few months after the first Moustakis decision, Schwartz

 announced to “the Entire Staff” A.’s promotion to Deputy Bureau Chief of the Supreme Court

 Long Island City Bureau. There, A. supervised 10-11 prosecutors.

        377.    Per his regular practice at the QDAO, Schwartz promoted A. “in consultation with

 the district attorney,” Mr. Brown.

        378.    About two weeks later, on September 15, 1995, in a decision following a March

 31, 1995 argument, the Second Department reversed the conviction in People v. Spinelli. A.

 prosecuted Spinelli. The Court found that A. improperly cross-examined an officer about the

 defendant’s pretrial silence, engaged in summation misconduct, and held that “the prosecutor’s

 conduct was fundamentally unfair.”

        379.    This decision also had no effect on A.’s promotion or, on information and belief,

 A.’s career at the QDAO.

 Prosecutor B

        380.    On December 13, 1993, Brown promoted QDAO prosecutor B. to Deputy Chief

 of the Supreme Court Kew Gardens Bureau.



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        381.    On August 22, 1994, the Second Department reversed the conviction in People v.

 Elder. B. prosecuted Elder. The Court found that B. engaged in “flagrant” “instances of

 prosecutorial misconduct,” in particular, summation misconduct, which “substantially prejudiced

 defendant’s case.”

        382.    Notwithstanding B.’s flagrant misconduct, B. did not receive any discipline, any

 adverse consequence, or any new training.

        383.    To the contrary, on April 27, 1995, Schwartz announced to “the Entire Staff” B.’s

 promotion to Chief of the Intake Bureau.

        384.    There, B. supervised intake for the entire QDAO.

 Prosecutor D

        385.    On September 26 1994, the Second Department held in People v. Fanfan that the

 QDAO “exceeded the bounds of a proper summation.” D. prosecuted Fanfan.

        386.    On May 15, 1995, the Second Department reversed the conviction in People v.

 Moss. D. prosecuted Moss. The Court founds that D. (i) compared the defendant to Hannibal

 Lecter in the film Silence of the Lambs during cross-examination of the defendant; (ii) asked the

 jury in summation to “place themselves in the position of victims being threatened by the

 defendant”; (iii) disregarded the Court’s Sandoval ruling; and (iv) waved a knife during

 summation.

        387.    Surely a prosecutor like this would be fired, or at least disciplined, in any district

 attorney’s office that cared about prosecutorial misconduct.

        388.    Not the QDAO. On August 25, 1996, Schwartz announced to “the Entire Staff”

 D.’s promotion to Supervisor of the Training Bureau.




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         389.      There, fresh off comparing a defendant to Hannibal Lecter and waving a knife in

 front of the jury, D. taught prosecutors at the QDAO how to prepare and try cases.

 D. himself received no discipline or further training as a result of Fanfan or Moss.

 Prosecutor K

         390.      On June 10, 1991, the Second Department reversed the conviction in People v.

 Stevens. K. prosecuted Stevens. As noted supra, the Court found that K. improperly stated in

 summation that “if this defendant wasn’t charged with sodomy . . . he should have been,” in a

 case where the defendant had not been indicted for sodomy and the complainant had not testified

 that an act of sodomy had occurred.

         391.      In July 1991, Chief of Training Andrew Zwerling and Schwartz made K. a co-

 supervisor of the new QDAO Training Bureau. There, she trained prosecutors in all aspects of

 trial practice.

         392.      On August 31, 1992, the Second Department reversed the conviction in People v.

 Clausell. K. prosecuted Clausell. The Court found that K. (i) failed to produce Brady material;

 (ii) before opening statements, misrepresented to the trial court and to defense counsel that the

 Brady material did not exist; (iii) after an officer’s testimony, again misrepresented to the trial

 court that the Brady material did not exist; and (iv) again failed to produce the Brady material.

 The defense then subpoenaed the material from the police department and received it, nine days

 after the conviction.

         393.      After K.’s serial misconduct in Clausell, and notwithstanding that K. was a

 supervisor in the Training Bureau, the QDAO did not discipline her, give her any additional

 training, place a note in her evaluation or personnel file, or apparently take any other action.




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 To the contrary, the QDAO gave K. twelve salary increases, three bonuses, and in 1997

 promoted her, again, to become a Bureau Chief.

 Prosecutor L

        394.    On February 29, 1988, the Second Department reversed the conviction in People

 v. Romain. L. prosecuted Romain. The Court found that L. engaged in “gross distortion” in

 summation, “the magnitude of which was highly prejudicial.”

        395.    In May 1994, in the case of People v. Moore, L. questioned several witnesses

 about prohibited evidence (pending and other prior crimes), then compounded the misconduct by

 summing up on the prohibited evidence.

        396.    On May 15, 1996, a QDAO executive (John Ryan) wrote Chief of Appeals Steven

 Chananie, Schwartz, and Andrew Zwerling a memo that L. “did engage in misconduct,” which

 “we did not defend in our [appellate] brief.”

        397.    Ryan also wrote that the Second Department “once again, expressed their own

 concerns about the issue” of the QDAO’s “prosecutorial misconduct.” (Emphasis added.)

        398.    The memo also noted Brown’s “continuing concern about prosecutorial

 misconduct” in the QDAO.

        399.    Nevertheless, after this memo, the QDAO gave L. five salary increases, one

 bonus, and a promotion to Intake Supervisor.

        400.    QDAO prosecutors A., B., D., K., and L. are merely a few examples of QDAO

 prosecutors who violated the Constitution in the years leading to Bolt’s conviction and

 immediately following it, faced no adverse action, received no further training or supervision,

 and continued to thrive and progress in the office.




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        401.    While additional training and discipline for misconduct was virtually non-

 existent, ADA Testagrossa himself has testified at a deposition in another matter that prosecutors

 in the QDAO’s office at the time kept close tally of their trial win-loss records. He also stated he

 perceived that their victory percentage affected their promotions and compensation.

 In sum, policymakers at the QDAO’s office created a culture where winning mattered more than

 following the Constitution. They acted with deliberate indifference to constitutional violations

 generally, based on policy and practice, including those that injured Plaintiff, and failed to take

 any steps to protect against constitutional harms certain to occur without policies, practices, or

 procedures in place to prevent, address, or punish prosecutorial misconduct.6

        402.    To the contrary, the deliberate indifference and policies and practices of QDAO

 policymakers, including the District Attorney and his designees, created a culture of

 prosecutorial misconduct that they knew was highly likely to cause further violations and which,

 in fact, did so in numerous cases, including Plaintiff’s case.

        403.    These policies and practices which condoned and encouraged the suppression of

 Brady material in the name of securing a conviction, (and, at a minimum ensured there would be

 no repercussion for prosecutors who did so) were a proximate cause of the constitutional

 violations of ADAs Lasak, Testagrossa, Leventhal, Cantoni, Dorfman, Morse, and Fidel set forth

 supra, which caused the conviction of Plaintiff.

        404.    These prosecutors knew that the QDAO valued winning over following the

 Constitution (and all the more so when a police officer was killed and the Mayor was demanding

 swift punishment), and they were right, which caused the conviction of Plaintiff.


 6
  Accord Joel B. Rudin, The Supreme Court Assumes Errant Prosecutors Will Be Disciplined by Their
 Offices or the Bar: Three Case Studies That Prove That Assumption Wrong, 80 Fordham L. Rev. 537,
 559-566 (2011).


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        405.    The QDAO’s policy, practice, and procedure of allowing prosecutors to commit

 prosecutorial misconduct in dozens of cases, without consequence, made it foreseeable to the

 City that ADA Leventhal would commit misconduct in Bolt’s case, including withholding Brady

 material. These unlawful policies, practices, and customs of the City were a substantial factor in

 causing the violations of Bolt’s rights under the Constitution and laws of the United States and in

 causing his wrongful conviction, imprisonment and related damages.

        406.    Under the principles of municipal liability for federal civil rights violations, the

 District Attorney of Queens County (or his authorized delegates) has final managerial

 responsibility for instructing supervising and disciplining attorneys and other employees in his

 office regarding their conduct in the prosecution of criminal matters, including, but not limited

 to, their obligations not to coerce witnesses or manufacture false or unreliable “evidence,” not to

 abuse judicial process, to make timely disclosure of exculpatory evidence or Brady material to

 the defense, including post-trial, and to refrain from offering, and to correct, false, misleading, or

 prejudicial evidence, testimony, and argument during pretrial, trial, and post-trial proceedings.

        407.    DA Brown who was the highest-ranking New York City official with

 responsibility for setting and enforcing policy with respect to managing his office’s personnel

 and the functions of the office, had final policymaking authority in all such areas.

        408.    DA Brown personally and/or through his authorized delegates, at all relevant

 times had final authority to promulgate and implement administrative and managerial policies

 and procedures, including policies and procedures as to personnel hiring, training, supervision

 and discipline, with respect to his office’s performance of its duties.

        409.    DA Brown at all relevant times was an elected officer of Queens County, one of

 the constituent counties of the CITY, and the office was and is funded out of the CITY’s budget



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        410.     Furthermore, DA Brown, as the District Attorney, was and is designated a “local

 officer,” rather than a “state officer,” under the New York Public Officers Law (§ 2) and federal

 Monell jurisprudence, Bellamy v. City of New York, 914 F.3d 727 (2d Cir. 2019); and New

 York has provided by statute (N.Y. County Law§§ 53, 941) that the CITY's constituent counties

 (including Queens County), and hence the CITY itself, shall have liability for torts committed by

 County officers and employees, such as the District Attorney and his assistants.

        411.    DA Brown personally and/or through his authorized delegates, at all relevant

 times had final authority, and constituted a City policymaker for whom the City is liable, with

 respect to the above-mentioned areas.

        412.     During all times material to this Complaint, the CITY, through its policymakers,

 owed a duty to the public at large and to Bolt, which such policymakers knowingly and

 intentionally breached, or to which they were deliberately indifferent, to implement policies,

 procedures, customs and practices sufficient to prevent, deter, and avoid conduct by their

 subordinates violating the aforementioned constitutional rights of criminal suspects or defendants

 and of other members of the public.

        413.    ADAs Leventhal and Testagrossa , who prosecuted Bolt and his codefendants,

 acted in accordance with these QDAO practices, policies, and customs when they repeatedly,

 without fear of reprisal, withheld valuable Brady material (and, at times, failed to search and

 locate exculpatory materials) clearly indicating that someone else had, in fact, committed the

 murder for which they were seeking the death penalty against Bell (among other valuable

 exculpatory evidence), made multiple false statements in open court that no Brady material

 existed,




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        414.    By virtue of the foregoing, the CITY is liable for having substantially caused the

 foregoing violations of Bolt’s constitutional rights and his resultant injuries (¶ 185, above).

        415.    The foregoing violations of Bolt’s constitutional rights, and his resultant

 injuries, were directly, foreseeably, proximately, and substantially caused by conduct, chargeable

 to the City, amounting to deliberate indifference to the constitutional rights of persons, including

 Plaintiff, subject to prosecution by the QDAO, namely:

        a.      The institution and implementation by the District Attorney of plainly inadequate
                or unlawful policies, procedures, regulations, practices and/or customs
                concerning:

                i.      The duty not to use false, misleading or unreliable evidence, testimony,
                        statements or argument during criminal proceedings;

                ii.     The obligation to correct false, inaccurate, incomplete or misleading
                        evidence, testimony, statements and argument, whenever such misconduct
                        is discovered to have occurred;

                iii.    The obligation not to make false, prejudicial, or inflammatory summation
                        arguments;

                iv.     The continuing obligation to timely and fully disclose material, in the
                        possession, custody or control of the District Attorney’s Office or of the
                        police, that is favorable to the defense within the meaning of Brady v.
                        Maryland, 373 U.S. 83 (1963); Giglio v. United States, 450 U.S. 150
                        (1972), and their progeny; and

        b.      The District Attorney’s deliberate indifference to the need, and his failure, to
                adequately investigate, supervise, discipline, and/or rectify his employees’
                conduct with respect to such matters.

        416.    The aforesaid deliberate or de facto policies, procedures, regulations, practices

 and/or customs, including the failure to properly investigate, supervise, discipline, and/or rectify

 employees’ conduct with regard thereto, were implemented or tolerated by policymaking

 officials for Defendant City, including, but not limited to, the District Attorney of Queens

 County and his delegates, who knew:



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                a.      To a moral certainty that such policies, procedures, regulations, practices
                        and/or customs concern issues that regularly arise in the investigation and
                        prosecution of criminal cases;

                b.      That such issues present employees with difficult choices of the sort that
                        instruction, training, supervision, and discipline will make less difficult or
                        will incentivize correct choices;

                c.      That the wrong choice by municipal employees concerning such issues
                        will frequently cause the deprivation of the constitutional rights of an
                        accused and cause him constitutional injury; and

                d.      That employees of the QDAO had a history of making wrong choices in
                        such matters.

        417.    The aforementioned policymaking officials had the knowledge and the notice

 alleged in the preceding paragraph, based upon:

                a.      Numerous credible allegations, many substantiated by judicial decisions
                        as demonstrated above, that Queens County ADAs had:

                        i.      Participated in the manufacturing of false testimony or evidence,
                                including identification evidence;

                        ii.     Presented or failed to correct false or misleading testimony and
                                argument;

                        iii.    Failed to disclose at all, or on a timely basis, information favorable
                                to the defense that was required to be disclosed by the
                                Constitutions and the laws of the United States and of the State of
                                New York;

                        iv.     Made arguments at trial that were so false, misleading,
                                inflammatory, or otherwise improper that they deprived the
                                defendant of due process and a fair trial; and

                b.      The inherent obviousness of the need to train, supervise and discipline
                        ADAs in their aforementioned constitutional obligations to counteract the
                        pressure that the Queens County District Attorney applied to prosecutors
                        to obtain convictions.

        418.    By virtue of the foregoing, the CITY is liable for having substantially caused the

 foregoing violations of Bolt’s constitutional rights and his resultant injuries (¶185, above).



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                                FIFTH CAUSE OF ACTION
     (Monell/42 U.S.C. § 1983: Claim Against the CITY based on the conduct of the NYPD)

        419.    Bolt realleges the allegations in the above paragraphs of this Complaint, and

 incorporates them here and in all following paragraphs.

        420.    The foregoing violations of Bolt’s federal constitutional rights and injuries were

 further directly, foreseeably, proximately, and substantially caused by conduct, chargeable to the

 CITY amounting to deliberate indifference to the constitutional rights of persons, including Bolt,

 who are investigated, arrested, or prosecuted for alleged criminal activities.

        421.    Prior to Bolt’s arrest, policymaking officials at the NYPD, with deliberate

 indifference to the constitutional rights of individuals suspected or accused of criminal activity,

 to the risk of arresting, prosecuting and convicting innocent people, and to the rights of all

 criminal suspects and defendants to due process and a fair trial, implemented plainly inadequate

 policies, procedures, regulations, practices, customs, training, supervision, and discipline

 concerning:

                (a)     The use of excessive promises of rewards and unduly coercive
                        interrogation techniques with vulnerable potential witnesses, including
                        drug users and addicts, and/or individuals fearing prosecution and
                        imprisonment for their own criminal behavior;

                (b)     The determination of probable cause to make an arrest; and

                (c)     The continuing duty of police investigators to preserve and to make timely
                        disclosure to the District Attorney, during criminal investigations and
                        prosecutions, of all material evidence or information (Brady material)
                        favorable to a person suspected, accused or convicted of criminal conduct,
                        including, but not limited to, evidence of innocence, evidence that an
                        identifying or prosecution witness is unreliable or lacks general credibility,
                        evidence that a prosecution witness has made inconsistent statements
                        about material facts, and evidence that a prosecution witness has a motive,


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                        bias or interest affecting his credibility or has been pressured or coerced,
                        so that the District Attorney could comply with his constitutional
                        obligation to disclose such information to the defense under Brady.

        422.    With respect to “a” and “c” in the preceding paragraph, prior to Bolt’s 1996 arrest

 and later prosecution, the NYPD provided no training at all.7

        423.    The aforesaid deliberate or de facto policies, procedures, regulations, practices

 and/or customs (including the failure to properly instruct, train, supervise and/or discipline

 employees with regard thereto) were implemented or tolerated by policymaking officials for the

 CITY, including but not limited to, the New York City Police Commissioner, who knew (or

 should have known):

                (a)     To a moral certainty that such policies, procedures, regulations, practices
                        and/or customs concern issues that regularly arise in the investigation and
                        prosecution of criminal cases;

                (b)     That such issues either present police employees with difficult choices of
                        the sort that instruction, training and/or supervision will make less difficult
                        or that the need for further instruction, training, supervision and/or
                        discipline was demonstrated by a history of police employees mishandling
                        such situations as well as the incentives that police employees have to
                        make the wrong choice; and

                (c)     That the wrong choice by such employees concerning such issues will
                        frequently cause the deprivation of the constitutional rights of criminal
                        suspects or defendants and cause them constitutional injury.

        424.    The NYPD’s policy, custom and practice of approval and/or ratification of,

 toleration and/or acquiescence in, or deliberate indifference to violations of its constitutional

 obligations foreseeably encouraged such violations to continue and was a substantial cause of the

 violations of Bolt’s constitutional rights beginning with his false arrest and the initiation of a

 7
  Deposition testimony from present and former police detectives, including supervisors, during several
 civil rights lawsuits, including Zahrey v. City of New York, et al., 98 Civ. 4546 (DLP) (S.D.N.Y.),
 establishes, prior to and during the time period of Bolt’s 1996 arrest, the NYPD provided no training
 concerning appropriate interrogation of accomplice or informant witnesses and Brady compliance. Most
 such witnesses had no idea what "Brady" was and no clue about their obligation to comply with it.


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 criminal prosecution against him without probable cause and continuing throughout his criminal

 proceedings, trial and incarceration.

        425.    The aforementioned policymaking officials had the knowledge and the notice

 alleged in the preceding paragraph based upon, and the need to investigate and supervise officers

 by, among other circumstances:

        (a)     Credible allegations, many substantiated by judicial decisions, finding that NYPD
                officers had wrongfully withheld material evidence or knowingly given false or
                misleading testimony;

        (b)     Fifty civil lawsuits, from 1992 to 2000, some of which resulted in
                substantial civil settlements, credibly alleging that police had falsified,
                exaggerated, or withheld material evidence, or conducted searches or arrests
                without probable cause;

        (c)     Numerous decisions of the United States Supreme Court, the United States Court
                of Appeals for the Second Circuit, the New York Court of Appeals, and the New
                York Appellate Division, discussing the difficult issues that regularly arise under
                Brady as well as the probable cause requirement of the Fourth Amendment;

        (d)     Judicial decisions directly criticizing the NYPD for failing to train and supervise
                officers in their Brady obligations and for failing to adopt adequate Brady
                disclosure policies, see Carter v. Harrison, 612 F. Supp. 749 (E.D.N.Y. 1985)
                (McLaughlin, D.J., adopting the Report and Recommendation of then Magistrate
                Shira A. Scheindlin), and putting the NYPD on notice that the CITY could be
                held liable for its failure to adequately train police officers and investigators
                regarding their obligations to provide truthful testimony and to disclose evidence
                that favors criminal defendants under Brady, see Walker v. City of New York, 974
                F.2d 293 (2d Cir. 1992), and Carter v. Harrison, above;

        (e)     Formal reports of the New York City Comptroller's Office and the Bar
                Association of the City of New York criticizing the NYPD and the NYC Law
                Department for failing to follow up substantial civil settlements for police
                misconduct with disciplinary or other remedial action; and

        (f)     The inherent obviousness of the need to train, supervise and discipline police
                officers in such obligations to counteract the pressure on officers and the powerful
                incentives they have to close cases and to obtain arrests and convictions.

        426.     Evidence that the NYPD, in 1996-1999, had notice, and policies and customs of,

 deliberate indifference to police misconduct, including the coercion of false or misleading


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 statements, fabrication of evidence, and withholding information favorable to the defense, is

 evidenced by The Report of the Commission to Investigate Allegations of Police Corruption and

 the Anti-Corruption Procedures of the Police Department (“Mollen Commission”), dated July 7,

 1994.

         427.   The Mollen Commission report establishes that:

                In the face of th[e] problem of corruption, the Department allowed its systems for
                fighting corruption virtually to collapse. It has become more concerned about the
                bad publicity that corruption disclosures generate than devastating consequences
                of corruption itself. As a result, its corruption controls minimized, ignored and at
                times concealed corruption rather than root it out …. Thus, there is a strong
                institutional incentive to allow corruption efforts to fray and lose priority – which
                is exactly what this Commission uncovered. This reluctance manifested itself in
                every component of the Department’s corruption controls from command
                accountability and supervision, to investigations, police culture, training, and
                recruitment. For at least the past decade, the system designed to protect the
                Department from corruption minimized the likelihood of uncovering it.

                Mollen Commission Report, p. 2-3.

         428.   Other circumstances and government reports put the CITY on notice as well

 regarding the need to investigate, discipline, and supervise its police officers:

         (a)    In 1990, the Office of Special Prosecutor, which investigated charges of police
                corruption, was abolished.

         (b)    The Mollen Commission concluded police perjury and falsification of official
                records is probably the most common form of police corruption facing the
                criminal justice system:

                        “…Regardless of the motives behind police falsifications, what is
                        particularly troublesome about this practice is that it is widely tolerated by
                        corrupt and honest officers alike, as well as their supervisors. Corrupt and
                        honest officers told us that their supervisors knew or should have known
                        about falsified versions of searches and arrests and never questioned them,
                        …What breeds this tolerance is deep-rooted perception among many
                        officers of all ranks within the Department that nothing is really wrong
                        with compromising facts to fight crime in the real world. Simply put,
                        despite the devastating consequences of police falsifications, there is a
                        persistent belief among many officers that it is necessary and justified,
                        even if unlawful. As one dedicated officer put it, police officers often view


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                       falsification as, to use his words, “doing God’s work” – doing whatever it
                       takes to get a suspected criminal off the streets. This attitude is so
                       entrenched, especially in high-crime precincts, that when investigators
                       confronted one recently arrested officer with evidence of perjury, he asked
                       in disbelief, “What’s wrong with that? They’re guilty.”

                       Mollen Commission Report, p. 36, 40-41.

        429.    Furthermore, since at least 1984, well before the police framed Bolt in 1996, the

 CITY and the NYPD were on notice of the inadequacy of its training, supervision, and discipline

 policies, and that police officers joining the force were disproportionately involved in the same

 type of misconduct and abuse as Bolt’s case. See e.g. Mayor’s Advisory Committee on Police

 Management and Personnel Policy, Final Report, February 24, 1987.

        430.    The City policymakers were on notice in 1992-1993 of the lack of supervision

 and discipline of NYPD officers by virtue of:

        (a)     The City of New York Office of the Comptroller, in an unpublished report, found
                that the police often conduct inadequate investigations;

        (b)     Prior to July 1993, the Civilian Complaint Review Board (“CCRB”), which is
                responsible for receiving and investigating complaints of police misconduct made
                by citizens against members of the NYPD, operated as an agency of the NYPD
                rather than as an independent, unbiased entity;

        (c)     During the 1980s, the early 1990s, and a few years before murder investigation in
                Bolt’s case, the CCRB received numerous complaints of police misconduct,
                but failed to fully investigate many of them and substantiated the guilt of the
                accused police officer in a suspiciously minuscule number of cases;

        (d)     On average, in 1990-1992, the CCRB conducted complete investigations of only
                36 percent of the complaints received, closed 40 percent of the total cases without
                completing full investigations, and substantiated only 3.3 percent of the total
                complaints received;

        (e)     The CCRB has also failed to recommend disciplinary action in the vast majority
                of its cases;

        (f)     On average, in 1990-1992, the CCRB recommended disciplinary action in only
                7.5 percent of its disposed of cases;



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        (g)     Moreover, most of the complaints that are substantiated by the CCRB did not
                result in any kind of meaningful discipline. For instance, as of November 14,
                1991, of the 80 officers who faced departmental trials in 1991, 47 were cleared,
                and 34 were disciplined with penalties ranging from loss of vacation to a 90- day
                suspension;

        (h)     Damages have been awarded to victims of police misconduct in 300-400 cases
                annually since 1988, as a result of out-of-court settlements or judgments in civil
                actions. Meanwhile, on average, only about 107 complaints were substantiated
                annually by the CCRB in 1988-1992;

        (i)     The money paid out by the City in damages to alleged victims of police
                misconduct rose from approximately $7 million in 1988, to $13.5 million in 1992,
                to $24 million in 1994;

        (j)     More than $82 million was paid in damages to victims of police misconduct in
                1,352 cases between 1992 and 1995;

        (k)     In the vast majority of police misconduct cases that result in verdicts or
                substantial settlements for victims, the CITY imposed no discipline, either before
                or after resolution in court, almost never reopened an investigation previously
                conducted after such resolution, and sometimes promoted the abusive officer to a
                position of greater authority despite the judicial resolution; and

        (l)     Former New York City Police Commissioner Robert Daly wrote in 1991 that the
                “blue wall of solidarity with its macho mores and prejudices, its cover-ups and
                silence, is reinforced every day in every way.”8

        431.    The NYPD’s policy, custom and practice of approval and/or ratification of,

 toleration and/or acquiescence in, or deliberate indifference to violations of its constitutional

 obligations foreseeably encouraged such violations to continue and was a substantial cause of the

 violations of Bolt’s constitutional rights beginning with his false arrest and the initiation of a

 criminal prosecution against him without probable cause, and continuing throughout his criminal

 trial, conviction, and incarceration.



 8
  Accord Amended Civil Complaint in Negron v. City of New York, 18 CV 6645 (DG) (RLM) (S.D.N.Y.)
 (Doc. # 1) at ¶¶ 213-373, incorporated here by reference (detailing numerous additional instances of
 police misconduct which provided the NYPD with notice of its officers misconduct, and establish the
 NYPD’s policy of acquiescence and ratification).


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        432.     Under the principles of municipal liability for federal civil rights violations, the

 City’s Police Commissioner (or his authorized delegates), had final responsibility for training,

 instructing, supervising, and disciplining police personnel with respect to the investigation and

 prosecution of criminal matters, including constitutional requirements governing the

 interrogation of witnesses, the initiation of criminal prosecutions, the use of only truthful

 evidence, and the disclosure of Brady material.

        433.     The Police Commissioner, personally and/or through his authorized delegates, at

 all relevant times had final authority and constitutes a City policymaker for whom the City is

 liable, with respect to compliance by NYPD employees with the above-mentioned constitutional

 requirements.

        434.     During all times material to this Complaint, the Police Commissioner owed a duty

 to the public at large and to Bolt, which he knowingly and intentionally breached, or to which he

 was deliberately indifferent, to implement policies, procedures, customs, practices, training,

 supervision and discipline sufficient to prevent or deter conduct by his subordinates violating the

 aforementioned constitutional rights of criminal suspects.

        435.     The aforesaid policies, procedures, regulations, practices and/or customs of the

 City and the NYPD were collectively and individually a substantial factor in bringing about the

 aforesaid violations of Bolt’s rights under the Constitution and laws of the United States.

        436.     By virtue of the foregoing, the CITY is liable for Bolt’s damages (¶ 185).

                                  SIXTH CAUSE OF ACTION
                   (42 U.S.C. §1983 Civil Conspiracy; All Individual Defendants)

        437.     Plaintiff realleges the allegations in the above paragraphs of this Complaint, and

 incorporates them here and in all following paragraphs.




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         438.    Cardamone, Brooks, Pia, Sica, Heider, Bovino, Bubelnik, Nevins, Falciano, and

 Fezza,, along with non-City employees such as Bigweh, Gouse, and others, all explicitly and/or

 implicitly corruptly agreed to commit with each other and/or other unnamed conspirators, the

 wrongs detailed above, and to ultimately have Bolt falsely arrested, prosecuted, convicted, and to

 cover-up each others’ misconduct.

         439.    Each defendant then committed overt acts, as detailed above to accomplish the

 goal of the conspiracy, including, but not limited to (a) framing and falsely arresting and

 prosecuting Bolt of the murder, and (b) covering-up those actions and the Brady/Giglio material

 that undermined the case against Bolt.

         440.    By virtue of the foregoing, defendants conspired to deprive Bolt of his

 constitutional rights to:

                 (a)     Not to be arrested, indicted, prosecuted, detained,
                         convicted, or imprisoned based upon false, fabricated, manufactured,
                         misleading, or inherently unreliable “evidence,” including the statements
                         and testimony of witnesses who have been improperly influenced,
                         coerced, or manipulated to provide such statements and testimony, in
                         violation of the Due Process and Fair Trial Clauses of the Fifth, Sixth and
                         Fourteenth Amendments to the United States Constitution, Zahrey v.
                         Coffey, 221 F.3d 342, 349 (2d Cir. 2000) (recognizing “right not to be
                         deprived of liberty as a result of the fabrication of evidence by a
                         government officer acting in an investigating capacity”);

                 (b)     Not to be deprived of his liberty absent probable cause to believe he has
                         committed a crime, in violation of his rights under the Fourth and
                         Fourteenth Amendments to the United States Constitution; and

                 (c)     To timely disclosure of all material evidence favorable to the defense
                         pursuant to Brady v. Maryland, 373 U.S. 83 (1963), Giglio v. United
                         States, 405 U.S. 150 (1972), and their progeny, and the Due Process and
                         Fair Trial Clauses of the Fifth, Sixth, and Fourteenth Amendments to the
                         United States Constitution.




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        441.    Each of the above conspirators committed the foregoing violations of Bolt’s

 constitutional rights knowingly, intentionally, willfully, recklessly, and/or with deliberate

 indifference to them, or to the effect of such misconduct upon them.

        442.    By reason of the foregoing, those defendants are liable to Bolt pursuant to 42

 U.S.C. § 1983, for compensatory and punitive damages detailed in ¶ 185, above.

        443.    The City is liable for these wrongs by virtue of the NYPD’s deliberate

 indifference to, and failure to train, supervise, and discipline their employees regarding such

 conduct, despite the likelihood that the failure to do so would result in the injuries pled here.

                               SEVENTH CAUSE OF ACTION
                      (Malicious Prosecution Under New York Law; All Defendants)

        444.    Bolt realleges the allegations in the above paragraphs of this Complaint, and

 incorporates them here and in all following paragraphs.

        445.    By virtue of the foregoing, Cardamone, Brooks, Pia, Sica, Heider, Bovino,

 Bubelnik, Nevins, Falciano, and Fezza, acting in concert with each other and with additional

 persons for whose acts they are liable, initiated, continued, and/or caused the initiation or

 continuation of, criminal proceedings against Bolt.

        446.    The criminal proceedings terminated in Bolt’s favor.

        447.    There was no probable cause for the commencement or the continuation of the

 criminal proceedings.

        448.    The Defendants acted with actual malice.

        449.    The City is liable for these wrongs under the principle of respondeat superior, and

 for the damages set forth in ¶ 185, above.

                                  EIGHTH CAUSE OF ACTION
                    (Intentional Infliction of Emotional Distress Under New York Law;
                                      All Individual Defendants)


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         450.    Bolt realleges the allegations in the above paragraphs of this Complaint, and

 incorporates them here and in all following paragraphs.

         451.    Cardamone, Brooks, Pia, Sica, Heider, Bovino, Bubelnik, Nevins, Falciano, and

 Fezza, engaged in a continuous pattern of extreme and outrageous conduct directed at Bolt from

 December 24, 1996, until his release from prison on March 2021.

         452.    Those Individual Defendants engaged in that pattern of conduct with an intention

 to cause, or in reckless disregard of the substantial probability that it would cause, Bolt severe

 emotional distress.

         453.    Specifically, those defendants, individually, acting in concert with, conspiring

 with, and/or aiding and abetting one another and other persons for whose acts they are liable,

 coerced witnesses into making false statements to be used against Bolt, including statements

 from Bigweh, Bell, Johnson, and Ligon, coerced those individuals to adopt statements

 Defendants manufactured, created false official records to be used against Bolt, initiated or

 caused the initiation and continuation of false and unfounded criminal charges against Bolt while

 lacking probable cause to do so, suppressed Brady and Giglio material, and lied to prosecutors,

 courts, and the jury at Bolt’s trial.

         454.    As a result, Bolt suffered severe emotional distress and damages (¶ 185, above)

 that was proximately caused by the defendants’ conduct.

                                 NINTH CAUSE OF ACTION
           (Negligent Training and Supervision, and Discipline Under New York Law; The City)

         455.    Bolt realleges the allegations in the above paragraphs of this Complaint, and

 incorporates them here and in all following paragraphs.




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          456.   By virtue of the foregoing, the City is liable to Bolt because of its intentional,

 deliberately indifferent, careless, reckless, and/or negligent failure to adequately supervise, and

 discipline its agents, servants and/or employees employed by the QDAO and NYPD with regard

 to their aforementioned duties. As such, the City is liable for Bolt’s damages set forth in ¶ 185,

 above.

                               TENTH CAUSE OF ACTION
       (New York State Constitutional Due Process Claim Against The CITY Pursuant To
      Respondent Superior; Buari v. City of New York, 2021 WL 1198371 (S.D.N.Y. 2021)

          457.   Bolt realleges the allegations in the above paragraphs of this Complaint, and

 incorporates them here and in all following paragraphs.

          458.   Cardamone, Brooks, Pia, Sica, Heider, Bovino, Bubelnik, Nevins, Falciano, and

 Fezza, by virtue of their acts and omissions detailed above, violated Bolt’s rights under the Due

 Process and Equal Protection provisions of the New York State Constitution (a) to be free of

 unlawful arrest not based on probable cause, (b) to not have a government officer acting in an

 investigating capacity fabricate evidence against him, (c) to due process of law, (d) to a fair trial,

 (e) to not be convicted based on false or misleading evidence and argument, and suppression of

 Brady material, and (f) to not be incarcerated when actually innocent.

          459.   As a direct and proximate result of these defendants’ acts and omissions, Bolt was

 wrongfully arrested, prosecuted, convicted, and imprisoned for 24 years, and suffered other

 grievous and continuing injuries set forth in ¶ 185, above.

          460.   The City is liable under respondeat superior for the acts and omissions of

 Cardamone, Brooks, Pia, Sica, Heider, Bovino, Bubelnik, Nevins, Falciano, and Fezza,, within

 the scope of their employment, for Bolt’s damages (¶ 185, above).

          WHEREFORE, Bolt demands judgment against defendants as follows:



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             a.    For compensatory damages of not less than $75,000,000;

             b.    For punitive damages against the individual defendants of $100,000,000;

             c.    For reasonable attorneys’ fees together with costs under 42 U.S.C. § 1988;

             d.    For pre-judgment interest as allowed by law;




             e.    For such other and further relief as this Court may deem just and proper.

 DATED:      Yonkers, New York
             October 14, 2022



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                                                 ________________________________
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                           EXHIBIT A

  Judicial Findings Of Misconduct
   Involving Queens Prosecutors
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                                       EXHIBIT A

 1.    People v. Roopchand, 107 A.D.2d 35 (2d Dep’t 1985): Affirming conviction but
       unequivocally condemning trial prosecutor for making inflammatory summation
       argument intended to elicit sympathy for the complainant and arouse animosity
       against the defendant and warning the prosecutor that future infractions may lead
       to disciplinary action, and that the court expected the Queens County D.A. to issue
       an appropriate internal admonition.

 2.    People v. Jones, 108 A.D.2d 824 (2d Dep’t 1985): Reversing robbery conviction
       where, among other things, the prosecutor improperly elicited that the defendant
       had previously hit a woman with a bat, and then suggested on summation that the
       jury could never believe a man who had done this.

 3.    People v. Valdivia, 108 A.D.2d 885 (2d Dep’t 1985): Affirming conviction but
       “strongly condemn[ing]” prosecutor for improperly cross-examining alibi witness
       regarding his taking an affirmation instead of an oath and revisiting the matter in
       summation, and for characterizing defendant’s testimony as “an out and out series
       of lies.”

 4.    People v. Hooks, 110 A.D.2d 909 (2d Dep’t 1985): Reversing conviction for rape,
       robbery, and burglary where prosecutor cross-examined defendant on his prior
       conviction in such a way as to improperly create the inference that because
       defendant had previously committed a burglary, he had also committed the instant
       offenses.

 5.    People v. Brown, 111 A.D.2d 248 (2d Dep’t 1985): In reversing conviction on
       other grounds, reprimanding prosecutor for making comments during summation
       that characterized defendant as lying while characterizing the prosecution as “on
       the side of truth,” and implying that the jury should convict even if not convinced
       beyond a reasonable doubt, so long as it believed its verdict represented the
       “truth.”

 6.    People v. Torres, 111 A.D.2d 885 (2d Dep’t 1985): Reversing, in part, because
       prosecutor repeatedly cross-examined alibi witness on why the witness did not
       contact the police, improperly implying witness was obligated to come forward,
       and because prosecutor consistently implied during summation that defense had
       concocted alibi, and improperly suggested that the jury would be subject to
       derision if they acquitted defendant.

 7.    People v. Williams, 112 A.D.2d 177 (2d Dep’t 1985): In reversing, reprimanding
       trial prosecutor for intimating to jury during summation that they were required to
       find that the complainant had lied in order to acquit defendant, and improperly
       bolstering by injecting his integrity and the integrity of his office into the case.
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 8.    People v. Hines, 112 A.D.2d 316 (2d Dep’t 1985): Reversing in part because the
       prosecutor, during his summation, made inappropriate comments about the
       defendant, and emphasized the other “police procedures” which led to the
       selection of defendant as a suspect, clearly inviting the jury to infer that there was
       other evidence against defendant, of which they had not been told.

 9.    People v. La Rosa, 112 A.D.2d 954 (2d Dep’t 1985): Reversing conviction where
       the prosecutor, in summation, improperly vouched for his own case, denigrated the
       defense, misrepresented material facts, and misquoted testimony.

 10.   People v. Reyes, 119 A.D.2d 596 (2d Dep’t 1986): Affirming conviction but
       noting that prosecutor improperly told jury that “contrary to what the Defense
       Counsel would have you believe, a trial is not a search for reasonable doubt.
       Plainly simply a trial is a search for truth. Not supposed to be sitting here trying to
       pick reasonable doubt out from everything that goes on [sic].”

 11.   People v. Mercado, 120 A.D.2d 619, 502 N.Y.S.2d 87 (2d Dep’t 1986): Ordering
       new trial where, among other errors, court allowed prosecutor to admit photograph
       of defendant posing with handguns for no other purpose than to arouse jurors’
       emotions, and inflammatory nature of photographs was made worse when
       prosecutor, in summation, commented on jury having seen defendant in his “Al
       Capone get-up.”

 12.   People v. Pascullo, 120 A.D.2d 687 (2d Dep’t 1986): Reversing conviction in part
       because prosecutor suggested improper inferences of racial motivation and
       informed the jury that an acquittal would be a condonation of racism.

 13.   People v. Beaman, 122 A.D.2d 848 (2d Dep’t 1986): Reversing conviction
       because prosecutor called witness to stand knowing he would refuse to testify, and
       improperly commenting on this refusal during summation, thereby inviting jury to
       speculate that witness had been threatened and refused to testify out of fear.

 14.   People v. Ciervo, 123 A.D.2d 393 (2d Dep’t 1986): Reversing conviction in part
       because of prosecutor’s improper summation comments implying that a conviction
       was warranted based solely upon the defendant’s character, and repeated
       characterizations of the defense case as a “con.”

 15.   People v. Roudabush, 123 A.D.2d 649 (2d Dep’t 1986): Affirming conviction but
       “condemn[ing]” prosecutor’s misconduct during summation and noting that court
       made its position on this misconduct “quite clear” during oral argument.

 16.   People v. Anderson, 123 A.D.2d 770 (2d Dep’t 1986): Reversing conviction
       because prosecutor re-called witness (who had originally been a codefendant in
       the case) to the stand, even though prosecutor knew the witness was going to

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       invoke his privilege against self-incrimination, and improperly commented several
       times on this invocation of privilege during summation, thus inviting jury to draw
       an unwarranted inference against the defendant.

 17.   People v. Brown, 125 A.D.2d 321, 510 N.Y.S.2d 135 (2d Dep’t 1986): Reversing
       conviction because prosecutor improperly bolstered victim’s testimony by
       implying that the defendant’s stipulation that the victim had been raped and
       sodomized was a stipulation that the victim had told the truth, and by telling the
       jury something was “terribly wrong” with them if they did not believe the victim.

 18.   People v. Montalvo, 125 A.D.2d 338 (2d Dep’t 1986): Reversing conviction where
       prosecutor, in his summation, improperly commented upon the defendant’s failure
       to testify and to call witnesses on his own behalf.

 19.   People v. Napoli, 126 A.D.2d 674 (2d Dep’t 1987): Affirming conviction but
       noting that prosecutor “went beyond the four corners of the evidence” in
       summation.

 20.   People v. Faison, 126 A.D.2d 739 (2d Dep’t 1987): Ordering new trial where
       prosecutor improperly cross-examined accused (1) on his failure to disclose alibi
       to police after being given Miranda warnings, and (2) on his failure to produce
       records indicating that he was at work at time of robbery, which suggested that
       defendant bore burden of proving alibi defense.

 21.   People v. Memminger, 126 A.D.2d 752 (2d Dep’t 1987): Ordering new trial on
       various grounds and “admonish[ing]” prosecutor “to remain within the bounds of
       fair comment during summation and to refrain from inappropriate and
       inflammatory remarks.”

 22.   People v. Perez, 127 A.D.2d 707 (2d Dep’t 1987): Ordering new trial where,
       among other things, prosecutor improperly implied on cross-examination of
       accused that he was involved in previous criminal activity.

 23.   People v. Simms, 130 A.D.2d 525 (2d Dep’t 1987): Ordering new trial because of
       “numerous instances of prosecutorial misconduct which occurred throughout the
       course of the trial,” including prosecutor’s (1) eliciting of testimony that had been
       suppressed, (2) referring to that same evidence during summation, (3) repeatedly
       referring to facts not in evidence, (4) calling defendant’s summation a “fairy tale,”
       and (5) vouching for witnesses’ credibility.

 24.   People v. Scoon, 130 A.D.2d 597 (2d Dep’t 1987): Ordering new trial where
       prosecutor improperly (1) argued in summation that witness was not involved in
       crimes of dishonesty when he knew that the witness had a youthful-oﬀender
       adjudication for grand larceny, and (2) repeatedly commented on matters not in

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       evidence during summation.

 25.   People v. Torriente, 131 A.D.2d 793 (2d Dep’t 1987): Ordering new trial where
       prosecutor improperly (1) cross-examined shooting victim about drug use, (2)
       cross-examined defendant on whether he had entered country illegally, (3) called
       police oﬃcer to introduce irrelevant testimony about defendant’s place of
       residence, and (4) made prejudicial statements in summation about defense
       counsel’s summation and witnesses’ testimony.

 26.   People v. Romain, 137 A.D.2d 848 (2d Dep’t 1988): Ordering new trial in part
       based on prosecutor’s “gross distortion” in summation of defendant’s testimony,
       implying that he had admitted guilt when in fact he had not.

 27.   People v. Chin, 138 A.D.2d 389 (2d Dep’t 1988): Ordering new trial where
       prosecutor improperly made unwarranted inferences in summation that defendant
       accused of rape against young girl planned to commit similar oﬀenses with one of
       his character witnesses.

 28.   People v. Dunlap, 138 A.D.2d 393 (2d Dep’t 1988): Reversing conviction based
       on prosecutorial misconduct even though proof of defendants’ guilt was
       overwhelming, where prosecutor in summation diverted jury’s attention from
       witnesses’ inconsistencies with elaborate depiction of defendants as sharks
       hunting prey. See also People v. Williams, 162 A.D.2d 488 (2d Dep’t 1990)
       (reversing codefendant’s conviction on same ground).

 29.   People v. Stewart, 153 A.D.2d 706 (2d Dep’t 1989): Vacating conviction where
       the “trial was marked by the prosecutor’s eﬀorts, even over sustained objections,
       to characterize the defendant as an individual predisposed to commit the crime
       charged.”

 30.   People v. Langford, 153 A.D.2d 908 (2d Dep’t 1989): Ordering new trial where
       prosecutor suggested, with no evidence, that defendant’s alibi witness used drugs
       and was involved in charged robbery, and made several improper remarks in
       summation, including denigrating defense counsel and defense witnesses, and
       suggesting to the jury that, in order to acquit, they would have to ﬁnd that a
       witness had lied.

 31.   People v. Durham, 154 A.D.2d 615 (2d Dep’t 1989): Ordering new trial in part
       based on prosecutor’s misconduct in summation, which included vouching for
       prosecution witnesses and referring pejoratively to defendant.

 32.   People v. Gomez, 156 A.D.2d 462 (2d Dep’t 1989): New trial ordered where
       prosecutor (1) deﬁed court’s order limiting cross-examination of witness on
       pending criminal case, prompting court to accuse prosecutor of bad faith, (2)

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       cross-examined witness on his supposed communications with defendant, even
       though he knew the two were incarcerated and not free to converse, prompting
       court again to accuse prosecutor of bad faith, and (3) in summation, attempted to
       inﬂame the jury, vouched for witnesses’ credibility, denigrated the defense, and
       shifted the burden of proof.

 33.   People v. Pinkas, 156 A.D.2d 485 (2d Dep’t 1989): Ordering new trial where
       court ordered counsel not to commingle discrete allegations, but prosecutor
       “repeatedly sought to join the two incidents during her summation in spite of the
       direction by the Trial Judge to desist.”

 34.   People v. Rivera, 170 A.D.2d 544 (2d Dep’t 1991): Reversing rape conviction
       because the prosecutor failed to disclose police reports that were “in direct
       conﬂict” with the complainant’s rape allegation.

 35.   People v. Gaskins, 171 A.D.2d 272 (2d Dep’t 1991): Reversing conviction where
       the prosecutor failed to disclose the videotape of an interview of the alleged child
       victim.

 36.   People v. Stevens, 174 A.D.2d 640 (2d Dep’t 1991): Reversing conviction in part
       based on prosecutor’s statement in summation that “if this defendant wasn’t
       charged with sodomy . . . he should have been.”

 37.   People v. Delace, 174 A.D.2d 688 (2d Dep’t 1991): Reversing robbery conviction
       where the prosecutor failed to disclose witness statements.

 38.   People v. Gunther, 175 A.D.2d 262 (2d Dep’t 1991): Reversing conviction where
       prosecutor improperly attempted to show defendant’s propensity to commit the
       charged crime of dealing cocaine by extensively cross-examining him on past
       convictions for dealing marijuana.

 39.   People v. Wilkens, 177 A.D.2d 678 (2d Dep’t 1991): Reversing convictions where,
       despite court order that defendant’s use of aliases could be used only for
       identiﬁcation purposes, prosecutor cross-examined defendant on the same topic for
       impeachment purposes and then argued on summation that defendant was not to
       be believed because he “hides behind three names.”

 40.   People v. Parker, 178 A.D.2d 665 (2d Dep’t 1991): Ordering new trial in part
       based on prosecutor’s misconduct in summation, including improperly suggesting
       that defendant’s daughter’s unfazed demeanor on witness stand indicated that
       defendant had exposed her to drug dealing; trying to mislead the jury into ﬁnding
       defendant guilty by association; and announcing in open court that defendant’s
       daughter was wearing T-shirt that court had refused to admit in evidence.

 41.   People v. Baba-Ali, 179 A.D.2d 725 (2d Dep’t 1992): Reversing a rape conviction
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       involving a four-year-old child where, despite a court order, the prosecutor failed
       until the eve of trial to disclose medical records ﬁnding no signs of sexual abuse.

 42.   People v. Mack, 180 A.D.2d 824 (2d Dep’t 1992): Reversing conviction where
       prosecutor failed to turn over notes that could have been used to impeach witness.

 43.   People v. Figueroa, 181 A.D.2d 690 (2d Dep’t 1992): Ordering new trial where
       prosecutor’s summation “went well beyond the bounds of fair advocacy” by
       calling defendant’s alibi witness untruthful, by suggesting that defendant was
       selling drugs on the night of his arrest for a crime he was alleged to have
       committed on another day, and by suggesting that defendant’s alibi was concocted
       after the witness met with defense counsel.

 44.   People v. Clausell, 182 A.D.2d 132 (2d Dep’t 1992): Reversing a narcotics
       conviction where the prosecutor repeatedly denied the existence of a “buy report,”
       which turned out to include a description of the buyer wholly at odds with the
       description the arresting oﬃcer had said he received and matched to the defendant.

 45.   People v. James, 184 A.D.2d 582 (2d Dep’t 1992): Reversing conviction where
       prosecutor represented that People would not introduce unfairly prejudicial
       evidence of defendant’s prior possession of drugs but then cross-examined police
       oﬃcer extensively on that very evidence and emphasized it in summation.

 46.   People v. Andre, 185 A.D.2d 276 (2d Dep’t 1992): Reversing conviction where,
       among other things, prosecutor in summation improperly called People’s key
       witness a “brave young girl” and asked jury not “to let her down.”

 47.   People v. Campbell, 186 A.D.2d 212, 587 N.Y.S.2d 751 (2d Dep’t 1992):
       Reversing a robbery conviction because the prosecutor withheld hospital records
       which contained statements of the complainant contradicting her trial testimony.

 48.   People v. Nieves, 186 A.D.2d 276 (2d Dep’t 1992): Reversing conviction where
       prosecutor cross-examined accused on psychiatric history and then commented on
       the matter in summation even though there was no relevance whatsoever to the
       defendant’s psychiatric history or condition.

 49.   People v. Odle, 187 A.D.2d 536 (2d Dep’t 1992): New trial ordered where
       prosecutor repeatedly elicited evidence of uncharged crimes against accused in
       order to show his criminal propensity and bad character, attempted to paint him as
       guilty by association, and committed summation misconduct.

 50.   People v. Banch, 80 N.Y.2d 610 (1992): Reversing manslaughter conviction
       where the prosecutor “mistakenly” gave the defense the wrong police memo book,
       withheld prior aﬃdavits of a People’s witness, and falsely represented that a report
       by another People’s witness contained no information required to be disclosed.
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 51.   People v. Robinson, 191 A.D.2d 595 (2d Dep’t 1993): Ordering new trial where
       prosecutor “engaged in a series of improper remarks and tactics,” including
       eliciting testimony about defendant’s post-arrest silence and stressing the point in
       both his opening and summation; eliciting improper expert testimony and
       mischaracterizing the issue in summation; and, also in summation, referring to
       defense counsel’s summation as a “con job,” vouching for the complainant’s
       truthfulness, and “derisive[ly]” commenting on the presumption of innocence and
       defendant’s right to remain silence.

 52.   People v. Hill, 193 A.D.2d 619 (2d Dep’t 1993): Ordering new trial where
       prosecutor cross-examined defendant in a manner intended to improperly to show
       defendant’s criminal propensity and then focused on this line of argument in
       summation.

 53.   People v. Davis, 196 A.D.2d 597 (2d Dep’t 1993): Reversing a rape and robbery
       conviction where the prosecutor had refused to disclose the basis for the People’s
       expert’s conclusion that defendant’s DNA matched that found on the victim.

 54.   People v. Steadman/Blair, 82 N.Y.2d 1 (1993): Reversing a defendant’s
       manslaughter conviction where the District Attorney’s Oﬃce made a “determined
       eﬀort” to avoid its obligations to disclose exculpatory evidence and to correct false
       testimony, by employing a “scheme” under which a supervisor in the Oﬃce would
       make a cooperation agreement with a witness’s attorney, but not reveal the
       agreement to the prosecutors handling the defendant’s case at trial, and not correct
       the witness’s false testimony denying such an agreement. See also People v. Blair,
       186 A.D.2d 665 (2d Dep’t 1992) (noting that the scheme operated at “the
       executive level of the District Attorney’s Oﬃce”).

 55.   People v. Gaines, 199 A.D.2d 335 (2d Dep’t 1993): Reversing manslaughter
       conviction where the District Attorney’s Oﬃce employed the same scheme
       condemned in Steadman, i.e., withholding a cooperation agreement made between
       the trial assistants’ superior and the principal prosecution witness’s attorney.

 56.   People v. Torres, 199 A.D.2d 442 (2d Dep’t 1993): Ordering new trial based in
       part on prosecutor’s persisting in lines of cross-examination over sustained
       objections, including questioning a defense witness excessively about his drug use,
       questioning defendant about irrelevant matter of whether he thought drugs were a
       problem in schools, and accusing defendant of tailoring his testimony after hearing
       other witnesses testify.

 57.   People v. Fearnot, 200 A.D.2d 583 (2d Dep’t 1994): Reversing robbery
       conviction where the prosecutor withheld prior statements of the complainant
       describing the robbery, suggested, without evidentiary support, that the defendant
       was a prostitute, and tried to inﬂame the jury by citing the AIDS epidemic.

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 58.   People v. Kirchner, 200 A.D.2d 766 (2d Dep’t 1994): Reversing assault
       conviction where the prosecution failed to disclose witness statements.

 59.   People v. Baxley, 84 N.Y.2d 208 (1994): Remitting a CPL 440 motion challenging
       a murder conviction for a hearing to determine the truth and materiality of a
       witness’s aﬃdavit, which stated that before trial he had informed the prosecutor
       that he and a People’s witness had been induced by police to fabricate a jail-house
       confession, evidence the Court of Appeals deemed “crucial” to the People’s case.

 60.   People v. Elder, 207 A.D.2d 498 (2d Dep’t 1994): Reversing conviction in part
       based on prosecutor’s unspeciﬁed improper comments in summation regarding
       two defense witnesses and a prosecution witness.

 61.   People v. Giersz, 212 A.D.2d 805 (2d Dep’t 1995): Reversing conviction where
       prosecutor’s summation “exceeded the broad bounds of rhetorical comment
       permissible in closing arguments.”

 62.   People v. Spinelli, 214 A.D.2d 135 (2d Dep’t 1995): Reversing conviction where
       prosecutor failed to cross-examine defendant on his post-arrest silence then
       attacked the defendant’s credibility on that ground during summation, thus
       unfairly depriving defendant of chance to explain the silence.

 63.   People v. Moss, 215 A.D.2d 594 (2d Dep’t 1995): Reversing conviction in part
       based on prosecutor’s disregard of court’s Sandoval ruling when cross-examining
       defendant, repeated references to defendant as a violent person, cross-examination
       questions calculated to compare defendant to Hannibal Lecter in Silence of the
       Lambs, remarks inviting jurors to put themselves in the shoes of victims being
       threatened by defendant, and waiving of a knife in front of the jury during
       summation.

 64.   People v. Leuthner, 216 A.D.2d 327 (2d Dep’t 1995): Reversing conviction where
       prosecutor asked defendant whether the complainant was lying, asked defendant’s
       character witness about her personal knowledge of the facts underlying
       defendant’s past conviction, failed to establish a good-faith basis for questioning
       about a threat made by the defendant’s father, and failed to stay within the four
       corners of the evidence during summation.

 65.   People v. Scott, 217 A.D.2d 564 (2d Dep’t 1995): Ordering new trial based on
       “ﬂagrant” and “pervasive” summation misconduct, where prosecutor (1)
       repeatedly referred to defendant as convicted felon, in an attempt to get the jury to
       convict defendant based on criminal propensity, (2) denigrated defendant,
       including by suggesting that defendant thought jurors just “fell oﬀ the stupid
       truck,” and (3) attempted to shift the burden of proof.


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 66.   People v. James, 218 A.D.2d 709 (2d Dep’t 1995): Ordering new trial on other
       grounds but noting “some unacceptable practices engaged in by the prosecutor” —
       namely, the “repeatedly condemned tactic” of suggesting during cross-
       examination and summation that the complainant, in identifying the defendant,
       was either correct or lying, and excessive references to the defendant’s criminal
       record.

 67.   People v. Shim, 218 A.D.2d 757 (2d Dep’t 1995): New trial ordered where
       prosecutor failed to disclose police oﬃcer’s notes.

 68.   People v. Ferrara, 220 A.D.2d 612 (2d Dep’t 1995): Affirming conviction but
       noting that prosecutor “committed several instances of misconduct during the
       course of his summation” by commenting, without proper foundation, on a
       defense witness’s failure to provide the police with information; suggesting that
       defense counsel’s objections had deprived jury of hearing certain testimony; and
       telling the jury that it should take only 10 to 15 minutes to decide the case.

 69.   People v. Torres, 223 A.D.2d 741 (2d Dep’t 1996): Reversing conviction where
       prosecutor made personal attacks on defense counsel and argued that there was no
       evidence that defendant was somewhere other than the scene of the robbery, which
       improperly shifted the burden of proof to the accused.

 70.   People v. Brown, 224 A.D.2d 539 (2d Dep’t 1996): New trial ordered where
       prosecutor failed to disclose ﬁrearms report that contained substantially diﬀerent
       information than that given by People’s witness at trial, which prejudiced defense
       by depriving it of the opportunity “to cross-examine the [witness] and test his
       credibility.”

 71.   People v. Moustakis, 226 A.D.2d 401 (2d Dep’t 1996): Reversing conviction
       where the prosecutor presented a cooperating witness who “forgot” the details of
       his past crimes, but withheld 16 pages of interview notes detailing these crimes for
       the District Attorney’s Oﬃce.

 72.   People v. May, 228 A.D.2d 523 (2d Dep’t 1996): Reversing a murder conviction
       where the prosecutor failed to disclose a cooperation agreement with its star
       witness and failed to correct his false testimony that no such agreement existed.

 73.   People v. Croons, 231 A.D.2d 585 (2d Dep’t 1996): Reversing robbery conviction
       where the prosecution wrongfully withheld prior statements of a key witness, the
       complainant.

 74.   People v. Bonnen, 236 A.D.2d 479 (2d Dep’t 1997): Reversing conviction based
       in part on prosecutor’s failure to present evidence he had promised in opening that
       defendant had shot an additional victim, and then admitting at end of trial that he

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       had “no information” as to that victim’s whereabouts, prompting court to call
       prosecutor’s representation in his opening statement “disingenuous.”

 75.   People v. Ying, 236 A.D.2d 630 (2d Dep’t 1997): Reversing robbery conviction on
       other grounds, while condemning the prosecutor’s withholding of the terms of a
       cooperation agreement with a People’s witness.

 76.   People v. Brown, 241 A.D.2d 460, 663 N.Y.S.2d 975 (2d Dep’t 1997): Ordering
       new trial where People agreed that prosecution’s failure to disclose prior
       statements of arresting oﬃcer was prejudicial and mandated reversal.

 77.   People v. Lippolis, 246 A.D.2d 557 (2d Dep’t 1998): Ordering new trial where
       prosecutor in his opening statement, among other things, improperly called the
       defendant a “parasite” and told the jury that “citizens like [them]selves indicted
       this defendant”; during direct examination of the arresting oﬃcer, elicited that
       defendant had remained silent after his arrest; and during summation, again
       referred to defendant’s postarrest silence.

 78.   People v. Mackey, 249 A.D.2d 329 (2d Dep’t 1998): Reversing robbery conviction
       where the prosecutor “deliberately” set a trap for the defense at trial by
       withholding critical information required to be disclosed earlier.

 79.   People v. Walters, 251 A.D.2d 433 (2d Dep’t 1998): Ordering new trial where
       prosecutor repeatedly made inﬂammatory remarks designed to appeal to the jury’s
       sympathy, such as commenting that the victim “was probably going to be a
       brilliant artist”; shifted the burden of proof by noting that the defendant did not
       call additional witnesses; stated that “the only real evidence is the People’s
       evidence”; accused the defendant of tailoring his testimony after hearing the
       prosecution witnesses; described the defendant’s testimony as “continued lies on
       top of lies, on top of lies,” and “tales and lies, back and forth, back and forth”;
       gave his personal opinion on the truth and falsity of witnesses’ testimony; vouched
       for the victim’s credibility; and, “most egregious[ly],” insinuated that a gun
       recovered from defendant two weeks after the crime may have been used in the
       charged shooting, even though the prosecutor knew that a ballistics test had
       conclusively established otherwise.

 80.   People v. Anderson, 256 A.D.2d 413 (2d Dep’t 1998): Ordering new trial where
       prosecutor (1) brought out only inculpatory portion of statement at trial and,
       thanks to trial court error, succeeding in blocking defendant’s attempt to bring out
       exculpatory portion, and (2) compounded misconduct by telling jury in summation
       that accused had not made any exculpatory statement.

 81.   People v. Brown, 256 A.D.2d 414 (2d Dep’t 1998): Reversing conviction on
       evidentiary grounds but noting as independent ground for reversal the prosecutor’s

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       improper comment on defendant’s declining to testify, his misstatements of the
       evidence, and his references to matters not in evidence.

 82.   People v. Rivera, 259 A.D.2d 570, 684 N.Y.S.2d 896 (2d Dep’t 1999): Affirming
       conviction but “deplor[ing] the continuous failure of the Assistant District
       Attorney to follow the admonitions of the trial court regarding his improper
       summation comments.”

 83.   People v. Alfaro, 260 A.D.2d 495 (2d Dep’t 1999): Reversing conviction on
       evidentiary grounds and noting “clear impropriety” of prosecutor’s remarks in
       summation that the presumption of innocence was “gone” or “vanquished”; that
       while the court would instruct the jury that the defendant had “a lot of rights,” they
       should also consider the victim’s rights; and that the jury should infer the
       defendant’s guilt based on his having had a lawyer with him when he surrendered
       to police.

 84.   People v. Robinson, 260 A.D.2d 508 (2d Dep’t 1999): Ordering new trial based on
       prosecutor’s summation misconduct where prosecutor improperly vouched for
       complainant’s truthfulness, appealed to the jury’s sympathies and fears by
       describing the elderly complainant as a person who would be a “classic victim
       anywhere in this city,” accused the defense of manufacturing evidence and putting
       on perjurious witnesses who were “more full of crap than a Christmas turkey,”
       said he was “ticked oﬀ” that members of defendant’s family were in the courtroom
       when a defense witness testiﬁed, and ended by telling jury that “[t]he only way
       this defendant walks out of the courtroom is if you let him.”

 85.   People v. Lewis, 262 A.D.2d 584 (2d Dep’t 1999): Ordering new trial in part based
       on prosecutor improperly asking a witness whether defense counsel oﬀered him
       money or drugs in return for his testimony, and admonishing that such misconduct
       “is not to be repeated at any subsequent trial.”

 86.   People v. Washington, 278 A.D.2d 517 (2d Dep’t 2000): Reversing conviction on
       other grounds but noting impropriety of prosecutor’s arguments in summation that
       defendant’s testimony was “a lie” and “a pile of crock,” and was “fabricate[d]”
       after having had “the benefit of counsel,” and that the defense’s version of events
       was “patently absurd” and that the jury should not be “fooled” by it.

 87.   Farakesh v. Artuz, No 99-CV-3945 (JG), 2000 WL 1480896 (E.D.N.Y. Oct. 3,
       2000): Granting habeas petition because prosecutor impermissibly elicited
       extensive testimony from detectives about defendant’s post-arrest silence, and
       repeatedly used this testimony in summation as evidence of defendant’s guilty
       state of mind, and to impeach defendant.

 88.   People v. Smith, 288 A.D.2d 496 (2d Dep’t 2001): Ordering new trial where

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       prosecutor “repeatedly stated unqualiﬁed pronouncements of the defendant’s guilt,
       often inappropriately injecting her personal views,” such as the remark, “of course
       he did it. \is isn’t an issue of who did it”; vouched for witnesses’ credibility;
       appealed to the sympathy of the jury by commenting that the victim was
       “courageous” for going to the police and for “coming before you” and that the
       victim was “ill” but still came to court; referred to evidence as “uncontroverted,”
       which was a veiled (and improper) reference to defendant’s declining to testify;
       and implied that a witness who could not speak and therefore did not testify would
       have fully corroborated the complaining witness.

 89.   People v. Leavy, 290 A.D.2d 516 (2d Dep’t 2002): Prosecutor improperly
       withheld Brady material such as promises of leniency given to cooperating
       witness, but court upheld conviction because defense had meaningful opportunity
       to cross-examine witness about it.

 90.   People v. Ni, 293 A.D.2d 552 (2d Dep’t 2002): Reversing assault conviction
       where the prosecutor’s flagrantly improper comments during opening and closing
       statements shifted the burden of proof, inflamed the jury, and denigrated the
       defense.

 91.   Jenkins v. Artuz, 294 F.3d 284 (2d Cir. 2002): Aﬃrming grant of writ of habeas
       corpus where ﬁrst prosecutor caused a mistrial by withholding a crucial witness’s
       cooperation agreement until the day of his testimony, then second prosecutor, on
       retrial, allowed same witness to falsely deny the existence of the agreement,
       objected to the defense’s eﬀorts to bring it out, reinforced the witness’s false
       denial on redirect, and bolstered the false testimony in summation.

 92.   People v. Lauderdale, 295 A.D.2d 539 (2d Dep’t 2002): Ordering new trial based
       in part on prosecutor’s 31 references to defendant’s highly prejudicial nickname,
       “Homicide.”

 93.   People v. Bhupsingh, 297 A.D.2d 386 (2d Dep’t 2002): Reversing on other
       grounds, but noting that prosecutor’s misconduct could have served as additional
       basis for reversal, where prosecutor persistently questioned defendant about
       collateral matters in a manner intended to denigrate him, continually asked leading
       questions of prosecution witnesses, placed inadmissible hearsay before the jury,
       improperly elicited evidence of prior consistent statements made by the
       complainant, and made inflammatory comments in summation that denigrated the
       defense and appealed to the sympathy of the jury.

 94.   People v. Ramashwar, 299 A.D.2d 496 (2d Dep’t 2002): Reversing conviction
       because prosecutor put her own credibility at issue by seeking to impeach two
       defense witnesses with their inconsistent prior statements to her, and by
       commenting upon the inconsistencies in summation.

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  95.    People v. Jones, 305 A.D.2d 698 (2d Dep’t 2003): Reversing robbery conviction
         where the prosecutor deliberately elicited police testimony in a manner that
         created the unfair impression that the codefendant had implicated the defendant to
         police, and where the trial court erroneously precluded the defense from cross-
         examining the complainant, who was the sole eyewitness, regarding the length of
         time it took him to identify the defendant at a lineup.

  96.    People v. Jamal, 307 A.D.2d 267 (2d Dep’t 2003): Ordering new trial where
         prosecutor inappropriately told jury in summation that certain evidence was kept
         from them for “legal reasons”; argued that indictment was evidence of defendant’s
         guilt; repeatedly gave his personal opinion as to the truth of prosecution witnesses’
         testimony and as to defendant’s guilt; and shifted the burden of proof by referring
         to the People’s evidence as “undisputed” and “[u]ncontroverted,” while stating
         that defendant had “no explanation” and “no rational defense” and asking
         rhetorically, “[w]hat is the defense, ladies and gentlemen?”

  97.    People v. Milligan, 309 A.D.2d 950 (2d Dep’t 2003): Ordering new trial in part
         based on prosecutor’s improper vouching for witnesses’ credibility.

  98.    Su v. Filion, 335 F.3d 119 (2d Cir. 2003): Granting habeas corpus relief in a
         murder case where the prosecutor failed to disclose a crucial witness’s cooperation
         agreement, knowingly presented the witness’s perjured testimony denying the
         existence of such an agreement and lying about his criminal conduct, and
         improperly bolstered the witness’s false testimony on summation.

  99.    People v. Xomas, 8 A.D.3d 303 (2d Dep’t 2004): Conviction set aside by trial
         judge after verdict based on Brady violations, but verdict re-instated by Appellate
         Division because issue was not preserved.

  100.   Turner v. Schriver, 327 F.Supp.2d 174 (E.D.N.Y. 2004): Granting federal habeas
         corpus relief in a robbery case where the prosecutor failed to investigate and
         disclose the criminal record of the People’s only witness to the crime, elicited false
         testimony from the witness that he had no record, and gave false summation on the
         witness’ absence of a criminal record to bolster the witness’ credibility.

  101.   People v. Mitchell, 14 A.D.3d 579 (2d Dep’t 2005): Reversing conviction where
         prosecution withheld police reports, causing substantial prejudice to the defendant.

  102.   People v. Brown, 30 A.D.3d 609 (2d Dep’t 2006): Reversing conviction based on
         jury-instruction error, but citing as independent ground for reversal misconduct by
         the prosecutor during cross-examination and summation, including “presenting
         himself as an unsworn witness at trial, suggesting that the defense counsel did not

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         believe his own client, making public safety arguments, and implying that certain
         key evidence had been kept from the jury due to legal technicalities.”

  103.   People v. Knight, 18 Misc.3d 1129(A) (Sup. Ct. Queens Cty. 2007): Setting aside
         verdict after defense discovered that prosecutor failed to disclose signiﬁcant Brady
         material concerning one of the homicide victims and related to defendant’s
         legitimate self-defense claim.

  104.   People v. Bennett, 40 A.D.3d 653 (2d Dep’t 2007): Ordering new trial where
         prosecutor ambushed defense by representing that he would not call witness and
         that no Rosario existed, but then turning over Rosario material and calling
         witness, and capitalizing on these unfair tactics in summation.

  105.   People v. Frantz, 57 A.D.3d 692 (2d Dep’t 2008): Ordering 440 hearing in murder
         conviction where prosecutor failed to disclose prior inconsistent statements of
         cooperating witness, who was the only witness to testify that the defendant
         committed the crime, concerning such witness’s alleged observations of the
         defendant.

  106.   People v. Sayers, 64 A.D.3d 728 (2d Dep’t 2009): Ordering new trial in part based
         on prosecutor’s improper comments in opening and summation regarding
         evidence of defendant’s uncharged crimes.

  107.   People v. Spann, 82 A.D.3d 1013 (2d Dep’t 2011): Reversing conviction where
         prosecutor improperly commented on the defendant’s medical evidence, presented
         to explain his perspiration and rapid heartbeat during traﬃc stop, by referring to it
         as a “distraction,” a “smokescreen,” and “smoke and mirrors”; impermissibly
         shifted the burden of proof by telling jurors that if they did not ﬁnd the defendant’s
         testimony “reasonable,” they could not “form the basis of reasonable doubt”; and
         stated 14 times that police had recovered a handgun from under the passenger seat
         of the car, where defendant was sitting, although no evidence was presented at
         trial to support that claim.

  108.   People v. Anderson, 83 A.D.3d 854 (2d Dep’t 2011): Ordering new trial where
         prosecutor deﬁed court’s Sandoval ruling to ask “a series of irrelevant and
         prejudicial questions” concerning defendant’s prior narcotics conviction, and in
         summation vouched for witnesses’ credibility, denigrated the defense, and
         mischaracterized defendant’s testimony.

  109.   People v. Robinson, 34 Misc.3d 1217(A) (Crim. Ct. Queens Cty. 2011): Ordering
         a hearing where prosecutor’s delay in Brady disclosure was a “clear and
         unequivocal breach” of that prosecutor’s responsibility.

  110.   People v. Bedi, Ind. No. 4107/96 (Sup. Ct. Queens Cty. March 13, 2013) (Griﬃn,

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         A.J.S.C.): Setting aside murder conviction where prosecutor violated Brady by
         failing to disclose payments made to a key witness, and by failing to correct
         witness’s false testimony that he did not receive such beneﬁts.

  111.   People v. Joyner, 126 A.D.3d 1002 (2d Dep’t 2015): Reversing weapon
         possession conviction where prosecutor’s summation deprived defendant of a fair
         trial by accusing him, without evidence, of uncharged crimes, and making
         statements implying guilt by association.

  112.   People v. Singh, 128 A.D.3d 860 (2d Dep’t 2015): Reversing rape conviction
         where prosecutor, during summation, acted as an unsworn witness, improperly
         invited the jury to speculate as to certain matters, denigrated the defense while
         vouching for the complainant’s credibility, and shifted the burden of proof.

  113.   People v. Negron, 26 N.Y.3d 262 (2015): Setting aside attempted murder
         conviction where prosecutor failed to disclose evidence pointing to a third party as
         the alleged shooter and then successfully precluded a third-party culpability
         defense by arguing lack of such evidence.

  114.   People v. Cantoni, 140 A.D.3d 782 (2d Dep’t 2016): Reversing conviction where
         prosecutor repeatedly shifted the burden of proof to the defendant, told the jurors
         that they would have to ﬁnd the People’s witnesses had lied in order to believe the
         defense, vouched for the credibility of police witnesses, and denigrated the
         defense.

  115.   People v. Redd, 141 A.D.3d 546 (2d Dep’t 2016): Reversing conviction for
         “pervasive prosecutorial misconduct” where prosecutor, in opening and
         summation, misstated the evidence, vouched for the credibility of witnesses, called
         for speculation by the jury, made inﬂammatory statements, and improperly
         denigrated the defense.

  116.   People v. Brisco, 145 A.D.3d 1028 (2d Dep’t 2016): Reversing conviction because
         prosecutor, in summation, attacked defense counsel’s integrity, improperly
         referenced facts not in evidence, misstated critical witness testimony, and made
         inﬂammatory “safe streets” arguments.

  117.   People v. Davis, 147 A.D.3d 1077 (2d Dep’t 2017): Reversing conviction on other
         grounds but noting that prosecutor “made improper summation comments
         regarding the failure of the defendant to communicate certain information to the
         police at the time of his apprehension.”




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                           EXHIBIT B

   Joel B. Rudin, The Supreme Court
   Assumes Errant Prosecutors Will Be
    Disciplined by Their Offices or the
   Bar: Three Case Studies that Prove
  that Assumption Wrong, 80 Fordham
            L. Rev. 537 (2011)
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   The Supreme Court Assumes Errant Prosecutors
   Will Be Disciplined by Their Offices or the Bar:
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   Joel B. Rudin




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               THE SUPREME COURT ASSUMES ERRANT
             PROSECUTORS WILL BE DISCIPLINED BY THEIR
              OFFICES OR THE BAR: THREE CASE STUDIES
               THAT PROVE THAT ASSUMPTION WRONG
                                                   Joel B. Rudin*

                                                   INTRODUCTION
                Section 1983 1 creates a civil damages remedy against “every state
             official for the violation of any person’s federal constitutional or statutory
             rights.” 2 Under § 1983, citizens are empowered to act as “private attorneys
             general” to enforce the Constitution against individual governmental actors
             or municipalities.3 In Imbler v. Pachtman, 4 the Supreme Court limited the
             use of this remedy against public prosecutors, finding that, like judges, they
             are entitled to absolute immunity from liability under § 1983 for conduct
             “within the scope of [prosecutors’] duties in initiating and pursuing a
             criminal prosecution.” 5 Recognizing that its decision might “leave the
             genuinely wronged defendant without civil redress against a prosecutor
             whose malicious or dishonest action deprives him of liberty,” 6 the Court
             reasoned that “the immunity of prosecutors from liability . . . under § 1983
             does not leave the public powerless to deter misconduct or punish that
             which occurs” 7 because “a prosecutor stands perhaps unique, among
             officials whose acts could deprive persons of constitutional rights, in his
             amenability to professional discipline by an association of his peers.”8



             * Joel B. Rudin is a New York criminal defense and plaintiff’s civil rights attorney who has
             handled several of the leading cases in New York involving individual and municipal civil
             liability for Brady and other due process violations by prosecutors. He is the recipient of the
             New York State Association of Criminal Defense Lawyers’ 2011 Justice Thurgood S.
             Marshall Award as outstanding criminal defense practitioner. An associate in his law office,
             Terri S. Rosenblatt, provided invaluable assistance in the research and drafting of this article.
                  1. 42 U.S.C. § 1983 (2006).
                  2. Kalina v. Fletcher, 522 U.S. 118, 123 (1997).
                  3. See City of Canton v. Harris, 489 U.S. 378 (1989) (bringing claim against
             municipality alleging that police officer’s failure to provide plaintiff necessary medical
             attention while in police custody violated her constitutional rights); Monell v. Dep’t of Soc.
             Servs. of N.Y., 436 U.S. 658 (1978) (bringing suit against the City of New York and other
             governmental actors arguing that forced maternity leave violates constitutional rights).
                  4. 424 U.S. 409 (1976).
                  5. Id. at 410.
                  6. Id. at 427.
                  7. Id. at 428–29.
                  8. Id. at 429.

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                Imbler foreclosed a significant avenue for wronged criminal defendants
             to obtain redress, but it did not preclude all potential theories of civil
             liability against prosecutors and their offices under § 1983.
             Notwithstanding Imbler, a prosecutor may be sued for his or her conduct in
             an extra-judicial or “investigative” capacity. 9 Additionally, under Monell v.
             Department of Social Services of New York 10 and City of Canton v.
             Harris, 11 a municipality may be sued where the unlawful custom, policy, or
             practice of its prosecutor’s office causes constitutional injury to the
             plaintiff. 12 Such an “unlawful policy” may be proven by showing that a
             municipality is deliberately indifferent 13 to its constitutional obligations
             through its failure to train, supervise, or discipline its agents or
             employees. 14
                Both of these paths to prosecutorial accountability are under attack in the
             courts. With anecdotal evidence suggesting a recent upswing in multi-
             million dollar lawsuits filed against prosecutors’ offices,15 the Supreme
             Court recently has granted certiorari in a number of cases brought against
             prosecutors individually or against the municipalities that employ them. 16
             In its decision denying Monell liability in Connick v. Thompson17 on March
             29, 2011, the Court again relied on Imbler’s assumption that prosecutors
             will be deterred from committing misconduct due to their amenability to

                  9. See Burns v. Reed, 500 U.S. 478, 494–96 (1991) (holding that prosecutor is entitled
             only to “qualified immunity” for providing assistance to police that contributes to a
             misleading arrest warrant application intended to bring a suspect before the court for
             criminal proceedings); see also Kalina v. Fletcher, 522 U.S. 118, 129–31 (1997) (holding
             that only qualified immunity protects prosecutor who acted like a complainant in personally
             attesting to the truth of a fact necessary to obtain an arrest warrant); Buckley v. Fitzsimmons,
             509 U.S. 259, 269–70 (1993) (holding that only qualified immunity protects prosecutor who
             obtained a false expert opinion during a matter’s investigative stage for later use at a
             criminal trial).
                 10. 436 U.S. 658, 694 (1978).
                 11. 489 U.S. 378, 398 (1989).
                 12. See, e.g., Walker v. City of New York, 974 F.2d 293, 300 (2d Cir. 1992).
                 13. Id.
                 14. Id.; see also Ramos v. City of New York, 729 N.Y.S.2d 678, 695–96 (App. Div.
             2001).
                 15. See, e.g., Anahad O’Connor, $18 Million to Man Wrongly Imprisoned, N.Y. TIMES,
             Oct. 20, 2010, at A22 (reporting on Newton v. City of New York, No. 07 Civ. 6211, 2010 WL
             4177383 (S.D.N.Y. Oct. 22, 2010); this verdict was subsequently vacated after trial); A. G.
             Sulzberger, City to Pay Record $9.9 Million over Man’s Imprisonment, N.Y. TIMES, June 4,
             2010, at A19 (reporting on Gibbs v. City of New York, 714 F. Supp. 2d 419 (E.D.N.Y.
             2010)); Bruce Golding, ‘Wrong Man’ $30 M. Suit, N.Y. POST (Feb. 23, 2011),
             http://www.nypost.com/p/news/local/manhattan/wrong_man_suit_JY7gsJ4EK1HyVSfYWC
             5V3J (reporting on Bermudez v. City of New York, No. 11 Civ. 750 (S.D.N.Y. filed Feb. 3,
             2011)).
                 16. See Connick v. Thompson, 131 S. Ct. 1350, 1360–63 (2011) (holding that municipal
             prosecutor’s office cannot be held liable under “failure to train” theory based on a “single
             incident” of a Brady violation); Van de Kamp v. Goldstein, 555 U.S. 335 (2009) (District
             Attorney has absolute immunity for policy concerning information-sharing with police);
             McGhee v. Pottawattamie Cnty., 547 F.3d 922 (8th Cir. 2008), cert. granted, 129 S. Ct. 2002
             (Apr. 20, 2009), dismissed, 130 S. Ct. 1047 (Jan. 4, 2010) (considering whether prosecutor is
             immune from liability for manufacturing evidence; this case settled before a decision was
             entered).
                 17. 131 S. Ct. 1350.
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             “professional discipline, including sanctions, suspension, and
             disbarment.” 18 This position has consistently been advocated by parties
             and their amici favoring the prosecutor’s side of the debate.19
                This Article challenges that assumption based on information uncovered
             through the very types of Monell and individual liability lawsuits that
             prosecutors and municipalities seek to curtail. A number of commentators
             and scholars already have found that, contrary to Imbler, the discipline of
             prosecutors rarely occurs.        They also have analyzed the existing
             mechanisms for internal and external prosecutorial oversight and found
             that, also contrary to Imbler, such mechanisms fail to provide an effective
             structure for prosecutorial accountability. The information in these articles
             generally is drawn from publicly available data, or from voluntary
             responses by prosecutors’ offices to surveys or interviews. This material is
             summarized below in Part I.
                However, the principal purpose of this Article is to present further
             evidence that prosecutors are rarely disciplined, and that prosecutors’
             offices lack effective policies or structures for accountability, based upon
             material that their offices have been compelled to disclose during the course
             of civil rights lawsuits brought by the author. These materials, presented
             below in the form of case studies, show that in at least three New York City
             District Attorneys’ Offices, Brady and related due process violations20
             committed by public prosecutors are tolerated by their respective offices,
             which almost never discipline or sanction offenders. Deposition testimony
             as well as documentary discovery revealed that these District Attorneys’
             Offices have no codes of conduct, 21 no formal disciplinary rules or


                 18. Connick, 131 S. Ct. at 1363.
                 19. See Petitioners’ Brief on the Merits at 13, 28, Connick v. Thompson, 131 S. Ct. 1350
             (2011) (No. 09-571); Amicus Curiae Brief of the National District Attorneys Ass’n in
             Support of Petitioners at 10–11, Connick v. Thompson, 131 S. Ct. 1350 (2011) (No. 09-571);
             Brief of the National Ass’n of Assistant United States Attorneys & National District
             Attorneys Ass’n as Amici Curiae in Support Of Petitioners at 8–17, Pottawattamie Cnty. v.
             McGhee, 129 S. Ct. 2002 (2009) (No. 08-1065); Brief of Petitioners at 36, Van de Kamp v.
             Goldstein, 555 U.S. 335 (2009) (No. 07-854).
                 20. Brady v. Maryland, 373 U.S. 83, 87–88 (1963) (holding that prosecutors have an
             absolute constitutional due process obligation to turn over to defense counsel material
             information favorable to the defense). The Brady rule includes material impeachment
             evidence. See Giglio v. United States, 405 U.S. 150, 153–54 (1972). Prosecutors also are
             obligated under the Due Process Clause to refrain from presenting false or misleading
             evidence, or making false or misleading arguments, to the jury. See United States v.
             Wallach, 935 F.2d 445, 456 (2d Cir. 1991).
                 21. As this Article went to press, the District Attorneys Association of the State of New
             York released a new ethics handbook. See DIST. ATTORNEYS ASS’N OF THE STATE OF N.Y.,
             “THE RIGHT THING”: ETHICAL GUIDELINES FOR PROSECUTORS (2011). This handbook
             contains strong, generally progressive statements about specific ethical obligations of
             prosecutors, including the obligation to disclose Brady material pursuant to constitutional
             and ethical rules. Id. It also includes a strong statement of potential consequences for
             prosecutors who act unethically, such as censure or written reprimand, termination,
             disbarment, and even criminal prosecution. Id. at 6–7. However, the booklet makes no
             reference to any obligation of District Attorneys to adopt any formal or regular disciplinary
             procedures, to actually impose such discipline, or to refrain from ratifying misbehavior by
             defending it in the courts. It remains to be seen whether the handbook’s exhortations will be
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             procedures, and no history of imposing sanctions or any other negative
             consequences on prosecutors who violate Brady or related due process rules
             intended to guarantee defendants the right to a fair trial. To the contrary,
             they regularly defend such conduct no matter how strong the evidence that a
             violation occurred. The evidence provided in these lawsuits shows that
             judicial disciplinary bodies virtually never punish prosecutors for violating
             ethics rules. 22
                Ironically, in one of the cases discussed below, a court’s disciplinary
             body suggested to a complainant that if he was not satisfied with the
             confidential “admonition” given to a prosecutor who had knowingly relied
             on false testimony to wrongfully imprison him, he could consult with
             counsel regarding “civil remedies.” 23 When official attorney disciplinary
             bodies propose civil lawsuits as an alternative to the ineffectual attorney
             grievance process, it is time to question the Supreme Court’s assumption
             that such “discipline” is an effective deterrent to prosecutorial misconduct.

                    I. COMMENTATOR AND COMMITTEE STUDIES OF PROFESSIONAL
                         ACCOUNTABILITY AND DISCIPLINE OF PROSECUTORS
                Commentators and research committees have responded to the Supreme
             Court’s assumptions about the susceptibility of prosecutors to professional
             discipline by studying whether, in fact, such discipline actually occurs. In
             reaching the consensus that “professional discipline of prosecutors is
             extremely rare,” 24 legal commentators and other researchers have, among
             other things, reviewed published decisions of state bar disciplinary
             authorities and conducted voluntary surveys of prosecutors’ offices. These
             published studies uniformly conclude that prosecutors are “rarely, if ever,”
             punished by professional disciplinary bodies, even when they engage in
             “egregious” misconduct. 25
                Richard A. Rosen, in 1987, surveyed all reported cases of attorney
             discipline in order to determine the proportion of those cases that involved
             the discipline of criminal prosecutors for violations of the Brady rule. 26 He
             also surveyed numerous state bar and prosecutorial oversight committees to

             contradicted, as in the past, by official toleration of flagrant or intentional violations of the
             acknowledged rules.
                22. See infra Part II.
                23. See infra note 223 and accompanying text.
                24. Bennett L. Gershman, Reflections on Brady v. Maryland, 47 S. TEX. L. REV. 685,
             722 (2006).
                25. Shelby A.D. Moore, Who Is Keeping the Gate? What Do We Do when Prosecutors
             Breach the Ethical Responsibilities They Have Sworn to Uphold?, 47 S. TEX. L. REV. 801,
             807 (2006); see also Angela J. Davis, The Legal Profession’s Failure to Discipline
             Unethical Prosecutors, 36 HOFSTRA L. REV. 275, 296 (2007) (terming the discipline received
             by the prosecutor in the “Duke lacrosse” case the “Mike Nifong exception” because the case
             represents a rare example of prosecutorial discipline); Ellen Yaroshefsky, Wrongful
             Convictions: It Is Time to Take Prosecution Discipline Seriously, 8 D.C. L. REV. 275, 276
             n.7 (2004) (citing BENNETT L. GERSHMAN, PROSECUTORIAL MISCONDUCT § 14.1 n.5 (2d ed.
             2002)).
                26. Richard A. Rosen, Disciplinary Sanctions Against Prosecutors for Brady Violations:
             A Paper Tiger, 65 N.C. L. REV. 693, 718–20 (1987).
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             find unpublished or otherwise unreported instances where such discipline
             was imposed. 27 He found only “nine cases . . . in which discipline was
             even considered,” 28 and only six where it was actually imposed. 29 Ten
             years later, Jeffrey Weeks updated Rosen’s study and found that, although
             there was no decrease in the amount of Brady violations committed, there
             were only seven additional instances where prosecutorial discipline was
             considered, and only four cases where it was actually imposed. 30
                In a similar study, Fred C. Zacharias reviewed every reported case of
             professional discipline for prosecutorial misconduct. 31 He found only
             twenty-seven instances 32 in which prosecutors were disciplined for
             unethical behavior occurring at or affecting the fairness of criminal trials,
             including, but not limited to, violations of the Brady rule. 33 Zacharias’s
             study compared this rate of discipline to that of all lawyers nationally and
             concluded that “prosecutors are disciplined rarely, both in the abstract and
             in comparison to private lawyers.” 34
                In connection with special investigative reports on the causes of wrongful
             convictions, committees of lawyers and other criminal justice professionals
             in New York and California examined whether prosecutors are disciplined
             by their own offices. The New York State Bar Association Task Force on
             Wrongful Convictions (Task Force) examined fifty-three cases of wrongful
             convictions that were overturned by “exoneration,” and conducted hearings
             at which both defense attorneys and prosecutors testified. 35 It concluded
             that thirty-one of the wrongful convictions were attributable to
             “governmental practices,” which were defined to include the use of false
             testimony, violation of Brady, improper evidence retention or transfer, and
             refusal to investigate alternative suspects to crimes. It reported that
             “research has not revealed any public disciplinary steps against
             prosecutors.” 36 The Task Force also surveyed District Attorneys’ Offices
             across New York State, twenty of which responded to a written
             questionnaire, to determine “whether sanctions [for prosecutorial
             misconduct] had ever been imposed,” and found that just one prosecutor

                 27. See id. at 720.
                 28. Id.; see also id. at 700–03 (collecting as an “example” more than fifty reported cases
             of prosecutorial misconduct related to Brady).
                 29. Id. at 720–31.
                 30. Joseph R. Weeks, No Wrong Without a Remedy: The Effective Enforcement of the
             Duty of Prosecutors to Disclose Exculpatory Evidence, 22 OKLA. CITY U. L. REV. 833, 881
             (1997).
                 31. Fred C. Zacharias, The Professional Discipline of Prosecutors, 79 N.C. L. REV. 721,
             743 (2001).
                 32. Id. at 751–54 tbls. VI & VII.
                 33. As opposed to “plainly illegal activity,” such as “bribery, extortion . . . and
             embezzlement,” or “allegedly abusive behavior towards tribunals, usually consisting of
             criticism of judges.” Id. at 744–47.
                 34. Id. at 755.
                 35. FINAL REPORT OF THE N.Y. STATE BAR ASS’N’S TASK FORCE ON WRONGFUL
             CONVICTIONS 19, 29–31 (2009), available at http://www.nysba.org/Content/
             NavigationMenu42/April42009HouseofDelegatesMeetingAgendaItems/FinalWrongfulConvi
             ctionsReport.pdf.
                 36. Id. at 5, 17.
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             had been referred to an outside disciplinary committee by these offices, and
             only one prosecutor had been sanctioned internally. 37 The Task Force also
             took and credited testimony from the author concerning his law firm’s
             findings as to internal discipline of prosecutors in New York City. 38 The
             Task Force concluded, “[T]here is little or no risk to the specific
             [prosecutor] involved resulting from a failure to follow the [Brady] rule.” 39
                Meanwhile, in California, the Commission on the Fair Administration of
             Justice (Justice Commission) made similar findings.              The Justice
             Commission analyzed 2,131 California cases where criminal defendants
             raised claims of prosecutorial misconduct in trials, appeals, or post-
             conviction litigation. 40 While courts had found prosecutorial misconduct in
             444 of these cases, the Justice Commission focused on fifty-four cases that
             resulted in the reversal of the conviction and which also, pursuant to a
             specific provision of California Law, should have been reported to the state
             bar association for disciplinary investigation. 41 The Commission could not
             find a single instance where any such referral was made. 42 The
             Commission concluded, “[O]ur reliance upon the State Bar as the primary
             disciplinary authority is seriously hampered by underreporting.”43
             Moreover, the Justice Commission cited no specific examples of internal
             discipline in those cases, or in any others. 44
                Finally, a study conducted by two journalists at the Chicago Tribune in
             1999 also investigated whether prosecutors’ offices disciplined their
             employees for prosecutorial misconduct. Their articles reported that out of
             381 nationwide reversals in homicide cases (sixty-seven of which carried
             death sentences) since 1963 (the year Brady was decided) for “using false
             evidence or concealing evidence suggesting innocence,”45 only “one
             [prosecutor] was fired, but [he] appealed and was reinstated with back
             pay,” 46 “another received an in-house suspension of 30 days,” and a “third
             prosecutor’s law license was suspended for 59 days, but because of other
             misconduct in the case.” 47 None were disbarred or received any public
             sanction. 48
                Scholars have noted that prosecutors’ offices generally lack sufficient
             internal mechanisms to oversee and discipline attorneys effectively. As part

                37. Id. at 30–31.
                38. Id. at 31; see also infra Part II.
                39. FINAL REPORT OF THE N.Y. STATE BAR ASS’N’S TASK FORCE ON WRONGFUL
             CONVICTIONS, supra note 35, at 29.
                40. CAL. COMM. ON THE FAIR ADMIN. OF JUSTICE, FINAL REPORT 71 (Gerald Uelmen ed.,
             2008), available at http://www.ccfaj.org/documents/CCFAJFinalReport.pdf.
                41. See id.
                42. See id.
                43. Id.
                44. See id. at 73–74.
                45. Maurice Possley & Ken Armstrong, Trial & Error: The Flip Side of a Fair Trial,
             CHI. TRIB., Jan. 11, 1999, at C1.
                46. Maurice Possley & Ken Armstrong, Trial & Error: The Verdict: Dishonor, CHI.
             TRIB., Jan. 10, 1999, at C1.
                47. Id.
                48. See id.
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             of a Symposium at Cardozo Law School studying prosecutorial compliance
             with Brady and other discovery obligations,49 several commentators
             identified design flaws in prosecutors’ offices related to this lack of
             oversight. 50 Elsewhere, commentators also have faulted prosecutors’
             offices for failing to implement the type of rigorous organizational
             oversight models used in administrative agencies 51 and corporations.52
             Rather than being uniquely amenable to professional discipline,
             prosecutors’ offices appear far less equipped than other large organizations,
             including police departments, to manage and discipline employees.
                The above research on prosecutorial discipline and internal supervisory
             policies, while contradicting the Imbler assumption about prosecutorial
             discipline, is limited by the lack of access to the internal records of
             prosecuting offices and to insider accounts of how such offices operate, as
             well as to the often secret disciplinary practices of judicial or bar grievance
             committees. The next section presents such previously unavailable
             information as it relates to three large District Attorneys’ Offices in New
             York: Bronx, Queens, and Kings (Brooklyn) Counties. New York City
             was compelled by court orders in several Monell-based lawsuits to provide
             document discovery and deposition testimony concerning these Offices’
             disciplinary procedures and practices. The information that has been
             disclosed further refutes the Supreme Court’s assumptions in Imbler.



                 49. See generally Symposium, New Perspectives on Brady and Other Disclosure
             Obligations: What Really Works, 31 CARDOZO L. REV. 1943 (2010).
                 50. See Rachel E. Barkow, Organizational Guidelines for the Prosecutor’s Office, 31
             CARDOZO L. REV. 2089, 2090–91 (2010) (explaining that prosecutors’ offices should take a
             more “compliance-based” approach to misconduct because “[t]he existing framework for
             addressing prosecutorial misconduct is entirely backward-looking, and ineffective”). See
             generally Voices from the Field: An Inter-Professional Approach to Managing Critical
             Information, 31 CARDOZO L. REV. 2037 (2010) (collecting reports from medical
             professionals, police department officials, corporate psychologists, and statisticians about
             alternative models for ensuring prosecutorial accountability); Barry Scheck, Professional
             and Conviction Integrity Programs: Why We Need Them, Why They Will Work, and Models
             for Creating Them, 31 CARDOZO L. REV. 2215, 2215–16 (2010) (proposing the creation of an
             external monitoring body to review dubious convictions).
                 51. Rachel E. Barkow, Institutional Design and the Policing of Prosecutors: Lessons
             from Administrative Law, 61 STAN. L. REV. 869, 869–70 (2009) (addressing “design flaws”
             in the operation of prosecutors’ offices, which contribute to “prosecutorial overreaching”).
             Barkow criticizes the vertical structure of prosecutors’ offices, in which the same prosecutor
             investigating a case also prosecutes it. Id. She recommends that prosecutors’ offices should
             follow the model of administrative agencies in separating officials handling investigations
             from those handling advocacy functions. Id.
                 52. Stephanos Bibas, Prosecutorial Regulation Versus Prosecutorial Accountability, 157
             U. PA. L. REV. 959, 961 (2009) (“The resulting dangers [of the lack of prosecutorial
             accountability] can be enormous.”). Bibas suggests that prosecutors’ offices would benefit
             from following a corporate model in five areas: office culture; managerial structure; internal
             policy-making; personnel actions, such as hiring, firing, promotion, and training; and the
             dissemination of information, performance evaluations, and incentives. Following a
             corporate structure would increase accountability of individual prosecutors, as well as of the
             local District or State Attorney. Bibas posits that a more formalized and predictable training
             and disciplinary model would tamp down prosecutors who “suffer from an excess of
             adversarial zeal and a notches-on-the-belt conviction mentality.” Id. at 1000–11.
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                II. CASE STUDIES: THE DISCIPLINARY POLICIES, PROCEDURES, AND
                HISTORY OF THREE NEW YORK CITY DISTRICT ATTORNEYS’ OFFICES

                                      A. The Bronx District Attorney’s Office
                Alberto Ramos was a criminal defendant who was unjustly convicted of
             rape in 1985, freed upon the discovery of Brady violations in 1992, and
             recovered a $5 million civil rights settlement in 2003. In furtherance of the
             civil rights suit, the author compelled the Bronx District Attorney’s Office
             to disclose personnel records for prosecutors involved in seventy-two cases
             in which courts had found improper behavior by prosecutors from 1975
             through 1996, and to submit to oral depositions about the Office’s
             “disciplinary” practices. In subsequent companion lawsuits, which are
             ongoing, brought on behalf of two former criminal co-defendants
             victimized by Brady violations during an attempted murder trial in 1998,
             the author and his co-counsel 53 have obtained additional records through
             2007, as well as the depositions of Robert T. Johnson, Bronx District
             Attorney since 1989, virtually all of his senior staff, and two line
             prosecutors. These discovery materials have revealed that this major urban
             prosecutor’s office, employing nearly 400 prosecutors and hundreds of
             support staff, 54 has no published code or rules of behavior for prosecutors,
             no schedule of potential sanctions for misbehavior or objective standards
             governing when such sanctions will be imposed, no written or formal
             procedure for investigating or disciplining prosecutors, and no procedure
             for keeping a record of prosecutors who have been cited for or are known to
             have engaged in improper behavior. Officials could identify just one
             prosecutor since 1975 who, according to the Office’s records, has been
             disciplined in any respect for misbehavior while prosecuting a criminal
             case. Officials claim that several prosecutors have been verbally chastised,
             or temporarily denied raises in compensation, but there is no apparent
             record of it.
                                               1. The Ramos Case

                                         a. The Criminal Prosecution
               Alberto Ramos was a twenty-one-year-old college student and part-time
             childcare worker when he was arrested on September 6, 1984, and charged
             with raping a five-year-old girl at a Bronx day care center. His arrest was
             the latest in a series of highly publicized day care center sexual abuse cases
             brought by then-District Attorney Mario Merola, a politically ambitious




                 53. Co-counsel is New York attorney Julia Kuan, who won the cases of each of the
             former criminal defendants who are now plaintiffs in the lawsuits.
                 54. Erin Einhorn & Jonathan Lemire, DAs Urge Council: Save Us!, N.Y. DAILY NEWS,
             June 4, 2010, at 18 (explaining that the Bronx D.A.’s office is under pressure to fire forty-
             five prosecutors).
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             prosecutor. 55 In May 1985, Ramos’s case became the first of the Merola
             prosecutions to come to trial. 56
                The prosecution’s case was based upon the child’s sworn testimony
             claiming that she had been raped in a classroom bathroom while the other
             children were napping. 57 For “corroboration,” the People relied on a
             doctor’s testimony that the child’s mere ability to describe sexual
             intercourse indicated that she had experienced it, as well as the doctor’s
             observation that the child had a vaginal irritation or rash. 58 In addition, the
             child’s grandmother testified that when she picked up the girl on the day in
             question, the child was upset.59 Other witnesses informed the jury that
             earlier that day, Ramos, exasperated by the children’s rowdiness and his
             inability to control them, had inappropriately placed tape on the upper lip of
             several children, including the complainant, to quiet them. 60 In her
             summation, the prosecutor forcefully argued that the child could not “make
             up” her claim of having sexual intercourse and that her vaginal “bruises”
             corroborated her testimony. 61
                Ramos was convicted. He screamed in agony, “Kill me.” 62 Several
             weeks later, the judge, expressing frustration that he could not sentence
             Ramos to life in prison, meted out the maximum sentence of eight and one-
             third to twenty-five years. 63 Ramos’s direct appeal and his post-judgment
             motion to vacate his conviction were denied. 64 Because he continued to
             deny his guilt, Ramos was likely to serve at least two-thirds, if not the
             entirety, of his maximum sentence. 65 Meanwhile, the everyday reality of
             his punishment was brutal: as a convicted child rapist, he was subjected to
             constant physical, sexual, and verbal abuse. 66
                Seven years into Ramos’s hellish incarceration, fate intervened. The
             alleged victim’s mother had brought a civil lawsuit against the New York
             City-funded day care center and against Ramos. The City’s private

                 55. See Frontline:         Innocence Lost:          Other Well-Known Cases, PBS,
             http://www.pbs.org/wgbh/pages/frontline/shows/innocence/etc/other.html (last visited Oct.
             20, 2011) (describing Merola’s prosecution of the “Bronx Five” day care center workers).
                 56. See Ramos v. City of New York, 729 N.Y.S.2d 678, 684 (App. Div. 2001).
                 57. STEPHEN GILLERS, IN THE PINK ROOM 2–3 (2006).
                 58. Id. at 3.
                 59. Id.
                 60. Id.
                 61. Id. at 3–4; see also Trial Transcript at 429, 431, People v. Ramos, No. 3280-84
             (N.Y. Sup. Ct. Bronx Co. May 9–20, 1985) (on file with author).
                 62. GILLERS, supra note 57, at 4.
                 63. See People v. Ramos, 614 N.Y.S.2d 977, 980 (App. Div. 1994).
                 64. People v. Ramos, 124 A.D.2d 1077 (N.Y. App. Div. 1986), appeal denied, 69
             N.Y.2d 832 (1987).
                 65. See, e.g., Daniel S. Medwed, The Innocent Prisoner’s Dilemma: Consequences of
             Failing to Admit Guilt at a Parole Hearing, 93 IOWA L. REV. 491, 522 (2008) (“[P]ractically
             all New York state inmates [know] that a failure to ‘admit’ guilt at [a parole] hearing would
             probably ring the death knell to [their] chances for parole.”); see also Edwards v. Goord, 362
             F. App’x 195, 198 (2d Cir. 2010) (challenging unsuccessfully New York State Department
             of Correctional Services’ denial of “good time” credit based on inmate’s refusal to admit
             guilt resulting in inmate having to serve his complete sentence).
                 66. See Amended Complaint at 12, Ramos v. City of New York, No. 21770-93 (N.Y.
             Sup. Ct. Bronx Co. filed Oct. 20, 1995) (on file with author).
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             insurance carrier, fearing a massive judgment, settled, but a defense
             investigator, believing Ramos to be innocent, obtained permission to share
             his investigative discoveries with Ramos and his mother.67 They, in turn,
             hired the author’s law firm. Based largely upon the investigator’s records,
             Ramos moved for a new trial, and an evidentiary hearing was held.68
                The court found in its decision that the trial prosecutor had assured
             defense counsel that she would obtain and disclose all relevant social
             service and day care center records, but had then failed to do so. 69 Before
             or during trial, Assistant District Attorney Diana Farrell did obtain
             numerous documents and interviewed teachers and administrators, but she
             did not disclose the following information that was in her actual or
             constructive possession 70:
                (1) The child initially denied repeatedly that anything had happened
             other than he “taped my mouth,” before finally accusing Ramos; 71
                (2) Prior to the alleged rape, the child had described watching sexually
             explicit programs on television, would use dolls to simulate sex during
             show and tell in school, was described by her teachers as “sexually wiser”
             than the other children and street smart, and would expose herself; 72
                (3) The child used to masturbate on a regular basis in school, 73 thereby
             explaining her vaginal irritation; and
                (4) As revealed by a sign-in, sign-out book, the child’s grandmother had
             not picked her up at all on the day in question; in fact, she had been picked
             up by her aunt. 74
                In vacating Ramos’s conviction, the court issued a scathing opinion
             crediting the defendant’s witnesses over the sometimes contrary testimony
             of the trial prosecutor. While declining to find that the prosecutor’s
             misconduct had been willful, the court termed it “cavalier and haphazard,”
             and continued: “The greatest crime in a civilized society is an unjust
             conviction. It is truly a scandal which reflects unfavorably on all
             participants in the criminal justice system.” 75 The court released Ramos on
             his own recognizance, pending retrial.
                The Bronx District Attorney appealed. In addition to attacking the
             evidentiary basis for the lower court’s factual findings, the Office’s brief,
             submitted in the name of the Bronx District Attorney Robert T. Johnson,
             contended that none of the undisclosed information consisted of Brady



                67. See Ramos, 614 N.Y.S.2d at 980.
                68. See id.
                69. See id. at 982.
                70. Decision and Order at 3, People v. Ramos, No. 3280-84 (N.Y. Sup. Ct. Bronx Co.
             dated June 1, 1992) (on file with author).
                71. Ramos, 614 N.Y.S.2d at 981.
                72. See id. at 980–81.
                73. See id.
                74. See id.
                75. See People v. Ramos, No. 3280-84, slip op. at 9, 1992 WL 12620540 (N.Y. Sup. Ct.
             Bronx Co. June 1, 1992), aff’d, 614 N.Y.S.2d 977.
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             material. 76 “By placing the dolls in close proximity she could have been
             simulating wrestling or some other activity,” the District Attorney argued.77
             What is more, the dolls were not “anatomically correct.” 78 The District
             Attorney speculated that the child had not really seen sexual acts on
             television because “[i]t is common knowledge that such movies do not
             contain hard-core pornographic footage” 79 The new information about
             masturbation was not material because the defense already had a document
             suggesting the child masturbated (although on the witness stand her teacher
             denied such knowledge). Finally, the District Attorney argued that the sign-
             in, sign-out log need not have been disclosed because it did not “touch upon
             defendant’s guilt or innocence.” 80 The Appellate Division affirmed the
             lower court’s ruling in an even more scathing opinion.81 The District
             Attorney’s Office then agreed that it lacked any “reasonable cause” to
             continue the prosecution, and dismissed all charges. 82

                                   b. The Attorney Grievance Process
                Shortly after the trial court issued its decision vacating Ramos’s
             conviction, Ramos’s prosecutor received notice from the Departmental
             Disciplinary Committee of the New York State Supreme Court, Appellate
             Division, First Judicial Department, of a secret sua sponte disciplinary
             inquiry. 83 The Departmental Disciplinary Committee is the New York
             State authority charged with the investigation and discipline of attorneys
             accused of professional misconduct.84 It may initiate an investigation of an
             attorney upon a complaint or “on its own initiative.” 85 Upon such
             investigation, it has the authority to impose sanctions on an attorney
             ranging from the most serious punishment of disbarment to a private letter
             of “admonition.” 86 Under the New York State Judiciary Law, the conduct
             of such an investigation—including its very existence—is confidential
             unless the Disciplinary Committee finds that the attorney should be publicly
             reprimanded. 87
                After learning of the Disciplinary Committee’s investigation, Ramos’s
             prosecutor sat down with Counsel to the District Attorney Anthony Girese,



                76. Appellant’s Brief at 29, People v. Ramos, No. 3280-84 (N.Y. App. Div. Sept. 7,
             1993) (on file with author).
                77. See id. at 30.
                78. Id.
                79. Id. at 31.
                80. Id. at 32.
                81. People v. Ramos, 614 N.Y.S.2d 977 (App. Div. 1994).
                82. Ramos v. City of New York, 729 N.Y.S.2d 678, 685 (App. Div. 2001).
                83. Id. at 668–69, 750–51.
                84. See Departmental Disciplinary Committee, N.Y. STATE SUPREME COURT APPELLATE
             DIV. FIRST DEP’T., http://www.courts.state.ny.us/courts/ad1/Committees&Programs/DDC/
             index.shtml (last visited Oct. 20, 2011).
                85. N.Y. COMP. CODES R. & REGS. tit. 22, § 605.6(a) (1994).
                86. Id. § 605.5(a).
                87. N.Y. JUDICIARY LAW § 90(10) (McKinney 2002).
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             and together they prepared a letter defending her conduct. 88 The letter
             stated that there was “no misconduct” on her part, and asked that any
             inquiry be deferred until the appeal was decided. 89 The prosecutor also
             wrote her own letters to the Disciplinary Committee defending her
             conduct. 90 She also gave confidential sworn testimony, which she refused
             during the lawsuit to consent to unseal. 91 The Committee dismissed the
             disciplinary action. 92 At no time did the Committee afford Ramos or his
             counsel notice of the prosecutor’s contentions or any opportunity to provide
             any materials or arguments concerning whether she had committed ethics
             violations.

                                              c. The Civil Lawsuit
                While the Ramos post-judgment hearing was underway, the Second
             Circuit decided Walker v. City of New York.93 Walker contained two
             principal legal holdings of relevance to Ramos. First, a District Attorney’s
             failure to adequately train or supervise his staff to comply with their
             obligations to disclose Brady material, and not to present false or perjured
             testimony,      could     give     rise     to Monell     liability    under
             § 1983. 94 The plaintiff would have to show that the District Attorney had
             been deliberately indifferent to an obvious need for greater training,
             supervision, or discipline, and that this policy of indifference was a
             substantial cause of the violation of the plaintiff’s federal constitutional
             rights. 95 Second, although a New York municipality is not subject to suit
             under § 1983 for a District Attorney’s “prosecutorial” decisions that he
             makes on behalf of the State, it may be sued for a District Attorney’s
             “managerial” or “administrative” functions that he performs as a
             policymaker on behalf of the City of New York, including constitutionally
             faulty training or supervision of his staff.96
                Based upon Walker, and armed with the Appellate Division’s ringing
             denunciation of the District Attorney’s conduct at Ramos’ criminal trial,


                 88. See Deposition of Diana Farrell at 683, Ramos v. City of New York, No. 21170-93
             (N.Y. Sup. Ct. Bronx Co. deposed Oct. 7, 1997) (on file with author).
                 89. See id. at 689.
                 90. See Letter from Diana Farrell to Andral Bratton, Departmental Disciplinary Comm.,
             Supreme Court of the State of N.Y., Appellate Div., First Dep’t (Mar. 15, 1995) (on file with
             author); Letter from Diana Farrell to Andral Bratton, Departmental Disciplinary Comm.,
             Supreme Court of the State of N.Y., Appellate Div., First Dep’t (Nov. 29, 1994) (on file with
             author).
                 91. See Deposition of Diana Farrell, supra note 88, at 687.
                 92. See id.
                 93. 974 F.2d 293 (2d Cir. 1992).
                 94. See id. at 296, 300.
                 95. Although Walker suggested that a showing of inadequate training could be made
             without a history of prior complaints or findings of similar misconduct, that view was
             overruled by the Supreme Court in Connick v. Thompson, 131 S. Ct. 1350 (2011). However,
             the Ramos lawsuit, and the others brought by the author, have been based on multiple prior
             incidents of misconduct, a history of failure to discipline, and evidence of ratification
             reflecting an unlawful policy.
                 96. Walker, 974 F.2d at 301.
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             Ramos elected to bring a § 1983 lawsuit in the State Supreme Court in
             Bronx County. Ramos claimed that the trial prosecutor’s misconduct had
             resulted from the District Attorney’s deliberate indifference to his staff’s
             history of obtaining unlawful convictions by violating Brady and relying on
             false or misleading evidence and argument, exhibited by his failure to
             properly train, supervise, and discipline prosecutors to avoid or to deter
             such violations, and by his ratification of such misconduct when it
             occurred. 97
                To substantiate this claim, Ramos sought disclosure of the personnel and
             disciplinary records of the prosecutors who had been involved in seventy-
             two reported cases in which courts had found violations of Brady
             obligations (eighteen cases), or other violations of the duty not to present
             false, misleading, or inflammatory evidence or summation argument (fifty-
             four cases). The majority of the decisions had been handed down between
             the mid-1970s and District Attorney Merola’s death in 1987, but a
             significant number had occurred from 1989 through 1996, during the
             Administration of District Attorney Johnson. The City resisted such
             document disclosure, and moved for dismissal or summary judgment
             regarding Ramos’ § 1983 claim. While the lower court denied this motion,
             it limited disclosure of records to those relating to just ten of the seventy-
             two court decisions. 98 Both sides appealed. Ramos fully prevailed.99
                In its decision, the Appellate Division, noting the “catastrophic” result
             when prosecutors wrongfully convict a defendant by withholding materially
             favorable information, 100 upheld Ramos’ civil rights claim, while granting
             all of the document discovery Ramos sought. Agreeing with the Second
             Circuit’s analysis in Walker, the court held that under state law, a District
             Attorney is a local policymaker with respect to training and supervising
             staff concerning its Brady obligations. 101 The court further held that under
             the facts in Ramos’s case, the City could be liable for both the District
             Attorney’s consistent failure to discipline prosecutors who caused
             unconstitutional convictions—by withholding Brady material or by
             knowingly relying on false or misleading evidence or argument—and for
             the District Attorney’s ratification of such misconduct in Ramos’s own
             case, through his “strident opposition” to Ramos’s motion and failure to
             discipline Ramos’s trial prosecutor. 102 The court directed the City to name
             the prosecutors involved in all seventy-two misconduct cases and to provide




                97. See Amended Complaint, supra note 66, at 24–36. The complaint also named as
             defendants the Human Resources Administration (HRA) and the New York City Police
             Department, under different theories of liability. Id.
                98. Decision and Order, Ramos v. City of New York, No. 21770-93, 1999 WL
             34804917 (N.Y. Sup. Ct. Bronx Co. dated Oct. 27, 1999) (on file with author).
                99. Ramos v. City of New York, 729 N.Y.S.2d 678 (App. Div. 2001).
               100. See id. at 681.
               101. See id. at 693.
               102. See id. at 694–95.
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             their personnel records, including their salary cards and evaluations, and
             any evidence of discipline.103
                 The records, finally disclosed a year later without any confidentiality
             order, revealed that from 1975 through 1996, during the administration of
             three District Attorneys, there was just one incidence of any prosecutor
             being disciplined. This prosecutor was one of fourteen prosecutors who
             had been involved in more than one of the trials in which misconduct had
             been found. 104 A second prosecutor had conducted five of the trials, while
             a third had conducted four, 105 yet neither of these latter two prosecutors,
             according to the records, had ever been disciplined.106 Indeed, the District
             Attorney’s Office conceded that payroll and other records “do not indicate
             the existence of any disciplinary measures taken against any of th[e]
             ADAs.” 107 A more detailed review of the three prosecutors just mentioned
             is revealing.
                 The prosecutor who received “discipline” did so in connection with a
             robbery conviction he obtained after trial in February 1977.108 The
             criminal defendant promptly appealed that conviction and alleged an
             extraordinary number of prosecutorial improprieties.109 In a decision dated
             April 13, 1978, the Appellate Division resoundingly agreed. It denounced
             the prosecutor for “overzealous,” “improper conduct . . . throughout the
             trial, despite repeated admonitions by the court,”110 including disparaging
             the “so-called presumption of innocence” and “reasonable doubt” and
             continually “disregard[ing] and overriding . . . the court’s rulings and
             instructions.” 111 In reversing the conviction, the court cited the Code of
             Professional Responsibility and implied that the prosecutor had violated
             it. 112 The prosecutor’s salary record showed that when the trial occurred,
             he was earning $21,500. 113 Notwithstanding the Office’s notice of his
             misconduct presented by the defendant’s appeal, he received salary
             increases over the next year of $4,500—or 21 percent. 114 After the court
             handed down its decision, the prosecutor suffered a deduction of four weeks


               103. See id. The court’s directive was contained in its initial, published decision and in
             an unpublished supplemental order on file with the author. Plaintiff’s Second Supplemental
             Demand for Discovery & Inspection, Ramos v. City of New York, No. 21770-93 (N.Y. Sup.
             Ct. Bronx Co. Mar. 17, 1998) (on file with author); see also Order, Ramos v. City of New
             York, No. 21770-93 (N.Y. App. Div. dated Dec. 27, 2001) (on file with author).
               104. Personnel records disclosed in discovery, Ramos v. City of New York, No. 21770-93
             (N.Y. Sup. Ct. Bronx Co. filed Apr. 1, 1996) (on file with author).
               105. Id.
               106. Id.
               107. Letter from Stuart P. Levy, Assistant Dist. Attorney, Office of the Dist. Attorney,
             Bronx Cnty., to Hon. Betty Owen Stinson, Supreme Court of the State of N.Y., Bronx Cnty.
             (July 24, 2002) (on file with author).
               108. See People v. Bussey, 403 N.Y.S.2d 739, 739 (App. Div. 1978).
               109. See id.
               110. Id.
               111. Id. at 741–42.
               112. Id. at 742.
               113. Personnel records disclosed in discovery, supra note 104.
               114. Id.
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             of pay, or approximately $2,150. 115 However, he then received a bonus of
             $250 on June 30, 1978, and a $2,500 salary increase on July 1, 1978, more
             than making up for his lost income. 116
                Between 1978 and 1981, the same prosecutor was derided by three more
             appellate opinions in two cases (although neither conviction was
             reversed), 117 but continued to receive raises in compensation. Dissenting
             judges in two of the decisions suggested that such “egregious” conduct be
             referred for professional discipline, 118 noting that the same trial assistant
             had been denounced in prior decisions for “outrageous and abusive
             conduct” 119 and “improper and tasteless” behavior. 120 On November 24,
             1981, Associate Judge Bernard Meyer of the New York Court of Appeals
             reminded the District Attorney of his “continuing obligation with respect to
             his trial assistants . . . to instruct them clearly and firmly against using such
             tactics.” 121 Yet, during the four-year period beginning July 1, 1978, the
             prosecutor received “merit” and other raises totaling $13,500, until he was
             earning $42,000 by July 1, 1982. 122
                On November 22, 1982, District Attorney Merola wrote to a member of
             the Appellate Division’s Departmental Disciplinary Committee, asking it to
             reconsider its initial finding in connection with a disciplinary inquiry
             concerning the conduct of the prosecutor. 123 Merola assured the Committee
             that he already had authorized disciplinary measures which took into
             account all of the prosecutor’s misconduct and that, in light of his
             subsequent performance, these early trials in his career were an
             “aberration.” 124 It appears the Committee did reconsider, as there is no
             evidence that the prosecutor was sanctioned.
                Significantly, in the prosecutor’s next evaluation after the court decisions
             in 1980 and 1981 that so vehemently condemned his performances, his
             bureau chief scored his overall quality of performance as a “4” out of a
             possible “5.” 125 While the supervisor noted the Assistant District
             Attorney’s “involvement with the App[ellate] Div[ision] Disciplinary
             Committee,” he did so not as a reflection of the quality of the prosecutor’s
             trial performance, but rather as an explanation for his drop off in
             “productivity.” 126         Indeed, praised for being “cooperative and


               115. Id.
               116. Id.
               117. People v. Galloway, 54 N.Y.2d 396 (1981), aff’g 430 N.Y.S.2d 93 (App. Div. 1980);
             People v. Wheeler, 438 N.Y.S.2d 467 (App. Div. 1981).
               118. Galloway, 54 N.Y.2d at 414 n.4 (Meyer, J., dissenting).
               119. Id. at 415 (Meyer, J., dissenting) (quoting People v. Bussey, 403 N.Y.S.2d 739, 742
             (App. Div. 1978)) (internal quotation marks omitted).
               120. Id. (quoting Wheeler, 438 N.Y.S.2d at 467) (internal quotation marks omitted).
               121. Galloway, 54 N.Y.2d at 415.
               122. Personnel records disclosed in discovery, supra note 104.
               123. Letter from Mario Merola, Dist. Attorney, Office of the Dist. Attorney, Bronx Cnty.,
             to Martin London, Supreme Court, Appellate Div., Departmental Disciplinary Comm. (Nov.
             22, 1982) (on file with author).
               124. Id.
               125. Personnel records disclosed in discovery, supra note 104.
               126. Id.
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             conscientious,” the only additional criticism the prosecutor received was for
             “lateness . . . which he has been counseled about repeatedly.” 127 The
             following year, the same supervisor had nothing but superlatives for this
             Assistant District Attorney. 128 Recommending him for promotion to
             “senior trial status,” the Bureau Chief gushed: “Tremendous ability to
             plead def[endan]ts with the weakest proof.” 129 He continued as a Bronx
             Assistant District Attorney until his retirement in 1997. 130
                The prosecutor responsible for five of the misconduct decisions was
             found in an appellate decision in October 1982 to have engaged in
             “persistent misconduct [during summation, which] deprived the defendant
             of his right to a fair trial,” resulting in the reversal of a manslaughter
             conviction. 131    Three years later, the same court reversed another
             manslaughter conviction obtained by the same prosecutor six months after
             the prior decision. 132 The court was irate that the prosecutor had “blatantly
             violated defendant’s rights” 133 even after being chastised in the prior
             opinion, and termed the prosecutor’s conduct “willful and deliberate.”134
             The following year, reversing a third manslaughter conviction obtained by
             the same prosecutor, the same court commented:
                   [W]hen the misconduct is so pervasive, so egregious and results in
                   violations of fundamental due process rights, and the prosecutor’s
                   disregard of the court’s rulings and warnings is as deliberate and
                   reprehensible as that of this prosecutor, who has twice before provoked
                   reversals by this court, a reversal is the only responsible remedy we can
                   invoke as guardians of the rights of the People. 135
                The prosecutor left the Office’s employ in 1984, after six years. There
             was nothing in his personnel file to indicate that he did not leave voluntarily
             or was disciplined in any way. Meanwhile, on July 1, 1983—after the trial
             in which he had “blatantly violated” the defendant’s rights in conduct that
             the court found to have been “willful and deliberate”—he received a salary
             adjustment and “merit” bonus totaling $4,500, which amounted to more
             than 10 percent of his previous salary. 136
                As for the prosecutor cited in four decisions, three involved summation
             and other trial-related misconduct—resulting in two reversals and one
             finding of harmless error—and one involved an apparent Brady violation
             which was remanded for an evidentiary hearing. 137 Within five weeks of

               127. Id.
               128. See id.
               129. Id.
               130. See id.
               131. See People v. Perez, 455 N.Y.S.2d 89, 91 (App. Div. 1982).
               132. See People v. Rosa, 489 N.Y.S.2d 722, 728 (App. Div. 1985).
               133. Id. at 726.
               134. Id. at 728.
               135. People v. Sandy, 499 N.Y.S.2d 75, 77 (App. Div. 1986) (citations omitted).
               136. Personnel records disclosed in discovery, supra note 104.
               137. See People v. Qualls, 70 N.Y.2d 863 (1987) (remanding for evidentiary hearing
             concerning apparent Brady violation); People v. Jorge, 566 N.Y.S.2d 649, 650 (App. Div.
             1991) (reversing murder conviction because prosecutor misstated the testimony and cited the
             Bible while exhorting the jury to “do your duty”); People v. Taylor, 556 N.Y.S.2d 307 (App.
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             the first reversal, he received “merit” increases and bonuses totaling
             $11,500, or more than 15 percent of his previous salary. 138 Following the
             other court decisions, including the reversal in 1991, he received yearly
             “merit” increases ranging from $1,000 to $4,000.139 His evaluations were
             not provided.
                Ramos’s trial prosecutor also received no sanction for her misbehavior.
             During her deposition, she testified that “everything [she] did in connection
             with the Ramos prosecution was consistent with [her] training.” 140 She
             testified that she believed she was required to disclose only evidence that
             was “blatantly Brady” because it “tended to exonerate the defendant” or
             was “crucial” or, as to impeachment evidence, only if she determined after
             investigation that it was “truthful.” 141 She revealed that shortly after the
             hearing court’s decision was handed down, she met with District Attorney
             Johnson, Chief Assistant Barry Kluger, and Counsel Girese, and received
             their complete support, including their agreement to appeal the decision.142
             Before the appeal was denied, and believing that the negative publicity
             about the case had stalled her career, she voluntarily left the Office and
             solicited and obtained an appointment to the “18-B” panel, a court-certified
             panel of private attorneys assigned to represent indigent criminal
             defendants. 143
                Numerous other court decisions about which discovery was provided
             involved findings of deliberate, intentional, or flagrant misbehavior. In one
             case, the appellate court upheld the defendant’s claim that “he was deprived
             of due process by the prosecutor’s knowing use of perjured testimony,” and
             faulted the prosecutor’s failure to comport with the district attorney’s
             “responsibility and duty to correct what he knows to be false and elicit the
             truth.” 144 Another prosecutor, in People v. Lantigua, 145 was found to have
             knowingly withheld crucial Brady material which proved the falsity of her
             summation to the jury. The appellate court wrote: “It hardly advances the
             interest of justice for a prosecutor to use testimony she knows to be false to
             discredit the evidence given by defense witnesses during her
             summation.” 146 The appellate court found yet another prosecutor’s
             “decision to accuse the defendant (and squarely implicat[e] his counsel) of
             fabricating his defense” during summation to be “indefensible.” 147 Other

             Div. 1990) (declining to reverse for prosecutor’s Biblical quotations); People v. Hamilton,
             502 N.Y.S.2d 747, 748 (App. Div. 1986) (reversing robbery conviction “because the
             fundamental fairness of the trial was severely impaired by repetitive improper prosecutorial
             trial tactics”).
                138. Personnel records disclosed in discovery, supra note 104.
                139. Id.
                140. Deposition of Diana Farrell, supra note 88, at 844.
                141. Id. at 303, 318–19, 762, 767, 769.
                142. Id. at 667.
                143. Id.
                144. People v. Olmo, 545 N.Y.S.2d 285, 286–87 (App. Div. 1989) (quoting People v.
             Savvides, 1 N.Y.2d 554, 557 (1956)).
                145. 643 N.Y.S.2d 963 (App. Div. 1996).
                146. Id. at 969.
                147. People v. Negron, 556 N.Y.S.2d 41, 43 (App. Div. 1990).
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             appellate decisions found flagrant or intentional summation misconduct as
             well as Brady violations requiring reversal. 148 All of the prosecutors in
             these cases continued to receive increases in compensation; none, according
             to the records provided, were disciplined.
                Two more depositions of note were conducted. Mitchell Borger, the
             Assistant District Attorney who handled the beginning stages of the Ramos
             prosecution, including the submission of testimony to the grand jury,
             testified that he was unaware of any disciplinary policy or procedure while
             he was at the Office or that any prosecutor had ever been disciplined. 149
             The Executive Assistant District Attorney under District Attorney Johnson,
             Eric Warner, who had been Farrell’s bureau chief at the time of the Ramos
             trial and was involved in training at the time of his deposition in 2000,
             testified to his understanding that Brady only applied where the defendant
             had made a specific request for the material. 150 He did not recall that there
             was any Brady training at all under District Attorney Merola or that he had
             received such training himself; he could not find any evidence of Brady
             training materials before 1995 (six years into Johnson’s tenure); 151 and he
             was unaware of any Assistant District Attorney at the Office having ever
             been disciplined for violating Brady. 152
                Ramos’s case was concluded before any of this evidence could be
             presented to a jury. In 2003, Ramos accepted a settlement of $5 million.153


                148. See People v. Banfield, 599 N.Y.S.2d 227 (App. Div. 1993) (reversing conviction
             where prosecutor promised witness “favorable disposition” of witness’s case, but did not
             disclose that to defendants); People v. Byfield, 194 A.D.2d 331 (N.Y. App. Div. 1993)
             (companion case to Banfield); People v. Mudd, 585 N.Y.S.2d 364, 366 (App. Div. 1992)
             (finding summation statements “entirely outside the bounds of rhetorical comment”); People
             v. McReynolds, 572 N.Y.S.2d 8, 8 (App. Div. 1991) (finding that prosecutor “so
             overstepped the bounds of permissible comment that [the defendant] was denied a fair
             trial”); People v. Bagarozy, 522 N.Y.S.2d 848, 854–55 (App. Div. 1987) (deciding that
             inflammatory summation and evidence distracted jury from real issues in the case); People v.
             Bailey, 503 N.Y.S.2d 16, 18 (App. Div. 1986) (finding that inflammatory summation and
             vouching was “calculated to produce a wrongful conviction”); People v. Hamilton, 502
             N.Y.S.2d 747, 750 (App. Div. 1986) (noting that “central theme” of summation was “wholly
             improper”); People v. Ortiz, 497 N.Y.S.2d 678, 680 (App. Div. 1986) (reversing conviction
             based on prosecutor’s “obdurate pattern of inflammatory remarks throughout the . . .
             summation”); People v. Pressley, 462 N.Y.S.2d 864, 866–67 (App. Div. 1983) (reversing
             conviction for prosecutor’s “repeated[ ] attack[s]” on defendant and improper “persistent
             references” to defendant’s refusal to incriminate himself by cooperating with law
             enforcement); see also Rosario Violation May Be Raised on CPA §440.10 Motion, N.Y. L.J.,
             Sept. 8, 1989, at 21 (summarizing decision in People v. Okafor, noting that court found
             Rosario and Brady violations and reversed conviction where prosecutor withheld potentially
             exculpatory witness statements in a child sex abuse case).
                149. Deposition of Mitchell Borger at 184–92, Ramos v. City of New York, No. 21170-
             93 (N.Y. Sup. Ct. Bronx Co. deposed Mar. 11, 1998) (on file with author).
                150. Deposition of Eric Warner at 52, Ramos v. City of New York, No. 21170-93 (N.Y.
             Sup. Ct. Bronx Co. deposed June 15, 2000) (on file with author). But see United States v.
             Agurs, 427 U.S. 97, 110–11 (1976) (Brady material must be turned over to defense even
             without specific request).
                151. Deposition of Eric Warner, supra note 150, at 18–20.
                152. Id. at 82–83.
                153. Andrea Elliott, City Gives $5 Million to Man Wrongly Imprisoned in Child’s Rape,
             N.Y. TIMES, Dec. 16, 2003, at B3.
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             At the time, this was the largest settlement of any wrongful conviction case
             in New York State. 154 Defending the conduct of the District Attorney’s
             Office to the New York Times, District Attorney Johnson and Chief
             Assistant Kluger contended that prosecutors were dealt with “on an
             individual basis,” apparently informally, that often a prosecutor cited for
             misconduct was no longer employed by the Office when the appellate
             decision criticizing his conduct was handed down, and that “[n]ot one of
             [the seventy-two cases] involves a finding of deliberate or intentional . . .
             concealment of evidence. . . . They were technical rulings or a slip of the
             tongue.” 155

                                   2. The Maldonado and Poventud Cases
                Despite the Ramos settlement and increased public attention to the
             problem of wrongful convictions, attitudes at the top of the Bronx District
             Attorney’s Office do not appear to have changed. This is revealed by
             depositions and document discovery in two additional companion lawsuits
             in which the author is co-counsel. The lawsuits arise from a joint criminal
             prosecution in 1997–98 of two defendants, Robert Maldonado and Marcos
             Poventud, for the attempted murder and attempted robbery of a livery cab
             driver. The cab driver, who was shot in the head and barely survived, was
             the only witness identifying either defendant at trial and linking them to the
             crime. With the defense challenging the cab driver’s ability to make
             accurate identifications, the police suppressed the fact that this eyewitness
             initially had identified as one of the perpetrators a man who was in prison
             when the crime occurred (the Brady material). After this information later
             surfaced, Maldonado, who had spent four years in prison, was acquitted at a
             retrial, while Poventud succeeded in overturning his conviction after nine
             years in prison on collateral attack. Maldonado’s civil lawsuit is pending in
             the State Supreme Court in the Bronx; Poventud’s is pending in the United
             States District Court for the Southern District of New York. 156
                In their separate lawsuits, both Maldonado and Poventud alleged that the
             police suppressed the Brady material from prosecutors as well as the
             defense, or alternatively that prosecutors learned about the Brady material
             but colluded with the police in suppressing it from the defense. The latter
             theory was part of the plaintiffs’ Monell claim, similar to the claim in the
             Ramos case, contending that the Bronx District Attorney’s deliberate
             indifference to a history of Brady and related due process violations
             committed by his subordinates had been a substantial cause of the




               154. Id.
               155. Andrea Elliott & Benjamin Weiser, When Prosecutors Err, Others Pay the Price,
             N.Y. TIMES, Mar. 21, 2004, at 25.
               156. See Poventud v. City of New York, 07 Civ. 3998 (S.D.N.Y. filed May 22, 2007);
             Maldonado v. City of New York, No. 17568-2004 (N.Y. Sup. Ct. Bronx Co. filed June 14,
             2004).
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             misconduct that caused the plaintiffs’ wrongful convictions.157 Discovery
             in the two cases was consolidated.
                During pretrial discovery, the plaintiffs, as in the Ramos case, obtained
             disclosure of prosecutors’ personnel and “disciplinary” records in
             connection with cases where courts had found misconduct. 158 Plaintiffs’
             demand was limited to cases that were decided under District Attorney
             Johnson, from 1989 through 2006. 159 Not a single document was produced
             evidencing any disciplinary action against any of the prosecutors.160
                Depositions were taken of the Office’s executive staff, including Odalys
             Alonso, the Chief Assistant District Attorney, who has responsibility for the
             overall management of the Office, including hiring, firing, and discipline;
             the Counsel to the District Attorney since 1989, Anthony Girese, who deals
             with legal issues and has been the Office’s liaison with the Departmental
             Disciplinary Committee; the Chief of Appeals since 1994, Joseph Ferdenzi;
             and District Attorney Johnson.
                Testifying as a representative witness under Federal Rule of Civil
             Procedure 30(b)(6) on the issue of discipline at the Office, 161 Alonso
             acknowledged that neither the Office’s standard employment agreement,
             nor its employee manual, nor any other document, contains any provisions
             concerning internal disciplining of prosecutors for misconduct in
             connection with the handling of criminal cases.162 The Office has no
             written policy or procedure setting forth specific rules of behavior, defining
             infractions of such rules—including whether punishment may be inflicted
             for negligence, recklessness, or deliberate indifference to defendants’
             constitutional rights as opposed to willful, deliberate violations—or
             providing notice of the types of discipline that may be imposed for
             infractions. 163 The “system” for discipline is that the District Attorney is
             told when court decisions or defense motions or appeals alleging improper
             behavior are received by the Office, and then he determines whether to
             conduct an investigation or to impose some form of discipline.164 There is

                157. See Amended Complaint, Poventud v. City of New York, 07 Civ. 3998 (S.D.N.Y.
             filed Oct. 28, 2010) (on file with author); Amended Complaint, Maldonado v. City of New
             York, No. 17568-2004 (N.Y. Sup. Ct. Bronx Co. filed Nov. 8, 2006) (on file with author).
                158. See Plaintiff’s First Set of Interrogatories & Request for Document Production,
             Poventud v. City of New York, No. 07 CV 3998 (S.D.N.Y. filed Oct. 12, 2007) (on file with
             author); Plaintiff’s First Set of Interrogatories and Request for Document Production,
             Maldonado v. City of New York, No. 17568-2004 (N.Y. Sup. Ct. Bronx Co. filed June 14,
             2004) (on file with author).
                159. See Plaintiff’s First Set of Interrogatories & Request for Document Production,
             Poventud v. City of New York, supra note 158; Plaintiff’s First Set of Interrogatories &
             Request for Document Production, Maldonado v. City of New York, supra note 158.
                160. Personnel records disclosed in discovery, Poventud v. City of New York, No. 07 CV
             3998 (S.D.N.Y. filed May 22, 2007); Letter from Gerard J. Marino, Assistant Corp. Counsel,
             City of New York Law Dep’t, to Anthony Cecutti, Romano & Kuan, LLC (Nov. 26, 2007)
             (on file with author).
                161. Deposition of Odalys Alonso at 2, Poventud v. City of New York, 07 Civ. 3998
             (S.D.N.Y. deposed Nov. 29, 2010) (on file with author).
                162. Id. at 39–42.
                163. Id. at 66–70.
                164. Id. at 44–45.
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             no standard for determining when discipline will be imposed, other than the
             subjective judgment of the District Attorney.
                Alonso, who has been a supervisor or a member of the executive staff
             during Johnson’s entire twenty-two-year tenure in office, recalled only a
             single instance of formal discipline, occurring in January 2002. 165 Girese,
             in his deposition, could recall no instance.166 Neither could District
             Attorney Johnson. 167 In the incident recalled by Alonso, Johnson himself
             happened to walk into a courtroom where one of his Assistant District
             Attorneys was delivering a summation and was offended that it contained
             gratuitously inflammatory content. 168 Alonso testified that Johnson
             immediately instructed that Assistant District Attorney’s supervisor to
             discipline the Assistant District Attorney, which she purportedly did
             through an oral admonishment and by withholding any raise or bonus at the
             prosecutor’s next salary review. 169 However, no records were produced
             evidencing that such sanctions were imposed. 170 On appeal, the Office
             fully defended the Assistant District Attorney’s conduct as appropriate171
             despite the supposed finding by the District Attorney himself that the
             prosecutor had behaved so inappropriately that he deserved to be
             sanctioned. This was the single prosecutor during Johnson’s twenty-two
             years in office that anyone could recall was formally “disciplined” for
             violating a rule of behavior in the prosecution of a criminal case.
                Alonso did testify, however, that she was told by her predecessor, Chief
             Assistant District Attorney Kluger, that under Johnson’s policy, whenever
             the Appellate Division reversed convictions for summation misconduct, he
             would orally chastise the Assistant District Attorney if he or she was still in
             the Office. 172 In most of these cases, the Office was at the same time
             arguing on appeal that there had been no misconduct. Johnson was
             unaware of any record of Assistant District Attorneys who have been orally
             chastised, and could not recall any specific instance where it occurred.173
             Johnson said that prior misconduct would be a factor in a subsequent
             disciplinary decision, but acknowledged that no records are kept of such
             misconduct or admonitions for it. 174 Records are kept, however, of
             individual prosecutors’ successes in obtaining convictions at trial and by


               165. Id. at 59–60. Odalys Alonso recalled that at some point in the past Assistant District
             Attorneys in the office were informed that another Assistant District Attorney was
             disciplined, but she did not recall any details about it, and the prosecutor did not receive any
             negative evaluation. Id. at 64.
               166. Deposition of Anthony Girese at 119–20, Poventud v. City of New York, 07 Civ.
             3998 (S.D.N.Y. deposed Mar. 24, 2011) (on file with author).
               167. Deposition of Robert Johnson at 60–66, Poventud v. City of New York, 07 Civ.
             3998 (S.D.N.Y. filed May 22, 2007) (on file with author).
               168. Deposition of Odalys Alonso, supra note 161, at 124–25.
               169. Id. at 131–33.
               170. Id. at 140, 145–47 (stating that the prosecutor received a merit bonus and raise); see
             also Personnel records disclosed in discovery, supra note 160 (on file with author).
               171. Id. at 154–57.
               172. See Deposition of Odalys Alonso, supra note 161, at 81–82, 289–90.
               173. See Deposition of Robert Johnson, supra note 167, at 64–66.
               174. See id. at 58–59, 65–67.
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             guilty plea. 175 Johnson testified that he has never had to consider any
             discipline for Brady violations because there have been no “intentional”
             violations, to his knowledge, during his twenty-two-year tenure. 176 In fact,
             during the Johnson era, there have been numerous court decisions finding
             flagrant or intentional Brady violations or misconduct during
             summations. 177 Moreover, there have been “dozens” more decisions
             finding improper behavior but declining to reverse under the harmless error
             doctrine. 178
                Johnson acknowledged that his Office has no policy concerning referrals
             of prosecutors to the outside Departmental Disciplinary Committee for
             apparent ethical violations.179 He also did not believe that the Office had
             ever made such a referral during his tenure. 180 Counsel to the District
             Attorney Girese testified that it has been his role, since Johnson took office
             in 1989, to respond to inquiries from the Disciplinary Committee about
             alleged prosecutorial misconduct in his Office. He was unaware, however,
             of any instance in which any prosecutor was sanctioned in relation to the
             handling of a criminal matter.181




                175. See id. at 71–72. Johnson denied that he gives this factor any weight in promotions.
             Id.
                176. See id. at 43.
                177. See, e.g., People v. Garcia, 848 N.Y.S.2d 137, 140 (App. Div. 2007) (finding
             prosecutor committed “flagrant violation” when he withheld material impeachment
             evidence, and criticizing the People’s defense of this conduct as “disingenuous” and
             “disquieting”); People v. Mickel, 710 N.Y.S.2d 70, 71 (App. Div. 2000) (reversing
             conviction where prosecutor failed to disclose “significant” Brady material); People v.
             Olivero, 710 N.Y.S.2d 29, 31 (App. Div. 2000) (finding prosecutor’s comments in
             summation “manifestly unfair”); People v. Lantigua, 643 N.Y.S.2d 963, 969 (App. Div.
             1996) (finding that prosecutor intentionally withheld Brady material and made knowingly
             false argument in summation); People v. Williams, 622 N.Y.S.2d 275, 275 (App. Div. 1995)
             (“The basis for the reversal of this case lies in the prosecutor’s repeated disregard of the
             rulings of the trial court . . . in asking improper questions of witnesses so that the
             constitutional right of the defendant to a fair trial was violated.”); People v. Banfield, 599
             N.Y.S.2d 227, 227 (App. Div. 1993) (reversing conviction where prosecutor promised
             witness “favorable disposition” of witness’s case, but did not disclose that to defendants);
             People v. Byfield, 194 A.D.2d 331, 332 (N.Y. App. Div. 1993) (companion case to
             Banfield); People v. Hernandez, 585 N.Y.S.2d 436, 436 (App. Div. 1992) (affirming
             conviction, but stating that it “deplore[d] [prosecutor’s] excesses [in summation] in the
             strongest possible terms and ask[ed] that prosecutors be trained and admonished to refrain
             from such unnecessary conduct”); People v. Butler, 585 N.Y.S.2d 751, 753 (App. Div. 1992)
             (prosecutor’s “overzealous[ ]” conduct and “numerous unwarranted remarks” during cross-
             examination and summation “deprived defendant of a fair trial”); People v. Mudd, 585
             N.Y.S.2d 364, 366 (App. Div. 1992) (finding summation comments “directly contradictory
             to the evidence, prejudicial and entirely outside the bounds of acceptable rhetorical
             comment”); People v. McReynolds, 572 N.Y.S.2d 8, 8 (App. Div. 1991) (noting that
             prosecutor “impugn[ed] the defense counsel’s integrity”); People v. Negron, 556 N.Y.S.2d
             41, 43 (App. Div. 1990) (finding summation comments “particularly offensive” and conduct
             “grossly improper”).
                178. Deposition of Anthony Girese, supra note 166, at 129.
                179. See Deposition of Robert Johnson, supra note 167, at 72–73.
                180. Id.
                181. Deposition of Anthony Girese, supra note 166, at 165–66.
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                        B. The Queens District Attorney’s Office: The Su Case
                                         1.   Criminal Proceedings
                Shih Wei Su was eighteen years old when he was convicted of attempted
             murder at trial in Queens in 1992. The underlying incident involved the
             shooting of two victims at a pool hall in what the prosecution contended
             was a youth gang-related incident. 182 The principal prosecution witness
             was Jeffrey Tom, a member of the Green Dragons, 183 which was a rival of
             the gang with which Su was allegedly affiliated, the White Tigers.184
             Neither Tom nor the two victims who were with him at the time of the
             shooting implicated Su in their initial statements to police,185 but they all
             changed their story at about the same time and implicated him in one way
             or another. 186 Tom was the most damaging witness, claiming that he knew
             Su and heard him give an order to shoot.187 Although Tom had his own
             robbery-by-extortion case, he denied, under questioning by the prosecutor,
             that the lenient plea bargain he had received (a youthful offender
             adjudication and sentence of probation) had resulted from any deal with the
             District Attorney’s Office. 188 The prosecution in her summation argued
             that Tom’s testimony was truthful.189 Su was convicted and received the
             maximum sentence of sixteen and two-thirds to fifty years in prison. 190
                Su repeatedly challenged his conviction, both on direct appeal and
             collateral attack, 191 claiming that Tom must have received some sort of
             promise or benefit in exchange for his testimony. 192 However, the District
             Attorney argued successfully that either Su or his attorneys were remiss for
             not making Tom’s sealed plea and sentencing minutes part of the record.193
             In 1999, over the District Attorney’s objection, a judge finally ordered
             Tom’s plea and sentencing minutes unsealed, reasoning that the District
             Attorney “has no legitimate interest in shielding possible perjury.” 194 The
             minutes proved that a prosecutor had made an explicit, on-the-record deal
             with Tom to grant him leniency in exchange for his trial testimony against
             Su. 195 Tom’s flat denials, elicited by a different prosecutor at Su’s trial,


               182. Su v. Filion, 335 F.3d 119, 122 (2d Cir. 2003).
               183. See id. at 121–22.
               184. See id. at 122.
               185. See Complaint at 4, Su v. City of New York, No. 06 Civ. 687 (E.D.N.Y. filed Feb.
             16, 2006) (on file with author).
               186. Id.
               187. Su, 335 F.3d at 122.
               188. Id. at 123–24.
               189. Id. at 124–25.
               190. Complaint, supra note 185, at 8.
               191. People v. Su, 624 N.Y.S.2d 904 (App. Div. 1995), leave to appeal denied, 85
             N.Y.2d 980 (1995); People v. Su, 699 N.Y.S.2d 291 (App. Div. 1999), leave to appeal
             denied, 94 N.Y.2d 925 (2000); People v. Su, 721 N.Y.S.2d 841 (App. Div. 2001).
               192. Complaint, supra note 185, at 8 (reciting grounds for Su’s post-trial motions).
               193. Id. at 8–9 (describing People’s opposition).
               194. Motion: Unsealing at 2, People v. Su, No. 658-91 (N.Y. Sup. Ct. Queens Co. dated
             Jan. 21, 1999) (on file with author).
               195. Su v. Filion, 335 F.3d 119, 123 (2d Cir. 2003).
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             had been false. 196 But the New York courts still would not grant Su any
             relief, accepting the District Attorney’s additional procedural argument that
             Su’s Brady violation claim should not be considered on the merits.197
                Finally, on July 11, 2003, the Second Circuit granted Su’s federal habeas
             corpus petition and directed that he be retried within sixty days or
             released. 198 The court excoriated the prosecutor for “knowingly elicit[ing]
             false testimony” 199 from a witness whose credibility was “central to the
             deliberations of any reasonable jury,” 200 for failing to correct such false
             testimony, and for “bolster[ing]” Tom’s lies during her closing
             argument. 201 In vacating the conviction, it reasoned that a conviction
             obtained through “testimony the prosecutor knows to be false is repugnant
             to the Constitution.” 202 As the Bronx District Attorney’s Office had done
             in the Poventud case, the Queens District Attorney tried to get Su to accept
             a “time-served” plea bargain, but Su refused. After postponing the trial on
             several occasions, District Attorney Richard Brown’s Office, on November
             5, 2003, moved to dismiss all charges. 203
                                       2. The Attorney Grievance Process
                      On September 12, 2003, even while he was facing the prospect of
             retrial, Su filed a formal pro se complaint against the prosecutor with the
             Grievance Committee of the New York State Appellate Division, Second
             Judicial Department. 204 He asked for an investigation and sanction of the
             prosecutor for knowingly eliciting and failing to correct false testimony,
             and attached a copy of the Second Circuit’s decision. 205 Su later submitted
             a supplemental letter, informing the Committee that his case had been
             dismissed for insufficient evidence, and that the prosecutor had been
             responsible for his wrongful imprisonment from ages seventeen through
             thirty. 206 He said he could not afford an attorney and that “while [the
             prosecutor] certainly will have her powerful attorneys and friends on her




               196. See id. at 121.
               197. See id.
               198. See id. at 130.
               199. Id. at 128.
               200. Id. at 129.
               201. Id. at 127.
               202. Id. at 126.
               203. See Proceedings at 2, People v. Su, No. 0658-91 (N.Y. Sup Ct. Queens Co. dated
             Nov. 5, 2003) (on file with author).
               204. Letter from Shih Wei Su to Second Dep’t Grievance Comm. (Sept. 12, 2003) (on file
             with author).
               205. Id.
               206. Letter from Shih Wei Su to Melissa D. Broder, Assistant Counsel, N.Y. State
             Grievance Comm. for the Second & Eleventh Judicial Dists. (Nov. 6, 2003) (on file with
             author); see also Jim Dwyer, Prosecutor Misconduct, at a Cost of $3.5 Million, N.Y. TIMES,
             Oct. 22, 2008, at A27 (reporting on Su’s correspondence with the Grievance Committee).
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             side, I firmly believe . . . this committee will not allow [the prosecutor] to
             manipulate the justice [sic] again.” 207 Su was wrong.
                On December 12, 2003, the prosecutor submitted a remarkable letter
             prepared by her attorney, but which she endorsed with her signature.208 It
             pleaded with the Committee for sympathy, pointing out that she was
             married and had two young children. The Su case “was considered old and
             probably in a position to be dismissed for failure to prosecute . . . [and] was
             thought to be a loser and was dumped in her lap,” the letter contended.209
             “[P]erhaps without being adept as a result of her inexperience,” the letter
             asserted, the prosecutor had inadvertently elicited false answers from her
             witness and had not known how to correct them. 210 While acknowledging
             that the prosecutor’s conduct had been “naive, inexperienced and, possibly,
             stupid,” the letter shifted blame to the District Attorney’s Office for not
             ensuring that she knew about the deal made by another prosecutor with her
             witness, contending, “[P]rosecutorial misconduct need not be the doing of
             the last assigned assistant, though he/she unwittingly kept it in motion and
             caused it to occur.” 211
                Su refuted the prosecutor’s arguments by letter dated January 22,
             2004. 212 He contended that she had not just been a passive, hapless victim
             of a rogue witness, but had refused to correct Tom’s testimony when Su’s
             trial counsel had complained that it could not be true, and that she then
             “capitalized” on the false testimony in her summation by “vouch[ing] for
             Tom’s truthfulness, honesty, and lack of evasiveness.” 213 Su pointed out
             that the Second Circuit’s decision had found her misconduct to have been
             deliberate. Further, Su contended, the prosecutor could not blame her
             knowing elicitation of and failure to correct false testimony on inexperience
             when basic attorney disciplinary rules prohibit deceitful behavior and
             reliance on false or misleading evidence, and prosecutors are required by
             such rules to make timely disclosure of exculpatory evidence. “The
             Grievance Committee and the Appellate Division regularly sanction
             attorneys for mere negligence in handling client funds and other client
             matters,” Su wrote. 214 Observing that the prosecutor had “cost me 13 years
             of my life,” Su continued, “[e]ven intentional misconduct in such matters


               207. Letter from Shih Wei Su to Melissa D. Broder, Assistant Counsel, N.Y. State
             Grievance Comm. for the Second & Eleventh Judicial Dists. (Nov. 6, 2003) (on file with
             author).
               208. Letter from Jerome Karp to Melissa D. Broder, Assistant Counsel, N.Y. State
             Grievance Comm. for the Second & Eleventh Judicial Dists. (Dec. 12, 2003) (on file with
             author); Dwyer, supra note 206, at A27. This letter was quoted in Mr. Dwyer’s article, was
             the subject of questioning during the prosecutor’s deposition in Su’s civil rights case, and
             was introduced as an exhibit.
               209. Letter from Jerome Karp to Melissa D. Broder, supra note 208.
               210. Id.
               211. Id.
               212. Letter from Shih Wei Su to Melissa D. Broder, Assistant Counsel, N.Y. State
             Grievance Comm. for the Second & Eleventh Judicial Dists. (Jan. 22, 2004) (on file with
             author).
               213. Id.
               214. Id.
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             pales in importance compared to the damage done by a public prosecutor
             who knowingly withholds exculpatory evidence or misleads the court or the
             defense.” 215 He asked for permission to participate in the proceedings
             regarding the prosecutor.
                Su did not hear at all from the Committee, until he received a seven-line
             letter from Chief Counsel Diana Maxfield Kearse over a year later. It
             informed Su that, on December 14, 2004, “all the facts pertaining to your
             complaint were presented to the Grievance Committee,” and it had taken
             “appropriate action”: “the attorney has been issued an Admonition and a
             permanent record has been made.” 216 An “admonition” is the lightest
             sanction that may be imposed in New York, and does not result in any
             public record. 217
                On February 28, Su wrote Ms. Kearse, asking what “investigation,” if
             any, had been conducted. 218 “Was [the prosecutor]’s unbelievable defense
             that she was unaware of her obligation to correct testimony she knew to be
             false challenged in any way? . . . What was the Committee’s reasoning in
             concluding that knowing misconduct by an experienced prosecutor (four
             years in the Office!) resulting in a wrongful conviction and 13 years
             imprisonment merited only an Admonition?” 219             Su requested the
             opportunity to present his case to the full Committee.220
                Assistant Counsel Melissa D. Broder responded on March 22, 2005.
             There is no procedure to appeal a sanction, she wrote. Su was “free to
             consult with counsel regarding any civil remedies which may be available
             to you regarding the above-named attorney.” 221 Su still did not give up.
             On March 30, he again wrote Chief Counsel Kearse:
                      Even jaywalking can get prison time. So can stealing a loaf of bread.
                   How is it possible that an experienced prosecutor who knowingly broke
                   every bar association code, every Constitutional law, and more only gets
                   an admonition?
                      I am not a lawyer . . . but I guarantee you that any person, no matter
                   how “naive, inexperience[d], or possibly stupid,” will know that false
                   evidence is not allowed in the court.



               215. Id.
               216. Letter from Diana Maxfield Kearse, Chief Counsel, N.Y. State Grievance Comm. for
             the Second & Eleventh Judicial Dists., to Shih Wei Su (Feb. 3, 2005) (on file with author).
               217. See Appellate Div. Second Judicial Dep’t, Attorney Matters: How to Make a
             Complaint About a Lawyer, http://www.courts.state.ny.us/courts/ad2/attorneymatters_
             ComplaintAboutaLawyer.shtml (last visited Oct. 20, 2011), (“An Admonition is issued in
             those cases in which the committee finds that the lawyer committed clear professional
             misconduct that was not sufficiently serious to warrant the commencement of a formal
             disciplinary proceeding.”).
               218. Letter from Shih Wei Su to Diana Maxfield Kearse, Chief Counsel, N.Y. State
             Grievance Comm. for the Second & Eleventh Judicial Dists. (Feb. 28, 2005) (on file with
             author).
               219. Id.
               220. Id.
               221. Letter from Melissa D. Broder, Assistant Counsel, N.Y. State Grievance Comm. for
             the Second & Eleventh Judicial Dists., to Shih Wei Su (Mar. 22, 2005) (on file with author).
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                     With all due respect, the message that this committee is sending out is
                  loud and clear: Don’t worry about using false evidence; you will only get
                  an admonition if you are stupid enough to admit it. 222
                On April 26, 2005, Broder curtly reminded Su that “this matter is closed”
             and that he could consult with counsel regarding “civil remedies . . . . This
             should conclude our correspondences regarding this matter.” 223
                                                3. The Civil Lawsuit
                On February 16, 2006, Su took up the Grievance Committee’s
             suggestion. He filed suit against the City of New York in the United States
             District Court for the Eastern District of New York, seeking monetary
             damages pursuant to § 1983 for his wrongful conviction. 224 His lawsuit,
             modeled after the Ramos and Walker cases, contended that the prosecutor’s
             misconduct had resulted from the deliberate indifference of the Queens
             District Attorney to his obligation to properly train, supervise, and
             discipline his staff regarding their Brady and related due process
             obligations. 225 Su attached to his complaint an exhibit listing twenty-eight
             cases, decided between 1985 and 2004, involving wrongful withholding of
             evidence by Queens prosecutors, and fifty-nine cases in which such
             prosecutors during the same time frame relied on false, misleading, or
             inflammatory evidence or argument. 226
                During discovery proceedings, the court directed the City to provide
             personnel and disciplinary records (if any) for prosecutors involved in
             seventy-three appellate reversals for such misconduct, during the thirteen-
             year period from 1985 through 1998, including twenty-five cases involving
             the withholding of material evidence. When disclosed, the records did not
             reveal a single instance through 2000 in which any prosecutor had been
             disciplined by way of dismissal, suspension, demotion, transfer, reduction
             in or withholding of compensation, negative written evaluation, or referral
             to the court’s Grievance Committee, for any of the seventy-three cases.227
             Discovery materials showed that, as in the Bronx, the Queens District
             Attorney’s Office had (and has) no published or formal code of conduct for
             prosecutors, or any formal disciplinary policies or procedures. The
             informal “procedure” was for the Chief of Appeals, whenever a motion or
             brief was received that caused him to be “concerned” about possible
             misconduct, to bring the matter to the attention of the Chief Assistant


               222. Letter from Shih Wei Su to Diana Maxfield Kearse, Chief Counsel, NYS Grievance
             Comm. for the Second & Eleventh Judicial Dists. (Mar. 30, 2005) (on file with author).
               223. Letter from Melissa D. Broder, Assistant Counsel, NYS Grievance Comm. for the
             Second & Eleventh Judicial Dists., to Shih Wei Su (Apr. 26, 2005) (on file with author).
               224. Complaint, supra note 185, at 1.
               225. See id. at 12–15.
               226. See id. at Ex. B.
               227. Personnel records disclosed in discovery, Su v. City of New York, 06 Civ. 687
             (E.D.N.Y. filed Feb. 16, 2006) (on filed with author). As with the Bronx District Attorney’s
             Office, names of the line prosecutors apparently involved in misconduct have been omitted,
             as they are unnecessary for the purposes of this Article.
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             District Attorney or District Attorney Richard Brown. 228 Trial bureau
             supervisors might also report concerns up the chain of command. 229 Also,
             the District Attorney would receive copies of appellate decisions.230 If the
             District Attorney concluded that a verbal reprimand was in order, he would
             handwrite a note to the Chief Assistant District Attorney, John Ryan, to
             “speak to” the Assistant District Attorney involved. 231 However, only three
             such notes were produced, 232 neither Castellano nor Testagrossa knew of
             any Assistant District Attorney who actually had been “spoken to,” 233 and
             there was no such evidence in any prosecutor’s personnel file 234—with one
             exception.
                Assistant District Attorney Claude Stuart was caught apparently lying to
             a state court judge about whether an exculpatory witness was available to
             come to court to testify, and his alleged misconduct was reported in the
             news media. 235 The Disciplinary Committee ultimately suspended him
             from practice and he was fired by the District Attorney’s Office. 236 This
             fiasco might never have occurred had the Office disciplined Stuart when he
             previously was exposed for alleged misconduct. In 1995, Stuart had
             obtained a conviction in People v. Walters 237 by arguing in summation that
             the defendant had committed a shooting with a gun recovered from him
             which Stuart knew had not been used in the crime. 238 The appellate court
             reversed the conviction, finding Stuart’s conduct “an abrogation of his
             responsibility as a prosecutor,” “egregious,” and “improper.” 239 The
             District Attorney’s Chief of Appeals, John Castellano, testified in his
             deposition that he told the Chief Assistant District Attorney, John Ryan,
             that Stuart’s conduct had been “not tolerable” and “inexcusable.”240
             However, Castellano was unaware if Stuart had been disciplined for that
             misconduct, and there was no discovery suggesting that he had been. 241
                The deposition of Su’s prosecutor provided an interesting insight into the
             Office’s attitude regarding Brady compliance. While she acknowledged
             that her failure to disclose the truth about Jeffrey Tom’s relationship with
             the Office had been inexcusable, she revealed that it had been consistent
             with her training to erect a “Chinese wall” in order to avoid obtaining

                228. Deposition of John Castellano at 22–23, Su v. City of New York, 06 Civ. 687
             (E.D.N.Y. deposed May 29, 2008) (on file with author).
                229. Deposition of Charles Testagrossa at 19, Su v. City of New York, 06 Civ. 687
             (E.D.N.Y. deposed June 11, 2008) (on file with author).
                230. Id. at 27.
                231. Deposition of John Castellano, supra note 228, at 257–58.
                232. Personnel records disclosed in discovery, supra note 227.
                233. See Deposition of Charles Testagrossa, supra note 229, at 19; Deposition of John
             Castellano, supra note 228, at 257–58.
                234. Personnel records disclosed in discovery, supra note 227.
                235. Stacy Albin, Queens: Murder Conviction Questioned, N.Y. TIMES, Nov. 14, 2002,
             at B12.
                236. In re Stuart, 803 N.Y.S.2d 577 (App. Div. 2005).
                237. 674 N.Y.S.2d 114 (App. Div. 1998).
                238. See id. at 116.
                239. Id.
                240. Deposition of John Castellano, supra note 228, at 263.
                241. Id. at 263–64; see also Personnel records disclosed in discovery, supra note 227.
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             knowledge of deals other prosecutors in the Office had made with
             cooperating witnesses. 242 This policy was inconsistent with Ethical
             Consideration 7-13 of the New York State Code of Professional
             Responsibility, which prohibited prosecutors from consciously avoiding
             knowledge they are required to disclose to their adversaries. 243
                The Chinese wall policy was exposed and condemned in People v.
             Steadman, 244 even before Su’s case was tried. In Steadman, the New York
             Court of Appeals blasted the Queens District Attorney’s unlawful policy,
             promulgated at an executive level, to erect just such a Chinese wall between
             trial prosecutors utilizing a cooperating witness and the prosecutor making
             a deal with the witness. 245 The Office’s Chief of Trials, Daniel McCarthy,
             had made the deal with a witness’s attorney, knowing that the witness
             would later invoke attorney-client privilege to shield himself from cross-
             examination when he falsely denied knowledge of promised benefits.246
             The trial prosecutors had kept themselves ignorant of the discussions, and
             had done nothing to correct the witness’s false or misleading denial of
             knowledge of any promises. 247 After the witness’s attorney, as an act of
             conscience, had disclosed the scheme to the defense and it had been
             denounced in a scathing opinion by the trial judge (issued before Su’s
             trial), 248 the Office defended it on appeal as lawful, and promoted one of
             the two line prosecutors to a supervisory position. 249 This prosecutor was
             not even chastised for his behavior in the case. 250 Meanwhile, Chief of
             Trials McCarthy was hired by Bronx District Attorney Johnson to become
             his Director of Trial Training. 251 In his deposition, Johnson denied having
             ever been aware of Steadman, before or after hiring McCarthy, 252 even
             though McCarthy’s misconduct had been denounced in written opinions by
             the trial judge, the Appellate Division, and the Court of Appeals. The
             Queens District Attorney conducted no internal investigation.253



               242. Deposition of Su’s Prosecutor at 39–41, Su v. City of New York, 06 Civ. 687
             (E.D.N.Y. deposed June 19, 2008) (on file with author).
               243. See New York Lawyer’s Code of Professional Responsibility EC 7-13, available at
             http://www.nysba.org/Content/NavigationMenu/ForAttorneys/ProfessionalStandardsforAttor
             neys/LawyersCodeDec2807.pdf (“[A] prosecutor should not intentionally avoid pursuit of
             evidence merely because he or she believes it will damage the prosecutor’s case or aid the
             accused.”). Though this ethics code has been superseded, it was the relevant language at the
             time of Su’s prosecution.
               244. 82 N.Y.2d 1 (1993).
               245. See id. at 7–8.
               246. See id.
               247. Id.
               248. Opinion and Order at 6–7, People v. Steadman, No. 3331-88 (N.Y. Sup. Ct. Queens
             Co. dated Apr. 20, 1990) (on file with author).
               249. See Deposition of Jack Warsawsky at 12, Su v. City of New York, 06 Civ. 687
             (E.D.N.Y. deposed July 15, 2008) (on file with author) (testifying as to the promotion).
               250. See id. at 135–36.
               251. Deposition of Daniel McCarthy at 9, Su v. City of New York, 06 Civ. 687 (E.D.N.Y.
             deposed Aug. 11, 2008) (on file with author).
               252. Deposition of Robert Johnson, supra note 167, at 76–78.
               253. Deposition of John Castellano, supra note 228, at 204.
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                Su’s prosecutor’s behavior in failing to disclose the truth about the
             Jeffrey Tom deal should have been known internally for years, but the
             Office was indifferent to it. Prosecutors assigned to oppose Su’s direct
             appeal and collateral attacks on his conviction acknowledged that they had
             an ongoing Brady obligation to investigate whether Su’s Brady allegations
             were correct, but they never did so. When one such Assistant District
             Attorney attempted to question Su’s trial prosecutor, the latter refused to
             cooperate, and no one in the Appeals Bureau brought this remarkable and
             intolerable stonewalling to the attention of executives in the Office.254
             After Su filed his federal habeas petition, Chief of Appeals Castellano
             questioned Su’s prosecutor, who claimed not to recall why she had not
             corrected Tom’s false testimony, and Castellano conducted no further
             investigation into her behavior before preparing opposition papers.255 In
             2003, shortly after she had left the Office, Su’s prosecutor learned from a
             news report that the Second Circuit had vacated Su’s conviction, and
             telephoned John Ryan, the District Attorney’s long-time Chief Assistant, to
             complain. Ryan responded: “[Y]ou are just going to have a bad day, that’s
             all.” 256 Another high-level prosecutor in the Office told her, “Don’t worry,
             you’re a good attorney. Everything will work out.” 257
                In another case resulting in federal habeas relief and strong condemnation
             of the prosecutor’s conduct, there was no internal discipline but instead the
             prosecutor was promoted. In Jenkins v. Artuz, 258 a federal judge, granting
             habeas relief, found that the prosecutor had “engaged in a pattern of
             misconduct that was designed to conceal the existence of [a witness’s]
             cooperation agreement during [Jenkins’s] trial,”259 and that this misconduct
             was “improper and, when considered cumulatively, severe.” 260 Refusing to
             admit error, the District Attorney’s Office appealed. The Second Circuit
             affirmed the District Court’s issuance of the writ, holding that the
             prosecutor “misled the jury,” both in her questioning of the cooperating
             witness and during her summation, 261 and that “no doubt . . . [this] behavior
             violated Jenkins’s due process rights.” 262 Deposition testimony and other
             discovery revealed that the Queens District Attorney did not even
             informally admonish the prosecutor. 263 She received a promotion not long
             after Jenkins was convicted and currently is a Deputy Chief in one of the
             Queens District Attorney’s Office’s trial bureaus.264 Numerous additional

               254. Deposition of Ranjana Piplani at 24–26, Su v. City of New York, 06 Civ. 687
             (E.D.N.Y. deposed May 22, 2008) (on file with author).
               255. Deposition of John Castellano, supra note 228, at 73–77, 87.
               256. Deposition of Su’s Prosecutor, supra note 242, at 19.
               257. Id. at 18.
               258. 294 F.3d 284 (2d Cir. 2002).
               259. Id. at 290 (quoting Jenkins v. Artuz, No. 98-CV-277, slip op. at 27 (S.D.N.Y. May
             16, 2001)).
               260. Id.
               261. Id. at 294.
               262. Id.
               263. See Deposition of Therese Lendino at 11, Su v. City of New York, No. 06 Civ. 687
             (E.D.N.Y. deposed Aug. 6, 2008) (on file with author).
               264. See id.
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             decisions used strong language in condemning what the courts sometimes
             concluded was intentional misconduct,265 but records reflected no internal
             sanctions.
                While no records were kept of complaints, findings of misconduct, or
             alleged reprimands, the contrary was true when it came to success in
             obtaining convictions. Charles Testagrossa, Executive Assistant District
             Attorney in charge of the Major Crimes Division in 2008 and an executive
             at the office for nearly twenty years, testified at his deposition that Assistant
             District Attorneys and their supervisors, under previous and the present
             District Attorneys, kept track of their trial win-loss records. 266 He said he
             perceived that their victory percentage affected their promotions and
             compensation. 267
                As discovery in the Su case neared completion, the City strenuously
             opposed the plaintiff’s efforts to depose the District Attorney, Richard
             Brown, and his chief assistant, John Ryan, concerning their Brady
             disclosure and disciplinary policies. After the court directed Ryan to
             submit to a deposition and held open the possibility that Brown could be
             deposed as well, the parties reached a $3.5 million settlement.

                        C. Brooklyn District Attorney’s Office: The Zahrey Case
                                            1. Criminal Proceedings
               Zaher Zahrey was an undercover narcotics detective for the New York
             City Police Department’s Brooklyn North narcotics division with an
             excellent performance record when he fell under investigation by the
             NYPD’s Internal Affairs Bureau (IAB) in 1994. 268 IAB had been
             reconstituted to more vigorously combat police corruption after highly-




               265. See, e.g., People v. Ni, 742 N.Y.S.2d 61, 62 (App. Div. 2002) (“[I]nstances of
             prosecutorial misconduct were flagrant.”); People v. Mackey, 670 N.Y.S.2d 879, 880 (App.
             Div. 1998) (“[P]rosecutor deliberately withheld information which was likely to be elicited
             on cross-examination.”); People v. Elder, 615 N.Y.S.2d 915, 916 (App. Div. 1998) (finding
             that prosecutor’s improper summation comments were “flagrant”); People v. Scott, 629
             N.Y.S.2d 267, 268 (App. Div. 1995) (finding “flagrant” and “pervasive” prosecutorial
             misconduct); People v. Robinson, 594 N.Y.S.2d 801, 802–03 (App. Div. 1993) (noting that
             prosecutor’s improper trial tactics and summation comments were “continued” and
             “persistent”); People v. Gomez, 548 N.Y.S.2d 568, 570 (App. Div. 1989) (reversing
             conviction for prosecutor’s “frequen[t]” and “outrageous” “misconduct” during trial); People
             v. Perez, 511 N.Y.S.2d 687, 690 (App. Div. 1987) (finding that prosecutor made a
             “deliberate attempt to mislead the jury”). In other cases, the appellate courts criticized
             prosecutors’ conduct as reckless or negligent. See, e.g., People v. Banch, 80 N.Y.2d 610, 621
             (1992) (criticizing “the People’s seeming lack of care in discharging their discovery
             obligation”).
               266. See Deposition of Charles Testagrossa, supra note 229, at 44–45.
               267. See id. at 46.
               268. Fifth Amended Complaint at 11, 14, Zahrey v. City of New York, No. 98 Civ. 4546
             (S.D.N.Y. filed Feb. 23, 2004) (on file with author). See generally Zahrey v. Coffey, 221
             F.3d 342 (2d Cir. 2000).
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             publicized hearings had exposed the department’s lethargy in that regard.269
             Zahrey was suspected because he had continued playing playground “pick-
             up” basketball games with several individuals whom the police believed
             had been involved in criminal activity, including a local basketball legend
             and childhood friend, William Rivera. 270 When Rivera was murdered,
             Zahrey came forward to try to assist Rivera’s family in finding out the
             status of the homicide investigation, only to walk into a hornet’s nest of
             IAB detectives who were on the case because the murder weapon had been
             an off-duty police officer’s gun. 271
                An intensive, two-year investigation yielded just one witness—a crack-
             addicted career criminal named Sidney Quick—who claimed knowledge
             that Zahrey had committed crimes. 272 At the direction of the Brooklyn
             District Attorney’s Office, IAB Detective-Sergeant Robert Boyce
             repeatedly interviewed Quick, obtaining bizarrely inconsistent accusations
             that Zahrey had provided Rivera’s alleged hold-up crew with confidential
             Police Department information on drug spots that could be robbed.273
             When these interviews led nowhere, Boyce later traveled to Sing-Sing State
             Prison, where Quick was by then serving a six-to-life sentence for
             robbery. 274    Remarkably, Boyce tape-recorded the entire, two-hour
             interview in which he promised Quick “a very sweet deal” in exchange for
             his cooperation against Zahrey, and suggested a story to Quick, which was
             demonstrably false, implicating Zahrey in the attempted robbery and
             murder of a drug dealer. 275 Brooklyn prosecutors who heard the tape tried
             for nearly two years to develop corroboration for Quick’s accusations, a
             necessary prerequisite for prosecution under New York State law, but when
             they were unable to do so, they convinced federal authorities (who were not
             legally required to obtain corroboration) to take over the case and to
             prosecute—without initially disclosing the Quick tape and other
             exculpatory and impeaching information. 276 Zahrey was held for nearly
             nine months without bail, pending the conclusion of federal trial
             proceedings. 277 After a six-week trial, at which the author represented him,
             he was fully acquitted in June 1997. 278
                                             2. Civil Proceedings
               In 1998, Zahrey brought a lawsuit against various individual prosecutors
             and detectives for investigative misconduct, and against the City of New

               269. Craig Horowitz, A Cop’s Tale, N.Y. MAG., July 16, 2001, at 32 (explaining that the
             Internal Affairs bureau was “beefed-up” shortly before the Zahrey prosecution “in the wake
             of the Mollen Commission report”).
               270. Fifth Amended Complaint, supra note 268, at 11–13.
               271. See id. at 12.
               272. See id. at 14–16.
               273. See id.
               274. See id. at 16.
               275. See id. at 18–24.
               276. See id. at 37–39.
               277. See id. at 47, 50–51.
               278. See id. at 52.
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             York. 279 One of his claims was that the indifference of Brooklyn District
             Attorney Charles J. Hynes to violations of the Office’s Brady and related
             due process obligations had caused the Office’s line prosecutors
             investigating the matter to withhold exculpatory information from the
             United States Attorney’s Office, while simultaneously urging that Office to
             initiate Zahrey’s prosecution. 280     The Brady claim was ultimately
             dismissed, 281 but before settling, 282 Zahrey succeeded in obtaining
             considerable discovery showing that the Brooklyn District Attorney’s
             Office, like its counterparts in Queens and the Bronx, has no formal
             disciplinary rules and procedures, and no history of disciplining prosecutors
             found to have engaged in misconduct, including the withholding of Brady
             material.
                In a deposition held on October 18, 2005, Dino G. Amoroso, former
             Counsel to the District Attorney, and then Executive Assistant District
             Attorney, testified that he was responsible for implementing Hynes’
             policies to ensure compliance with ethical standards and was
             knowledgeable about any specific investigations of prosecutors for alleged
             misconduct since Hynes’ tenure began in 1990. 283 The Office had no
             employee manual or other published rules or procedures concerning
             standards of behavior, potential sanctions for violating them, or procedures
             for investigating and imposing discipline, including with regard to Brady
             obligations. 284 The Office would distribute memoranda on discovery and
             Brady obligations, but had no follow-up procedure to make sure individual
             prosecutors read them, and no Brady “policy.” 285 Prosecutors were told
             informally that “conscious” ethical violations, including under Brady,
             would have the “highest consequence,” including dismissal from the
             Office—as opposed to inadvertent mistakes during the “hurly-burly of
             trials.” 286 Consistent with that approach, while it was conceivable that a


                279. Zahrey v. City of New York, No. 98 Civ. 4546 (S.D.N.Y. filed June 26, 1998).
                280. Fifth Amended Complaint, supra note 268, at 65–66.
                281. Zahrey v. City of New York, No. 98 Civ. 4546, 2009 WL 54495, at *26 (S.D.N.Y.
             Jan. 7, 2009) (reasoning that Zahrey had not been prejudiced by any Brady violations since
             he was acquitted at trial, but holding that Brooklyn prosecutors were subject to personal
             liability for their involvement in manufacturing and using evidence they knew had been
             manufactured to cause federal criminal proceedings to be initiated and continued against
             Zahrey).
                282. Zahrey settled in 2009 with the City and five individual defendants, including two
             supervisory prosecutors. These two prosecutors, Charles Guria, the Chief of the Brooklyn
             District Attorney’s Civil Rights Bureau, and Theresa Corrigan, now the Chief of the Gang
             Unit of the Nassau County District Attorney’s office and formerly a supervisor in Brooklyn,
             agreed to a judgment without admitting liability, pursuant to Federal Rule of Civil Procedure
             68, under which they were jointly and severally liable for $750,001 plus reasonable
             attorneys’ fees for their alleged investigative misconduct. The judgment was paid by New
             York City.
                283. Deposition of Dino G. Amoroso at 16–17, Zahrey v. City of New York, 98 Civ.
             4546 (S.D.N.Y. deposed Oct. 18, 2005) (on file with author).
                284. Id. at 91–92.
                285. Deposition of Dennis Hawkins at 10–11, Zahrey v. City of New York, 98 Civ. 4546
             (S.D.N.Y. deposed Mar. 13, 2000) (on file with author).
                286. Deposition of Dino G. Amoroso, supra note 283, at 90, 181–82.
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             prosecutor might deserve sanction for merely violating Brady “negligently,”
             ordinarily only intentional misconduct would be punished.287
                Amoroso testified that when a complaint or court decision was received
             identifying a possible ethical issue, it would be brought to the attention of
             the District Attorney, who would decide whether an investigation should be
             conducted or whether any other action was necessary.288 Amoroso was
             fully informed about all such investigations that were conducted from 1990
             to 2005. While he initially claimed that several disciplinary inquiries were
             conducted, he then acknowledged that none of them were for the purpose of
             determining whether a prosecutor had engaged in ethical lapses during the
             handling of criminal prosecutions. Rather, the investigations either were
             into personal misconduct by Assistant District Attorneys having nothing to
             do with their handling of individual cases, or concerned whether to retry
             defendants whose convictions had been reversed or vacated.289 He did not
             know of a single instance in which any prosecutor had been so much as
             admonished for misconduct related to his or her handling of a criminal
             investigation or prosecution.290
                During this fifteen-year period, however, there were numerous court
             decisions finding serious misbehavior by Brooklyn prosecutors, including
             in the Brady context. These cases included instances where Assistant
             District Attorneys withheld exculpatory witness statements or impeachment
             material, or made false and/or misleading presentations of the evidence at
             trial.291 Numerous additional instances of misconduct through the present
             day were identified in the complaint in Collins v. City of New York, a
             lawsuit the author recently filed based upon findings by a federal judge of
             pervasive Brady violations, witness coercion, and other misconduct by the
             Chief of District Attorney Hynes’ Rackets Division, Michael F.
             Vecchione.292 In the highly publicized Jabbar Collins murder case,


                287. Id. at 102–05.
                288. Id. at 92–94.
                289. Id. at 96–102, 105, 107, 110, 126–28, 133, 145–48.
                290. Id. at 101–02, 105, 107, 128, 146–48.
                291. See, e.g., Leka v. Portuondo, 257 F.3d 89, 106 (2d Cir. 2001) (prosecutor suppressed
             evidence that would have had a “seismic impact” on the case); People v. Calabria, 94 N.Y.2d
             519 (2000) (prosecutor repeatedly defied court’s ruling and made false or misleading
             argument to the jury); People v. Cotton, 662 N.Y.S.2d 135, 136 (App. Div. 2000)
             (prosecutor’s summation betrayed his “duty not only to seek convictions but also to see that
             justice is done” and his “duty of fair dealing to the accused and candor to the courts”)
             (citation omitted) (internal quotation marks omitted); People v. LaSalle, 663 N.Y.S.2d 79, 80
             (App. Div. 1997) (prosecutor withheld impeachment evidence that “clearly” should have
             been disclosed); People v. Roberts, 611 N.Y.S.2d 214, 215 (App. Div. 1994) (“There is no
             doubt that the People violated the principles of Brady.”); People v. Khadaidi, 608 N.Y.S.2d
             471, 472–73 (App. Div. 1994) (prosecution withheld interview notes with complainant
             containing prior inconsistent statements); People v. Jackson, 603 N.Y.S.2d 558, 559 (App.
             Div. 1993) (prosecution withheld several pieces of exculpatory and impeachment evidence
             in arson case); People v. Inswood, 580 N.Y.S.2d 39, 40 (App. Div. 1992) (prosecutor failed
             to turn over Brady material that revealed existence of potentially exculpatory witnesses).
                292. See generally Complaint, Collins v. City of New York, No. 11 Civ. 766 (E.D.N.Y.
             filed Feb. 16, 2011); John Eligon, In Suit, Freed Man Accuses Prosecutors of Misconduct,
             N.Y. TIMES, Feb. 17, 2011, at A26.
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             Hynes’s office agreed to federal habeas corpus relief for Collins,293 his
             immediate release after fifteen years in prison, and the dismissal of the
             indictment without retrial, 294 rather than have Vecchione, the Office’s chief
             “anti-corruption” prosecutor, 295 and other prosecutors in the Office, testify
             at a habeas hearing ordered by Federal District Judge Dora Irizarry. 296 The
             Office admitted that it had failed to disclose a secret recantation by its chief
             witness, 297 a recantation that Vecchione, in a previous sworn affidavit, had
             categorically denied ever occurred.298 In testimony that the federal court
             found “credible,” a second key witness testified that he was a drug addict at
             the time he was questioned by Vecchione, and that Vecchione threatened
             him with physical harm and secretly incarcerated him for a week without
             following required material witness procedures. 299 The court characterized
             the prosecution’s failure to disclose this information, along with additional
             evidence refuting the testimony of the third and final significant prosecution
             trial witness, as “shameful.” 300 Immediately after Judge Irizarry made her
             denunciation of Vecchione’s behavior and the conduct of the Office, Hynes
             ratified that behavior. He told the news media that he would conduct no
             investigation, praised Vecchione as “a very, very principled lawyer,” 301 and
             pronounced him “not guilty of any misconduct.” 302 Collins’s lawsuit
             contends that Vecchione’s behavior did not simply result from Hynes’s
             indifference to coercion of witnesses and Brady violations but that such
             misconduct, at least in high-profile cases that the Office was anxious to
             win, was the policy of the Office. 303

                293. See Sean Gardiner, Attorney Drops Attempt at Retry, WALL ST. J., June 10, 2010, at
             A25; Tom Robbins, Presumed Guilty: A Jailhouse Lawyer Says a Top Brooklyn Prosecutor
             Rigged His Murder Conviction, VILLAGE VOICE, June 2, 2010, at 8; A. G. Sulzberger,
             Murder Conviction Voided over Prosecutors’ Conduct, N.Y. TIMES, May 26, 2010, at A21;
             A. G. Sulzberger, Witness Issue Prompts a Hearing on Possible Misconduct by Prosecutors
             to Be Postponed, N.Y. TIMES, May 27, 2010, at A27.
                294. See A. G. Sulzberger, Facing Misconduct Claims, Brooklyn Prosecutor Agrees to
             Free Man Held 15 Years, N.Y. TIMES, June 9, 2010, at A18; see also Mark Fass, Judge
             Orders Inmate’s Release, Blasts D.A.’s Lack of Remorse, N.Y. L.J., June 9, 2010, at 1.
                295. KINGS COUNTY DISTRICT ATTORNEY’S OFFICE: BUREAUS, UNITS & DIVISIONS,
             http://www.brooklynda.org/kcda-bur-units-divisions/kcda-bur-unit-div.htm (last visited Oct.
             20, 2011) (listing Michael Vecchione as Chief of the Rackets Division, which “investigate[s]
             and prosecute[s] serious and complex crimes in the areas of organized crime, criminal
             misconduct by public officials and police officers, gang-related activity, major frauds, arson,
             narcotics and tax revenue crimes”).
                296. Sulzberger, supra note 294, at A18.
                297. Supplemental Affidavit in Opposition [to] Amended Petition for Writ of Habeas
             Corpus of Kevin Richardson at ¶ 6, Collins v. Ercole, 08-CV-1359 (E.D.N.Y. filed May 7,
             2010) (on file with author).
                298. Affirmation of Michael F. Vecchione at ¶ 15, People v. Collins, No. 2884-94 (N.Y.
             Sup. Ct. Kings Co. dated Nov. 3, 2006) (on file with author).
                299. Transcript of Civil Cause for Hearing Before the Honorable Dora L. Irizarry, United
             States Dist. Judge at 120, Collins v. Ercole, 08-CV-1359 (E.D.N.Y. dated June 8, 2010) (on
             file with author).
                300. Id. at 133.
                301. Sulzberger, supra note 294, at A18.
                302. Sean Gardiner, A Solitary Jailhouse Lawyer Argues His Way Out of Prison, WALL
             ST. J., Dec. 24, 2010, at A1.
                303. Complaint, supra note 292, at ¶¶ 437–523.
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                                               CONCLUSION
                Contrary to the Supreme Court’s assumption in Imbler and in subsequent
             decisions, experience shows that prosecutors are not disciplined—either
             internally by their Offices or externally by court or bar disciplinary
             committees—for violating their Brady or other due process obligations
             during criminal proceedings. Three major District Attorneys’ Offices in
             “progressive” New York City lack any formal disciplinary rules or
             procedures, despite being large organizations employing hundreds of
             prosecutors and support staff. 304 Their informal “policy” is to confine
             consideration of discipline to cases in which courts have found
             “intentional” or willful misbehavior, even though courts often do not reach
             the issue of willfulness as it may be irrelevant to whether there was a
             violation of the defendant’s due process rights requiring reversal of the
             conviction. In the relatively few Brady or other cases in which the court
             has found willfulness, the District Attorneys avoid discipline by rejecting
             the court’s conclusion, or just passively failing to follow up with any
             investigation or consideration of discipline.305
                In future cases, when analyzing policy considerations relating to
             individual and municipal liability by prosecutors or their employers for
             violations of the constitutional rights of criminal suspects or defendants, the
             Supreme Court should abandon the false assumption that prosecutors,
             theoretically subject to professional codes, really are disciplined or have
             reason to fear being disciplined by their offices or by outside disciplinary
             bodies. Otherwise, the Court will continue to premise significant civil
             rights decisions on a fiction that has plagued constitutional jurisprudence
             for thirty-five years.




              304. See supra notes 149, 151–52, 155, 162–64, 228–231 and accompanying text.
              305. See supra notes 123–30, 136, 138–39, 181, 227, 249–53 and accompanying text.
